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             7

             8
                                            UNITED STATES BANKRUPTCY COURT
             9
                                              CENTRAL DISTRICT OF CALIFORNIA
           10
                                                    SANTA ANA DIVISION
           11
                  In re:                                       CASE NO.: 8:07-bk-12994-TA
           12
                SOUTH COAST OIL CORPORATION, a                 Chapter 11
           13 Delaware corporation, Substantively
                Consolidated with SOUTH COAST                  Adv. No.
           14 CORPORATION, a Utah corporation,
                                                               COMPLAINT FOR:
           15                         Debtors.
                                                               (1) DECLARATORY RELIEF;
           16 ANGUS PETROLEUM CORPORATION, a                   (2) INJUCTIVE RELIEF; AND
               Delaware corporation,                           (3) INJUCTIVE RELIEF EXTENDING
           17                                                     THE  STAY
           18 v.                      Plaintiff,
                                                               Hearing:
                                                               Date:        (TBD by Sumons)
          19 BOB GRAYSON, an individual; BG                    Time:        (TBD by Sumons)
                OPERATIONS, LLC, a California limited          Place:       Couroom 5B
          20 liability company; and GRAYSON                                 Ronald Reagan Fed. Bldg.
                SERVICES, INC., a California corporation,                   411 W. Fourh Street
          21                                                                Santa Ana, CA 92701
                                     Defendants.               Judge:       Hon. Theodor C. Albert
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             1 TO THE HONORABLE THEODOR C. ALBERT, UNITED STATES
             2 BANKRUPTCY JUDGE:
             3 Plaintiff Angus Petroleum Corporation, a Delaware corporation ("Angus"), by and through its

             4 attorneys of record, alleges its Complaint against Defendants Bob Grayson ("Grayson"), Grayson

             5 Services, Inc. ("Grayson Services"), and BG Operations, LLC ("BG", together with Grayson and

             6 Grayson Services, the "Defendants") as follows:

             7 JURISDICTION AND VENUE
             8                   1.         This Banptcy Cour has jurisdiction over the subject matter of             this adversar action

             9 based upon the express language of                            the Modification Agreement (defined below) between Angus and
           10 BG, which was ratified by the Trustee (defined below), approved by this Banptcy Cour, and

           11 provides in pertinent par that: "the Banptcy Cour in the SCOC case shall have sole and exclusive

           12 jurisdiction to determine any dispute under the (Independent Contractor Agreement) or this

           13 modification." Mod. Agmt. ir 11 (emphasis added).

           14                   2.          This Cour also has jurisdiction over the subject matter of this adversar proceeding
           15 based on 28 U.S.C. §1334(b).

           16                   3.          This adversar proceeding is a core proceeding pursuant to Sections 28 U.S.C.

           17 §§ 157(b)(2)(A), 157(b)(2)(M), and 157(b)(2)(O).

           18                   4.          Venue is based on 28 U.S.C. § 1409(a), as Debtor South Coast Oil Corporation's
           19 ("SCOC") banptcy case is stil pending.
          20                    5.          This Complaint initiates an adversar proceeding within the meaning of Rules 7001(7)

                                                                             Banptcy Procedure.
          22 PARTIES
          21 and 7001(9) of




          23                    6.
                                             the Federal Rules of




                                            Angus is, and at all times relevant to the allegations in this Complaint was, a

          24 corporation organzed and existing under the laws of the State of Delaware, qualified and authorized

          25 to do business under the laws of the State of Californa, and doing business with its principal place of

          26 business in the City of Huntington Beach, California.

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             1                     7.       James J. Joseph is the duly appointed Chapter 11 Trustee (the "Trustee") for the
             2 Banptcy Estate of                       South Coast Oil Corporation, Banptcy Case No. 8:07-bk-12994-TA (the

             3 "SCOC Banptcy Estate").
             4                     8.       On June 4, 2004, SCOC acquired 100% of the stock of Angus. Since the
             5 commencement ofSCOC's Chapter 11 case on September 19,2007, Angus has been wholly-owned
             6 by the SCOC Banptcy Estate.

             7                     9.       Angus is informed and believes, and on that basis alleges, that Grayson is, and at all
             8 times relevant to the allegations in this Complaint was, an individual residing in the city of

             9 Bakersfield, California, and the President and owner ofBG.

           10                      10.      Angus is informed and believes, and on that basis alleges, that BG is, and at all times
           11 relevant to the allegations in this Complaint was, a limited liability company organzed and existing

           12 under the laws ofthe State of California, with a principal place of                          business located at 4004 S. Enos
           13 Lane, Bakersfield, California.
           14                      11.      Angus is informed and believes, and on that basis alleges, that Grayson Services is,
           15 and at all relevant times to the allegations in this Complaint was, a corporation organized and existing

           16 under the laws of                 the State of        Californa, with a principal place of   business located at 4004 S. Enos
           17 Lane, Bakersfield, California.
           18 PRELIMINARY STATEMENT
           19                      12.      By this Complaint, Angus seeks a declaration ofthe legal rights, duties, obligations,
          20 and relationships between and among the paries to this Complaint pursuant to the: (a) the
          21 Independent Contractor Agreement dated May 1, 2007 (the "IC Agreement"); (b) Modification

          22 Agreement dated August 16,2009, which modified the IC Agreement (the "Modification

          23 Agreement"); and (c) Joint Interest Agreement dated December 22,2010. The IC Agreement and

          24 Modification Agreement were entered into by and between Angus and BG. The Joint Interest
          25 Agreement was entered into by and between Angus, BG, Grayson Services, and Grayson, with

          26 Douglas L. Mahaffey ("Mahaffey") of Mahaffey & Associates signing as the attorney for each of

          27 Angus, BG, Grayson Services, and Grayson. The IC Agreement, Modification Agreement, and Joint

          28 Interest Agreement exclusively govern the paries' relationships with respect to Angus and the SU

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             1 Facility (defined below). Copies of                 the IC Agreement, Modification Agreement, and Joint Interest
            2 Agreement are appended hereto as Exhibits A, Band C, respectively.

            3                   13.         By this Complaint, Angus seeks:

            4                               (a)      a declaration that the IC Agreement and Modification Agreement: (i) created

            5                   an independent contractor and debtor-creditor relationship between Angus and BG; (ii) did

            6                   not assign the Operating Agreement to BG; and (iii) did not form any joint venture,

            7                   parership, or other tye of entity owned jointly by Angus and BG, or any other relationship

            8                   between Angus and BG, that vested in BG or Grayson any type of ownership in or corporate

            9                   control over Angus;

           10                               (b)      a declaration that the Joint Interest Agreement: (i) created a mere contractual
           11                   relationship between Angus, BG, Grayson Services, and Grayson pursuant to which the

           12                   paries agreed that the exchange of information and documents and joint communications and

           13                   discussions in defense of the Order for Removal, Mitigation or Prevention of a Substantial

           14                   Threat of       Oil Discharge No. OPA XXX-XX-XXXX-0001 (the "Order for Removal" or "EPA

           15                   Claim"); (ii) would not cause a waiver of the attorney-client privilege or work product

           16                   doctrine; (iii) did not form any joint venture, parnership, or other type of entity owned jointly
           17                   by Angus and BG, or any other relationship between Angus, BG, Grayson Services and
           18                   Grayson, that vested in BG, Grayson Services or Grayson any type of ownership in or
           19                   corporate control over Angus;

          20                                (c)      that Defendants and their agents should be enjoined from representing to any

          21                    par or entity, including any cour, that they are parners, joint ventues, general managers, or

          22                    otherwise in any maner involved in a business arangement with Angus other than as an
          23                    independent contractor retained by Angus to provide certain services under the IC Agreement

          24                    or Modification Agreement, or a pary to which an agreement has been executed relating to
          25                    the treatment of information, documents, and communications under the Joint Interest

          26                    Agreement and which has now been terminated; and

          27                                (d)      that the automatic stay be extended on a limited basis to stay Defendants from
          28                    taking any action against or purortedly on behalf of Angus or its assets that is not

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             1                  contemplated under the IC Agreement, Modification Agreement, and Joint Interest

             2                  Agreement.

             3                                                              GENERAL ALLEGATIONS
             4                   14.        Pursuant to an operating agreement dated June 1, 1989 (the "Operating Agreement")

             5 by and between Angus and Columbia Gas Development Corporation, Angus is the 50% owner and

             6 sole operator of a water flood oil production facility located in Huntington Beach, Californa, known

             7 as the Springfield Unit Facility (the "SU Facility"). IC Agmt. § 1, Ex. 1.

             8                   15.        In early 2007, Angus lacked adequate capital to operate the SU Facility                and faced its

             9 own potential banptcy. Also, the Division of                                       Oil and Gas and Geothermal Resources ("DOGGR")
           1 0 had ordered Angus to abandon the SU Facility, plug its wells, and retu the surace area to raw land.

           11 THE INDEPENDENT CONTRACTOR AGREEMENT
           12                   16.         Against this backdrop, on May 1,2007, BG and Angus entered into the IC Agreement
           13 pursuant to which BG, through its owner and manager, Grayson, agreed to, inter alia: (a) "perform

           14 all duties and obligations as required under (the Operating Agreement) to the extent they are
           15 consistent with good oil field practices," IC Agmt. § 2; (b) advance all expenses required for the
           16 operations of the (SU Facility), including but not limited to payment of employee expenses, pumper

           17 expenses, mechanic expenses, pars and materials, regulatory compliance expenses, legal fees and
           18 other necessar expenses" to the extent that Angus could not, IC Agmt. § 3(A); (c) "provide and

           19 advance all monies necessar to obtain any equipment, rigs, pars or material necessar to repair and
          20 retur to production the (SU Facility)," IC Agmt. § 3(B); and (d) "maintain sufficient personnel at

          21 facility to operate it on a daily basis, and maintain the equipment facilities in good working
          22 condition," IC Agmt. § 8.
          23                    17.         In retu, the IC Agreement obligates Angus to, inter alia: (a) convey to BG "25% of
          24 the net revenue received from (Angus) from any production of hydrocarbons or from any sale

          25 proceeds from the sale of (Angus) stock or assets, in par or in full, to any third person," IC Agmt.

          26 § 3; and (b) reimburse operating expenses advanced by BG "( w )hen and if (Angus) has sufficient

          27 operating capital to cover its existing liabilities and pay for ordinar operations," IC Agmt. § 6.

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             1                   18.        The IC Agreement expressly provides that BG is an independent contractor hired by

             2 Angus to operate the SU Facility and has a contractual right to share in Angus' net profits generated

             3 from the operation of                   the SU Facility or from Angus' sale of stock or assets. Moreover, the
             4 Operating Agreement, which is attached as Exhbit 1 to the IC Agreement and incorporated therein,

             5 provides as follows: "The liability of the paries shall be joint and several, not joint or collective....It

             6 is not the intention ofthe paries to enter, nor shall this agreement be construed as creating, a mining


             7 or other parnership or association, or to render the paries liable as parners." IC Agmt., Exh. 1, Ar.

             8 VILA.
             9                  19.         Other than this independent contractor and debtor-creditor relationship described in
           10 the preceding paragraph, the IC Agreement creates no additional relationship, rights, duties, or

           11 obligations between BG, Grayson, and Angus, nor does it assign Angus' interest in the Operating

           12 Agreement to BG or Grayson.

           13                   20.        Angus is informed and believes, and on that basis alleges, that the IC Agreement was
           14 drafted on behalf of Angus and BG by the same attorney, Mahaffey.

           15 SCOC'S BANKRUPTCY CASE
           16                   21.        On September 19,2007, three petitioning creditors, including BG, placed SCOC into

           17 an involuntar Chapter 11 banptcy proceeding.
           18                   22.        In or about December 2007, pursuant to a motion by the petitioning creditors, the
           19 Banptcy Cour appointed the Trustee to administer the SCOC Banptcy Estate.
          20 THE MODIFICATION AGREEMENT
          21                    23.        From the time of            the IC Agreement's execution to approximately early 2009, "BG
          22 claimed to have advanced not less than $625,000.00 under paragraph 3A of                           the (IC) Agreement...but

          23 (was) unwillng to voluntarly make additional advances without certain modifications and
          24 clarfications to the (IC) Agreement and ratification by the sole shareholder of Angus," which at this
          25 point was the Trustee of the SCOC Banptcy Estate. Mod. Agmt. ir E.

          26                   24.         Because Angus was "at a critical junctue... with operation of         the (SU) Facility and
          27 require(d) additional fuds. ..to pay expenses to preserve the (SU) Facility, including unpaid real
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             1 property taxes," Angus and BG negotiated and entered into the Modification Agreement. Mod.

            2 Agmt. ir F.

             3                  25.         The Modification Agreement modifies the IC Agreement in various respects,

            4 including the following: (a) BG's advances through a date certain are affrmed and accrue interest at

             5 10% per anum, Mod. Agmt. ir 2; (b) BG is entitled to repayment of advances from Angus's recovery

            6 of        money or assets (if any) from various third paries (including DOGGR), Mod. Agmt. ir 3; (c) it

            7 adjusts BG's and Angus' rights under the IC Agreement ifBG acquires rights in the SU Facility from

             8 a third pary, Mod. Agmt. irir 5 & 6; (d) if Angus initiates futue actions against varous third paries

            9 (including DOGGR), "then Angus shall use its best efforts to agree with the Law Offces of Douglas

           10 Mahaffey that said Firm represent Angus on a mutually acceptable contingency fee basis," Mod.

           11 Agmt. ir 8 (emphasis added); (e) it specifies: (i) a methodology of determining the fair market value
           12 of any real estate interests sold byAngus; and (ii) BG's interest in the proceeds of any such sale,
           13 Mod. Agmt. irir 9 & 10; and (f) it expressly reaffirms that "ft)he stock of Angus is wholly owned by

           14 the South Coast Oil Corporation bankruptcy estate" and that "Angus and BG therefore agree that

           15 the Bankruptcy Court in the SCOC case shall have sole and exclusive jurisdiction to determine any
           16 dispute under the fIC) Agreement or this modifcation," Mod. Agmt. ir 11 (emphasis added).

           17                   26.         On July 30, 2009, this Bankptcy Court entered the Order Granting Motion For
           18 Order Authorizing Use Of Property Of                      The Estate - Voting Stock Of Angus Petroleum Corporation
           19 (Bk. Doc. 178) authorizing the Trustee of the SCOC Banptcy Estate to ratify the Modification

          20 Agreement. BG and Angus executed the Modification on July 7, 2009 and August 15,2009,

          21 respectively. The Modification Agreement was ratified by the Trustee.

          22                    27.         Angus is informed and believes, and on that basis alleges, that the Modification

          23 Agreement was drafted on behalf of                     both Angus and BG by the same attorney, Mahaffey.
          24                    28.         The Modification Agreement provides that BG: (a) is an independent contractor hired
          25 by Angus to operate the SU Facility; and (b) has a contractual right to share in Angus' net profits

          26 generated from the operation of                 the SU Facility or from Angus' sale of   stock or assets.

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             1          29.    Other than this independent contractor and creditor-debtor relationship, the
            2 Modification Agreement creates no additional relationship, rights, duties, or obligations between BG
            3 and Angus, nor does it assign Angus' interest in the Operating Agreement to BG.

            4 THEJOINT INTEREST AGREEMENT
            5           30.    On January 21, 2010, an oil spill occured at the SU Facility. In that same month, the
            6 United States Environmental Protection Agency ("EPA") issued the Order for Removal and alleged

            7 thereunder that, as the operator and 50% owner ofthe SU Facility, Angus is liable for the oil spill (the

            8 "EPA Claim"). In addition to Angus, the Order for Removal is also binding on Angus' directors,
            9 officers, employees, agents, trstees, successors, parent company, subsidiaries, and assigns. Joint

           10 Interest Agmt. at 1.
           11           31.    In relation to the Order for Removal, the United States Coast Guard sent Angus a

           12 letter dated November 10,2010, setting forth the amount it incured responding to the spil, which

           13 totaled $1,567,481.74 ("Coast Guard Claim").

           14           32.    At the time of    the oil spil, BG was performing certain duties at the SU Facility

           15 pursuant to the IC Agreement and, in that capacity, was acting as an agent of Angus. As such, BG is

           16 also liable under the Order for Removal and the Coast Guard Claim.

           17           33.    Both the EPA Claim and Coast Guard Claim were tendered to The Travelers-St. Paul

           18 Insurance Company on behalf of Angus and BG. Joint Interest Agmt. at 1.

           19           34.    Under the Joint Interest Agreement, Angus and BG agreed: (i) that they have ajoint
          20 interest in... working together to minimize or eliminate exposure from the EPA Claim; (ii) ensurng

          21 that Travelers performs its obligations under the policy and defends and indemnifies both Angus and

          22 BG from the EPA Claim; and (iii) that "JIA Information" exchanged between the paries would be

          23 treated as "privileged and confidentiaL." Joint Interest Agmt. at 2, irir 1, 3.

          24            35.    The Joint Interest Agreement also states that Mahaffey may continue to represent

          25 Angus and BG in matters in which Mahaffey was already representing Algus and BG. Joint Interest

          26 Agmt. ir 10. Angus is informed and believes, and on that basis alleges, that the Joint Interest
          27 Agreement was drafted on behalf of Angus, BG, Grayson Services, and Grayson by the same

          28 attorney, Mahaffey.

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            1              36.     Angus, BG, Grayson Services, and Grayson expressly agreed that the Joint Interest

            2 Agreement would not "be used as evidence in any hearing, action and proceeding against any and all
            3 of      the Paries, except for the interpretation ofthe (Joint Interest Agreement) itself. ..." Joint Interest

            4 Agmt. at 3, ir 7.
            5              37.     Pursuant to Paragraph 12 of     the Joint Interest Agreement, "(a)ny Pary may withdraw

            6 from this agreement..." Joint Interest Agmt. at 4, ir 12. On June 14,2011, Angus formally withdrew

            7 from the Joint Interest Agreement.

            8 THE CALIFORNIA STATE COURT ACTIONS
            9              38.     As of May 16, 2011, Mahaffey was counsel of record for Angus in the following

          10 matters:
           11                      (a)        BG Operations, LLC v. XTO Offhore, Inc., Case No. 30-2009-00122075,

           12              pending before the Honorable Kim G. Dunng in the Orange County Superior Cour for the
           13              State of California (the "XTO Litigation");

           14                      (b)        Angus Petroleum Corp. v. Blackstone Oil & Gas, Inc., Case No. 30-2010-

           15              00413476, pending before the Honorable Charles Margines in the Orange County Superior

           16              Cour for the State of California (the "Blackstone Litigation"); and

          17                       (c)        Angus Petroleum Corp. v. Lear, Case No. 30-2010-00404791, pending before

           18              the Honorable Andrew P. Bans in the Orange County Superior Cour for the State of

           19              California (the "Lear Litigation").
          20 A.            XTO Litigation
          21               39.     On May 17, 2011, Angus, through its Board of Directors, sent a letter to Mahaffey

          22 terminating his representation of Angus as to all litigation involving Angus, and requested that

          23 Mahaffey sign a substitution of counsel form enclosed therein for the XTO Litigation. Mahaffey

          24 refused to sign the substitution of counsel form or otherwse agree to step down as counsel for Angus.

          25               40.     On May 31, 2011, Angus, through its counsel Robert E. Palmer of Gibson, Dun &
          26 Crutcher LLP, appeared ex parte in the XTO Litigation to remove Mahaffey as counsel of record for

          27 Angus and to confirm that Mr. Palmer wil appear as counsel of record for Angus in the XTO

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             1 Litigation. A copy of          the May 31, 2011 hearing transcript ("XTO Tr.") is attached hereto as Exhibit
             2 D.
             3                  41.    At the ex parte hearng, Mahaffey stated to the Cour that he was appearing "on behalf
             4 of Angus Petroleum" and also onbehalf"ofthe BG Operations, AngiiS Joint Ventue." XTO Tr. a.t

             5 3:5-6,3:13-15. Mark C. Bailey also appeared at the hearng, "specially appearng for BG Operations
             6      and Bob Grayson." XTO Tr. at 3:10-12.
             7                  42.    Mahaffey made the following statements on the record before Judge Duning
             8 regarding alleged relationships between Angus, BG and Grayson:

             9                         (a)     "I think it's imperative that, at least for the sake of             ths record, BG Operations

           10                   and Angus formed a parnership," XTO Tr. at 4:25-5:2;
           11                          (b)    that the IC Agreement provided Grayson with the authority to designate who
           12 represents Angus for all curent and futue litigation, XTO Tr. at 10: 11-11 : 13;
           13                          (c)    that the Modification Agreement provides that Grayson is to fund and handle
           14 Angus litigation, including the XTO Litigation, XTO Tr. at 11:21-12:26;
           15                          (d)    that there is a separate "2007 25 percent, 75 percent profit splitting, expense

           16 splitting capital venture parnership that has been cared on for four years," XTO Tr. at
           17 23:23-24:8; and
           18                          (e)    that the formal interpretation of                   the IC Agreement and Modification
           19 Agreement should be determined by the banptcy cour, XTO Tr. 16:6-17:23.

          20                   43.     Mr. Bailey, as "special counsel" to BG and Grayson, stated, "Angus, as I understand
          21 it, is in a          joint ventue parnership with BG Operations." Tr. at 20:16-20:25.
          22                   44.     Following a substantial hearng, comments by the Trustee in response to the Cour's
          23 questions, the review of substantial evidence (including declarations and exhibits), and arguments of

          24 counsel, Judge Duning ordered Mahaffey removed and Gibson Dun & Crutcher LLP added as

          25 counsel of record for Angus in the XTO Litigation, and fuher ordered the transfer of files from

          26 Mahaffey to Mr. Palmer. A copy of the May 31, 2011 Minute Order is attached hereto as Exhibit E.
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             1 B.              Blackstone Litigation
            2                  45.         On June 3, 2011, Linda D. Lam of Gibson, Dun & Crutcher LLP sent a letter to

            3 Mahaffey requesting that Mahaffey sign the substitution of counsel form enclosed therein for the

            4 Blackstone Litigation. Mahaffey refused to do so.

            5                  46.         On June 9, 2011, Angus, through its counsel Robert E. Palmer of              Gibson, Dun &

            6 Crutcher LLP, appeared ex parte in the Blackstone Litigation to remove Mahaffey as counsel of

            7 record for Angus and to confirm that Mr. Palmer wil appear as counsel of                            record for Angus in the

            8 Blackstone Litigation. A copy of
                                                                          the June 9, 2011 hearng transcript ("Blackstone Tr.") is attached

            9 hereto as Exhibit F.

           10                  47.         At the ex parte hearng, Mahaffey stated to the Cour               that he was appearng "on behalf

           11 of (Angus, BG, Grayson) and the joint venture between them." Blackstone Tr. at 3:5-6,3:13-15. Mr.
           12 Bailey also appeared at the hearng, "specially appearng for Bob Grayson and BG Operations."
           13 XTO Tr. at 3:10-12.
           14                  48.         Mahaffey made the following statements on the record before Judge Margines

           15 regarding the alleged relationship between Angus, BG, and Grayson:

           16                              (a)         that Grayson's ability to control the hiring and firing of counsel in the

           17                  Blackstone Litigation is based on the IC Agreement, Modification Agreement, and Joint

           18                  Interest Agreement, Blackstone Tr. at 3:26-4:9;

           19                              (b)         that Section 8 of the Modification Agreement "confirms the parnership control

          20                   ofMr. Grayson over litigation," Blackstone Tr. at 4:10-5:7;

          21                               (c)         that the "parnership" has the authority to hire and fire counsel, Blackstone Tr.

          22                   8:21-9:3;

          23                               (d)         that Grayson has a "25 percent working ownership of the leasehold estate that

          24 Angus Petroleum Company owns and has absolutely no existence without. It's parnership
          25 property. . . .Mr. Grayson and Angus Petroleum Corporation acquired parnership property. . . .,"

          26 Blackstone Tr. at 24:18-25:6; and
          27                               (e)         that, pursuant to California Corporations Code Sections 16001 and! or 16201,

          28                   paries that split profits are parners, Blackstone Tr. at 34:25-35:36:7; 48:9-19.

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             1                  49.         Mr. Bailey, as "special counsel" to BG and Grayson, stated, "(m)y clients believe that
            2 there is a partnership. Furhermore, my clients believe that this paricular litigation that's pending

             3 before this cour is parnership property." Blackstone Tr. at 42:21-24.

            4                   50.         Following arguments of counsel, Judge Margines ordered                         Mahaffey removed. as

             5 counsel of record for Angus in the Blackstone Litigation and that Gibson Dun be allowed to take

             6 over the representation of Angus as counsel of                                  record. A copy of    the June 15,2011 Order is attached

            7 hereto as Exhibit G.

             8 C.               Lear Litigation
            9                   51.         On June 3, 2011, Ms. Lam sent a letter to Mahaffey requesting that Mahaffey sign the
           10 substitution of counsel form enclosed therein for the Lear Litigation. Mahaffey refused to do so.

           11                   52.         On June 7, 2011, Angus, through its counsel Robert E. Palmer of Gibson, Dun &
           12 Crutcher LLP, appeared ex parte in the Lear Litigation to remove Mahaffey as counsel of record for

           13 Angus and to confirm that Mr. Palmer wil appear as counsel of                                        record for Angus in the Lear
           14 Litigation. A copy ofthe June 7, 2011 hearing transcript ("Lear Tr.") is attached hereto as Exhibit
           15 H.
           16                   53.         At the ex parte hearing, Mahaffey stated to the cour that he was appearing "on behalf

           17 of BG Operations, Inc., as in a joint ventue, which is really the real pary in interest... .call it the
           18 Angus BG Joint Ventue." Lear Tr. at 2:17-20. Mr. Bailey was also present, "specially appearng for
           19 Bob Grayson and BG Operations." Lear Tr. at 2:21-22.

          20                    54.         Mahaffey also stated on the record that he (Mahaffey) had access to certain sensitive
          21 documents because he has "been the attorney for Angus and the joint ventue" for four years, Lear Tr.

          22 at 4:10-5:2.
          23                    55.         Following arguments of counsel, Judge Bans ordered that the case be stayed and
          24 denied the ex parte application without prejudice and instead advised the paries to proceed via a

          25 regularly noticed motion to be heard on his "first available" court day -- December 2, 1011. Thus,

          26 despite the fact that Angus terminated Mahaffey's legal services on May 17,2011, Mahaffey has

          27 refused to execute a substitution of counsel and remains counsel of record for Angus in the Lear

          28 Litigation.

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             1                                        THE PARTIES' CONTENTIONS
            2                56.    Angus is informed and believes, and on that basis alleges, that Defendants contend

            3 that the IC Agreement, Modification Agreement, and Joint Interest Agreement: (1) granted them

            4 ownership in and control of Angus without transferring to them any stock in Angus; (2) granted them

            5 the right to control Angus and all litigation to which it is a par; and!or (3) created a separate legal
            6 entity between Angus and BG Operations, Grayson, and!or by implication, Grayson Services, that is
            7 controlled by Defendants.

            8                57.    Angus is informed and believes, and on that basis alleges, that BG, Grayson, and by

            9 implication, Grayson Services, hold themselves out to third paries, including the cours, as an owner

           10 of Angus and         not simply an independent contractor and creditor, and!or as paries having the

           11 authority to control Angus.
           12                58.    Angus contends that any relationships, rights, duties, or obligations between it and

           13 Defendants relating to Angus and the SU Facility are governed exclusively by the IC Agreement and

           14 the Modification Agreement, and that these agreements accurately reflect: (a) that BG is/was an
           15 independent contractor hired by Angus to operate the SU Facility for a period oftime with a

           16 contractual right to share in Angus' net profits generated from the SU Facility; and (b) Grayson is the

           17 owner of         the independent contractor (BG). Except as expressly mentioned, no other legal rights,

           18 business combination, ownership, or control in or with Angus was created by the IC Agreement and

           19 the Modification Agreement.
          20                 59.    Angus contends that the Joint Interest Agreement between Angus, BG, Grayson

          21 Services, and Grayson is nothing more than an agreement to treat information, documents, and
          22 communications shared among the paries regarding the EPA Claim and Coast Guard Claim as

          23 confdential information subject to the attorney-client privilege and work product. Angus fuher

          24 contends that, in any event, the Joint Interest Agreement has been terminated.
          25 FIRST CLAIM FOR RELIEF
          26 (Declaratory Relief against All Defendants)
          27                 60.    Angus refers to and incorporates herein by reference all the allegations contained in

          28 paragraphs 1 through 59, inclusive, ofthis Complaint as though set forth fully herein.

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            1                  61.         An actual controversy now exists between Angus and BG, Grayson Services, and

            2 Grayson concerning their respective rights, duties, obligations, and relationships under the IC

            3 Agreement, Modification Agreement, and Joint Interest Agreement.

            4                  62.         A declaration of the rights, duties, obligations, and relationships of the paries under

            5 the IC Agreement, Modification Agreement, and Joint Interest Agreement is appropriate at this time

            6 in order to resolve the curent controversy and to establish what authority, if any, BG, Grayson

            7 Services, and Grayson have: (a) over Angus and!or its assets; or (b) to appear in and control litigation

            8 to which Angus is a par. The continuing unfounded contentions by BG, Grayson Services, and

            9 Grayson are disruptive to the business of Angus and are damaging the value of its assets, and hence,
          10 the property of the SCOC Banptcy Estate.

          11                   63.         Angus desires a       judicial determination and declaration of         the rights, duties,

          12 obligations, and relationships of                     the paries under the IC Agreement and Modification Agreement,

          13 and specifically that such agreements: (a) do not create any relationship, rights, duties, or obligations
          14 between Angus and BG and Grayson other than those between a principal and independent
          15 contractor, respectively; (b) do not give rise to any rights of BG and Grayson as a joint ventuer,

          16 parner, general manager, shareholder, owner, director, or officer of Angus, including with respect to

          17 the SU Facility; and (c) do not, constitute, or memorialize any assignment or transfer of the Operating
          18 Agreement by Angus to BG and!or Grayson.

          19                   64.         Angus fuher desires a judicial determination and declaration of the rights, duties,
          20 obligations, and relationships ofthe paries under the Joint Interest Agreement, and specifically that

          21 such agreement: (a) does not create any relationship, rights, duties, or obligations between Angus and
          22 BG, Grayson Services, and Grayson other than a contractual relationship in which the paries agreed
          23 that certain information, documents, and communications shared between the paries would be

          24 protected by the attorney-client privilege and work product doctrine; and (b) does not give rise to any

          25 rights ofBG, Grayson Services, or Grayson as a                                 joint ventuer, parner, general manager,

          26 shareholder, owner, director, or officer of Angus, including with respect to the SU Facility.

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             1                                                 SECOND CLAIM FOR RELIEF
            2                                              (Injunctive Relief against All Defendants)
            3                     65.       Angus refers to and incorporates herein by reference all the allegations contained in

            4 paragraphs 1 through 64, inclusive, of                this Complaint as though set forth fully herein.

            5                     66.       Angus is informed and believes, and on that basis alleges, that Defendants assert, have

            6 taken actions, and have represented to third paries, including cours, that they are "par owners" of

            7 either Angus or the SU Facility via a parnership or otherwise, and!or that they have control over

            8 Angus or the SU Facility.
            9                     67.       In addition to being untrue and misleading to third paries, Defendants' fabrications

           10 regarding their ownership or control interests in either Angus or the SU Facility are irreparably

           11 damaging to both Angus and its sole owner, the SCOC Banptcy Estate. BG Operations and

           12 Grayson, in refusing to recognize the authority of Angus' curent management, has supported

           13 Mahaffey in his threats to pursue litigation on behalf of Angus, though he has no right to do so, to the
           14 detriment of Angus and the SCOC Banptcy Estate.

           15                     68.       Based on the foregoing, Angus seeks an injunction pursuant to Section 105(a) ofthe

           16 Banptcy Code and!or Rule 7065 of                      the Federal Rules of   Banptcy Procedure prohibiting BG,

           17 Grayson Services, Grayson, and any others acting in concert with or on any of their behalves, from:

           18 (a) representing to any part or entity, including any court, that any ofthem are parners, joint .

           19 ventures, general managers, owners, shareholders, directors, officers, assignees, or otherwise hold
          20 any interest in Angus or have any authority to represent or control Angus or its affairs; and!or (b)

          21 from asserting control or authority over any assets or affairs of Angus to the same extent provided in
          22 Section 362 of                 the Banuptcy Code.

          23 THIRD CLAIM FOR RELIEF
          24 (Injunctive Relief                    Extending the Stay to Cover Angus and the SU Facilty as to All Defendants)

          25                      69.       Angus refers to and incorporates herein by reference all the allegations contained in

          26 paragraphs 1 through 68, inclusive, of this Complaint as though set forth fully herein.

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             1                   70.        Angus is informed and believes, and on that basis alleges, that Defendants have

            2 improperly taken actions to claim ownership and control over Angus, its propert and its affairs

            3 including without limitation, ownership, and!or control of                                the SU Facility.

            4                    71.        The stock of Angus constitutes "property of the estate" as defined under Banptcy
            5 Code Section 541(a). The stock of Angus represents the single most significant asset of                                the SCOC

            6 Banptcy Estate. The business of Angus and the value of its property directly impact the value of
            7 the Angus stock solely held by the SCOC Banptcy Estate and, therefore, interference in the
             8 business and the propert of Angus directly affects property of the SCOC Banptcy Estate.

            9                    72.        Defendants' assertion of ownership and exertion of control over Angus and!or the SU

           10 Facility irreparably damages the value of                               the Angus stock, and thus the value ofthe SCOC
           11 Banptcy Estate, thereby substantially interfering with SCOC's reorganzation.

           12                    73.        Actions taen that interfere in the business and the property of Angus which directly

           13 affect the property of the SCOC Banptcy Estate are automatically stayed by operation of Section
           14 362(a) ofthe Banptcy Code.

           15                    74.        Based on the foregoing, Angus requests that this Cour, pursuant to Sections 362(a)
           16 and!or 105(a) of                 the Banptcy Code, extend the banptcy stay on a limited basis to bar

           17 Defendants and their agents from: (a) taking any action against or on behalf of Angus or the SU

           18 Facility that is not contemplated under the IC Agreement, Modification Agreement, or Joint Interest
           19 Agreement; and (b) asserting ownership over, attempting to obtain possession of, or exercising

          20 control over Angus and its property, including without limitation the SU Facility.

          21 WHEREFORE, Angus prays that                                               judgment be entered against Defendants as follows:
          22                     (a)        ON THE FIRST CLAIM FOR RELIEF: For a                               judicial determination and
          23 declaration ofthe rights, duties, obligations, and relationships of                              the paries under the IC Agreement,

          24 Modification Agreement, and Joint Interest Agreement, and specifically that: (l) the IC Agreement
          25 and Modification Agreement: (i) do not create any relationship, rights, duties, or obligations between

          26 Angus, BG and Grayson other than those between a principal and independent contractor,
          27 respectively; (ii) do not give rise to any rights of BG or Grayson as a joint ventuer, parner, general

          28 manager, shareholder, owner, director, or officer of Angus, including with respect to the SU Facility;

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             1 and (iii) do not constitute, or memorialize any assignment or transfer of the Operating Agreement by
            2 Angus to BG and!or Grayson; and (2) the Joint Interest Agreement: (i) does not create any
            3 relationship, rights, duties, or obligations between Angus and BG, Grayson Services, and Grayson

            4 other than a(;ontractual relationship in which the                                   paries agreed that certain information, documents

             5 and communications shared between the paries would be protected by the attorney-client privilege

            6 and work product doctrne; and (ii) does not give rise to any rights ofBG, Grayson Services, or

            7 Grayson as a joint ventuer, parner, general manager, shareholder, owner, director, or officer of

             8 Angus, including with respect to the SU Facility.

            9                   (b)         ON THE SECOND CLAIM FOR RELIEF: For an injunction pursuant to Section
           10 105(a) of             the Banptcy Code and!or Rule 7065 ofthe Federal Rules of                              Banptcy Procedure

           11 prohibiting BG, Grayson Services, and Grayson, and any others acting in concert with or on any of
           12 their behalves, from: (i) representing to any pary or entity, including any cour, that any of                                 them are

           13 parners, joint ventues, general managers, owners, shareholders, directors, offcers, assignees, or
           14 otherwise hold any interest in Angus or have any authority to represent or control Angus or its affairs;

           15 and/or (ii) asserting control or authority over any assets or affairs of Angus to the same extent
           16 provided in Section 362 of                       the Banptcy Code;
           17                   (c)         ON THE THIRD CLAIM FOR RELIEF: For an extension of                                   the automatic stay
           18 under Sections 105(a) and!or 362(a) on a limited basis to bar Defendants and their agents from: (i)

           19 taking any action against or on behalf of Angus or the SU Facility that is not contemplated under the
          20 IC Agreement, Modification Agreement, or Joint Interest Agreement; and (ii) asserting ownership

          21 over, attempting to obtain possession of, or exercising control over Angus and its property, including

          22 without limitation the SU Facility; and
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             1             (d)   For such other and further relief as this Banptcy Cour deems just, equitable, and
            2     appropriate under the circumstances.

            3     Dated: June 30, 2011
                                                             CRAIG H. MILLET
            4                                                ROBERT E. PALMER
                                                             KENNETH A. 0 CKI JR.
            5                                                LINDAD. L
                                                             GIBSON,
            6

            7                                                By:
            8
                                                             Attorneys for Plaintiff
            9                                                Angus Petroleum Corporation
           10     101102592.1

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                               Exhibit A
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                       INDEPENDENT CONTRACTOR AGREEMENT           0rrl :GtNAl
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                                  B.G. OPERATIONS, LLC

                                         -AND-

                            ANGUS PETROLEUM CORPORATION




                                      REGARDING

                              SPRINGFIEI~D   JOINT FACILITY




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         Independent Contractor Agreement
)        be~ween BG Operations, LLC and
    . - --Angus-Petmleum-Gorporation
          . Page 2



         1.     INTRODUCTION

                  Angus Petroleum Corporation by an operating agreement dated June 1, 1989 is currently
           the operator of the Springfield Unit Facility. That original agreement was entered between
           Angus Petroleum Corporation and Columbia Gas Development Corporation (non-operator).·
           Columbi<;!, Gas Development Corporation sold their interest to Hunt Petroleum Corporation·
         . (AEC).                .

                  Angus Petroleum Corporation was a previously owned subsidiary of The Termo
         Company. By purchase contract in or about the year 2004 The Termo Company sold aH its right,
         title and interest in the Angus Petroleum Corporation to South Coast Oil Corporation. South
         Coast Oil Corporation has entered into an operating contract designating Bob Grayson as its
         agent for all of its Huntington Beach operations, including the Aligus Facility.

                 This contr.act is between Angus Petroleum Corporation, a wholly owned subsidiary of
         South Coast Oil Corporation, through its Chief Executive Officer, Don White, and BG
)        Operations, LLC. The purpose of this contract is to set forth the compensation, obligations,
         rights and duties ofthe parties as to the independent contractor duties to be performed by BG
         Operations, LLC on behalf of Angus Petrolimm Corporation .

        . 2.    OBLIGATION OF BGOPERTIONS, LLC TO COMPLY WITH OPERATING
                AGREEMENT

                  Attached hereto as Exhibit "1" is the June 1,1989 Model Form Operating Agreement
         between Angus Petroleum Corporation and Columbia Development Corporation. SUbject to the
         provisions herein, BG Operations, LLC, through its manager Bob Grayson, agrees to perform all
         duties· and obligations as required under that operating agreement to the extent they are consistent
         with good oil field practices.

                 BG Operations, LLC recognizes that there are disputes between Hunt Petroleum
         Corporation and Aligus Petroleum Corporation as to the enforceability of that operating
         agreement, and that there are disputes between the Department of Oil & Gas and Angus
         Petroleum Corporation as to the viabi Ii ty of the operations of the Angus Plant. The Department
         of Oil & Gas has purported to issue an abandonment order on the subject facility and the question
         of that abandonment order is currently pending on appeal.
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          . Independent Contractor Agreement
 )          between BG Operations, LLC and
     -   -Angus PetrOleum~C5rpbfatjon
            Page 3




                  Subject to the provisions herein, Angus Petroleum Corporation agrees that it will hold
          BG Operations, LLC ,and its managers, agents, employees hannless from any and all
          responsibility or liability that arises from BG Operations; LLC performing the duties under the
          ~~bject operating agreement.


          3:     COMPENSATION OF BG OPERATIONS, LLC

                   Subject to the below conditions, BG Operations, LLC will be entitled to 25% of the net
          revenue received from Angus Petroleuin Corporation from any production of hydrocarbons or
          from any sale proceeds from the sale of Angus Petroleum Corporation stock or assets, in part or
          in full, to any third person.                                                              .

                In exchange for this 25% participation in the net profits received by Angus Petroleum
          Corporation, BG Operations, LLC agrees to the following:
)                   A.      Once the DOGGR order of abandonment is lifted and/or a Chapter 11 bankruptcy
           is filed, BG Operations, LLC will advance all expenses required for the operations of the subject,
           facility, including but not limited to payment of employee expenses, pumper expenses, mechanic
           expenses, parts and materials, regulatory compliance expenses, legal fees and other necessary
           expenses to the extent that Angus Petroleum Corporation does'not have available working
         . capital.

                B.      BG Operations, LLC will provide and advance all monies necessary to obtain any
          equipment, rigs, parts or material necessary to repair and return to production the subject facility.

          4.     POSTING OF BOND COVERING THE ANGUS FACILITY

                  If required for a settlement and/or compliance with DOGGR regulations, BG Operations,
          LLC and Bob Grayson, as its manager, agree to post the necessary Department of Oil & Gas
          Bond up to a total of $1 00,000.00 to comply with the public resource code requirements
          pertaining to the Angus facility wells.

          5.     SECURITY AGREEMENT BETWEEN ANGUS PETROLEUM CORPORATION
                 AND BG OPERATIONS, LLC REGARDING POSTING OF BOND

                Angus Petroleum Corporation hereby acknowledges and confirms that it has recorded a
)         Deed of Tmst against its fee interest in the subject real property to secure the $100,000.00 bond
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     Independent Contractor Agreement
     between BG Operations, LLC and
     Angus Petroleum Corporation
     Page 4



     being posted by BG Operations, LLC. In the event said $100,000.00 is ultimately distributed to
     the Depiutment of Oil & Gas, its stated beneficiary, on behalf of Angus Petroleum Corporations
     failure to comply with abandonments orders against it, Angus Petrolewn Corporation agrees that
     it will pay to Bob Grayson andlor BG Operations, LLC the $100,000.00 principal amount of the
     subject bond plus a 7% rate ofre~ until such time as the $100;000.00 has been reimbursed.

     6.      REIMBURSEMENT OF ADVANCES BY BG OPERATlONS, LLC FOR
             OPERATING EXPENSES·

             When~d if Angus Petroleum COIporation has sufficient operating capital to cover its
     existing liabilities and pay for ordinary operations, it will then reimburse BG Operations LLC
     from any oilier excess funds it receives from the production of hydrocarbons. At such time as
     Angus Petroleum Corporation is able to function on its own financial resources, BG Operations,
     LLC will have no further obligation to advance any of the above-referenced expenses, wages,
     salaries or charges necessary for Angus Petrolewn Corporation's operations.
)
     6.      CONSULTING SERVICES OF BOB GRAYSON ON BEHALF OF ANGUS
             PETROLEUM CORPORATION

            Bob Grayson, as manager ofBG Operations, lLe, also agrees he will bill Angus
     Petroleum Corporation a per day rate of $2,000.00 for each 8 hour day expe~ded in supervising,
     overseeing and conducting the necessary operations of the subject facility. Said supervisory
     consulting services will be passed through pursuant to the Angus Petroleum Corporation
     operating agreement to the operating agreement account as further set forth in the Angus
     Petroleum Corporation Model Form Operating Agreement, Exhibit "F" - "Accounting Procedure
     Joint Operations, " Section 7. It is understood that said independent contractor charges will. be
     passed through pursuant to the agreement, and credited to Angus Petroleum Corporation.

     1.      INSURANCE

            BG Operations, LLC agrees it will maintain separate insurance for its operations activity
      and name Angus Petroleum Corporation as an additional insured.

      8.     RESPONSIBILITY FOR DAILY OPERATIONS

              BG Operations, LLC agrees it will maintain sufficient personnel at facility to operate it on
      a daily basis, and maintain the equipment facilities in good working condition.
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         \       Iridependent Contractor Agreement
          }      between BG Operations, LLC and
                 Angus Petroleum Corporation
                 Page 5



                 9.      TERMINATION OF AGREEMENT.

                         This agreement will continue until such time as the Angus. Facility is sold, or until such
                 time as the parties mutually agree to its tennination in writing. The obligations ofBO
                 Operations, LLC through its manager, Bob Grayson, are not assignable to any other party or
                 person without the written consent of Angus Petroleum Corporation.

                 10.     ATTORNEYS' FEES

                         In the event that there is litigation that arises to enforce any provisions of this agreement,
                 the prevailing party will be entitled to all attorneys' fees actually expended, including but not
                 limited to all attorneys' fees expended on appeal of any issue adjudicated to final judgment
                 between the parties.

                 DATE:          Mayl2007
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                 DATE:          May   _1_, 2007


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                         CONTRACT AREA __________              ~    ________________________



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                                                                                         OPERAT'lNG AGR££MENT
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                                                                                    undct.1!Ih . , . _ . 5.lch lando,      oil""'"     _Id III .....,; and oil.
                                                                                                                                                  ..                    '.";',

                     .2'1
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                                       E, Tho ."'"    ""'ilIin.     u";," IlWI ..... thl      .fI'  r.. od·'" 1M dtIIllnl 01 ..,t ...u ~ ord. or ,.;...
                                 rtdltdbod, huitt, ,ytl10riry. u • .fIUIlni uN. b JlCot fiacd br aft1 lud\",... 01 DIM•• drlUlna UAfI1k.tll M aha driIlin. t
                      )1        cd by \h, P"'tfIl 01 drillln, III til. C........ An. or " r"nI ~r _'" ..._                     01 ,III DrUJln, p.,,;.,.
\~                    II               f .. Tho .trm ..c!tlIlsiI... ,h.U  m....
                                                                              III. 011 IIId .... '-a 01      In",,,, ...
                                                                                                                       which. pnpoood ...Ub !O .......!od.
     I
.'                    II               G. Tho 'mnl "DviUinI. Pan," IJId "c...-lin.             r...., ..
                                                                                                       ,hall ...... I Purr .,110 I I _ •• ;.;n In ......., III. alu
                      ~         "" Elp"nlivrt (Gndt.tnH Ulldtt' all, pra"'UicMI of tbb .pltm.... -
                      )1               H. TIle '"rna uNm·o.ilUnl Put," an' uNDft-C,.I,U.,uln. P&t'tJh M m...-n , PutJ _)to .ltctI no
                      1&
                     II
                                in • ~'DPO><d  _.1Ion.
                     )1            Unl,.. "'. COIl ... , olll~bt dtul, 1M",..., ...rda uwd In III. siII,ub, include til. plurol, "'. " ..
                     )9        .n,uW, and 111 •.I\IU'" f'IIdtr r..:ludct Ihc """"Uno IlId Ihl /Mllnl •• ,
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                      41                                                                             ARTlCLf. n..
                     41                                                                               EXHIBITS
                     4,
                     44            Tht foUo';". flhiblu. a.I ind~'IH bela_ .nd .ItKhtd hlT'I1o. an iac~"td in t.nd tnJd. •                     put   ht:l'lol:
                     4)        !ll A. Uhil.i, "A", ",.U         1.,Su'"
                                                                  1M loU.~ln, iolormlllOll:
                     0\6.             (I) IdmvT"'.ti ....1 bndllub!c<1.olllll .1'....,." ••
                     H                  (1) Rntrinktu. U 1fty. U III d"l:hJ. rormluOI"I'.         Of   JU~UJ\t;:a.
                     45                 (}l r",mu,.. or   1'''''00&11•• ,,_ '" puuo             '0 Ill;' .,,_ml.
                     49                 (4) OOll\d ." _         oMIo, Oil .... U         In.,,.....ubft<r '0 tIoi> •••""'", ••
                     \0                 I)) A64r ..... 01     ,,,rid
                                                                  10< ood" PUIpO><>,
                     )1        Gl B.      ruibi, "8", form .1 lc ....
                               Ii! ~    E>h>""                                                                                                                         .:.'
                     II
                     )1
                                                  "C", A<CDllnunl "'",nlur<.
                                6a D. l>lUbh "0", I",.,,,,a.                                                                                                           ~.   .
                     )I        !iii E. rulbh "E". Col          Bwncln, """",m •.
                    II          aD r. rulbh 'T', N",·DUcrimin.Oon ... C..-.lIIotic.n 01 N";·St"IJI'..l Fwti...
                    16         o G. uhlbi. "G", Ttl P~rnlUp.
                     )1              U lJ'Iy proviuOD 0" any uhibil. UUp' ~ibiu 1.[" lI\d "G", I.J. 1ncon~I~1 with .ny. pro¥illorl                        mftU

                    11         01 u,lJ .,rtcm(rU_ til, p'GVUicN in d\c body cd thll         'Jlttm"'.
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                                                                   t OPERATING "CREEMENT·


                                                                         TABLE Of COrrrEms
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                                                                                                                      .• 2




                   I. D(llI'IDJ9r!1.· .... ····.·· ...... ········ .. · .. ·.··············.··································
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                  n.    ~           ........................................................... : ........................... .

              In..      ~g~r=n::::::::::::::::::::::.::::::::::::.::::::::::::::::::::::::::::::::::::
                        8. Mllil:m 0' PAllne IN COSTS AND PROOucnON ••••.•••••..•..•.....•..•••.•...••..•.•...•
                        c. VtCE5S ROYALTIES. OVWlllING ROY ALTID AND OllUJl P...Y).IENTS •.••...• , .•.. , ..••.••••••.
                        D. SV8SEQUENil.Y tuAttl) 1NTDtlnl ••••.••.. , ••.•.....•....•........... , ........•.•......••.
              rI.       IIn.Y ......................................................................................... .
                        A.1TlUVtAMlNA110N .................................. : .................................... :
                        8. t..oss 0' tTlU ............................................................................. ,.
                           1. Follu/l 01 lido ............................................................................ ..
                           :I. t.. br N...·l'srm..II .. !n..,oow hl"""'" Am""", 0.., ............ : ........................... .
                           ,. 0dIw.1Doco .... : ........................................................................... .
               v.       OPI!MJl)B ....................................... : .......................................... ..                                                   ~   ",

                        A.. DESIGNA.llON AND WI'ONSlBtr.n,tfl 0' O'DATOR ......................... , .... , ........... .
                        8. Rl3IGNAllON OR )WIIOVAI. 0' OPEIIATOR AND SEUcnON Of SUCcnsoR ..••.•••••.....••••••

                          .~::::;=~~~::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::
                       c. !M1t.OYl!! .......................................................... : .................... ..
                       D. DJUI.1.IN(J CONTRAcn............... '" ............... " .......................... '" • '" ..
             VT. ilBIUJrIg NIP pMLQPM£NT ....... ; ....................................... ; ................ '
                 ,.. lMl'L'J. WIlL .................... ............ " ............................................. .
                 II. SUIlS£QUENT OI'D\A110NS ....................... ' ................ : ....................... ..
                     I. I't-.I Opor.tiDnJ ........................................................ : ................. .
                     1. ~1IoN .., !.cia            ""11
                                             AfI PIlIi................................. '" .• ' ....................... .
                           ,. 5tAad·a, r ........................... ,................................................... .
                          4.   3idtttac:1lo,................................................................................. ,.. '..
                       C. TAlCING PRCIlUCJJON iN X1NO ....................................... , ....... • .. • ...........                                      "
                       D. Aems TO CONTIV.cr AlL'. oVID IN,OIlMAllON '.' ............ ' ............. , '" .... : ..... ..
                       L AJANDONM&iT OP. wnIS ......................... '" ................................... ..
                          I. Ar....lonmt!rr J Dt-( HoIoa................................................................. .
                          Z. ~,""""             "'.a.til ........ Pno4...................... , ................................... .
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            V1I.
                          I. Abondoouitllll d 1'1...  <-,       0pcn0au ................... " ................................ .
                       f.XpWDrtVPJ!.1 tMl LWnm or Pc\RD!!L ..... '"                   ......................... ; ..... , .... ..
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                                                                                                                                                                     f.

                       A.. UAlIlIll'Y 01' rAJIl1J!5 ... , ........... '" ................................................. ..
                       B. u!tIs AND7A~ D!7AULn ... ; ...................................................... ..
                       c.' PA.YMI'N'n /<WI) Acco\JNnNG .......................................................... ..
                       D. UMlTAnON fIIlXl'tNt>rtl.lRn ........... , ; .......... , .................................. ..
                           I. o.w ow boopon ............................................................................
                           t 11_''''""1 Badt ..................................................................... .
                         . ~. O\hof Oponoianr ...................... : ................ ; .................................. .
                       £. nNrA1.S.$IiVT.1N '9lt1l. 'A'YM'fNT'S AND MINIMUM 1\0YALnE5 .......................... ..
                       r. TAJ(fs ............................. : ..........................·................ ,· ........ .
                       c. I1'lsuitANa: ....................................................................... ··· .... ..
           VlD. AcgtrumON, MAINTnIANC! OR TAANn'!R or ltlT!RUT .•••••.• " • '" •.•••....... '" .. .
                A. StntltDroB O' L.EASES ..... .... " ............. , ~ ................. , " . . . . . . . . . . . . . . . .. ... . .                        . ":.:., .
                8. UNtW A.1. 0," UttNSl.DN or 1L\32S.............. '" .................................... ..
                    C. "'Cl\lAGI! 011 CASH CO~lltlONS ............... '" .... I . . . . . . . . . . . . . . . . . . , . . . . . . . . . . ..                      ~:
                    D. MAlNt!NmcE·or UMtOl\M 1NltlU:ST................. '" .............................. ..
                    !. wAJVIl\or '-1GH'TS TO 'ARTmON .................................... : ................. ..
                    •• pP.£fIII!NTVJ. RIGHT TO PVIlotM~ ....... I . . . . . . . . . . . . . . . . . . •• ; . . . . . . . . . . . . . . . . . . . . . . . .
            DC.     !rmI!.N"l kMMJ!! CQPltmctJol'l... .. : ............................................. ..                                                     '.
             x. t;t"yMs.t.r!!' v,l'lWm .......... ....................................................... ..
            XL lORa NA.llfU'R! ........................................................................ ..
           XD.      t:!Q!!l;!1 ................................................................................. ..
          X1D.     T!!RM or MjWMW ......................................... · ...... · ............ · ...... ·
          XIV. CQMPLIANCE WITH                   y.ws WD IU!:GUlAnOI"$ .......................................... ..


           >Y.     ~E§.~=· • •• ·• • · • • •·. • .•· • .• •. •. •·. ·. .:. . . . .~
          ltV\. MISC!tL.A.N!Ous .................................... _................................. ~
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                                                                                         n                                                                   . '.
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                                      h.A.P.L fORMbl\                         '. FORM. OPERATlNG                    AGR.EEM~,.·· 19~2                      _

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                                                                                                                                                                                                ..       ":11~   •


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                                                                                                         ARTICLE 111,
                                                                                              INTERESTS OF PARTIES

                                   A. Oil ucl C" t.rtfttu,

                                        U ... , P"" . _ '" .u ... ~ '" lnu,CS\ ill Ill. Conll'" A'tI, 1lIJ1·;';'''..11iuIl be Uti." lor aU         olIN            p.""""                                   ~    ..
                          ,
                          7        an. ~";"I 1M I..... hcrn>l OJ Uit -". <.'"od by ""'orm oI"lan~ '" ....."..~wh,~IKIiI ... bhibir"B".1IId til ••
                                   ~1Wl be.!tun'" I..... betll th.       ,."b,
                                                                           "Itrt.. , .....II! in Ndt 1tut.0II4 "'. In.lI .. ' oIth. _  ",,,,,,"",,
                       9               acceptable to such Owner providing for                                                         II       1/4 royalty,
                      10                                  'rod ...i •••
                                   8. \.0'.......1 PIllLoo '" Ceo .. uod
                      1\                                                                                                                                                                                    't:-
                      11
                      IJ
                                       ·Unlca chan"" by ....... prorioloru. aD a,"' IIId IUbiUti.. in"'tII" ill ."."..... v.w. 11111                           ."ftlftlnl
                                                                                                                                                              WI! t
                                  p>l4. Iftd oD tqUipoft.... .,.. nu.tNlt .... btd I. 09CI.1ioN ... thl CMlla" lor.. >IWI be· • ..,", by thl purl .. ul/Wir 1m
                      14          1,nJ, III UIIIb""A",1n III. l1l/I1 10II1II .... 111. poni .. sIulI ......... .u produ...... ' ail .... , .. born "'. C...."" Ant:
                     11           PI)'mGII ""ttl ...... ',h, •• ., "                                                                       .
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                     16            ·all    exiltinq ro altie~ 4nd other burdens which ara not Subs
                      11             c                                                                      . ,
                     18           ,.,.wo. ""'"   '\Jod '0'''';'' • dw.oI prod.,,",n oi .a .... ," lrom !ht Contrin "',n tIulI bear ..d .1,,0 "I
                     19           , ...... lot poW., deli,';..!, ... 111."'1111
                                                                              01 iu Io"n" in ....h ,....1......          ../1,
                                                                                                                   Wrol'F~~Id~;\cIIId\\\i~ 1m
                     20           .thor patOIS Ir .. b"", '"7 lUbilirr tli"'/or. N. pon7 >lull .... 100 """"",'hie, ....."", ittI. File. kIb hIJ~" thaa tlu
                     1I
                    12
                                  ~, l.elI P'ItJ .... 1117·.oha paItJ.j Iaaor or ,.,01'7
                                  fI.ri.. xttlrm"" .... hi", .. pJicr kIh.     w,...,              .wn",'" ...,
                                                                                                      ~      sudt odMt pony', ........, ",0117             ~
                                                                                       -..u..;., 1M aIIrc"d ,.... t/>IIl lieu tlIIo4dlslooul ..,dl, iIIuOon.
                                                                                                                                                                   0.... "'. .
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                     24
                                •.u    hi"'"     prito,                                                                                                                                     .'
                                                                                                                                                                                                           -,
                     n                 No""", _taUmI in oIW AIUclt IU.B....... bo dmnool on uoI","lftl                         tJ< tnKI .......,.,.,.. '"   In .., .... _no.! II
                    16

                 21
                     27           C. E..... Rorl11Loo, o-rldla, R.yaI" .... d· Ollt ..         ,.rm......
                 }O
                    19                u.....
                                •• ",Uin.
                                               dwI,"       .111.. provisiolu. II
                                                            by
                                            '0,.117. p,oduniall poy..,.,1 01
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                 II             ",irnoollllall ....... and u..>...... .u      ,.th ......         MU,,';_ ;"d ... tIIl,lIlm••lIr ond hold .... ·.thtr ponI .. ·h".... 1\....
                 n                                          'et pa""",• .....,'" "                 ..... a. ol'II(h "'''' bu,drn.
)                II
                 ~
                                ond '" ,WIN .... """.....

                                tI.   $ulNq....... , era,ooI Ia,_,"
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                II                    s •• Article XV, A.
                '6                  II.III! , .. ~ " •• 1. Iri.,r 'II. II.&:II • .",. r·"~;'. ",.1"1, p.J "'1' .")~'"' " "~Ii h:.4t ,.,'''' "I
                               .tlrib.., .. 10 iD _1dn.1'....... ~ • ., 11 •• ,1\ • hurd ....b,ool po;" .. Ihis ••' _ .nd b n.. "'''''111 in·e
                '7
                n              wu ••, di>doood 10 ";On.1O aII.w. ponJ .. priM to!ht u ...Uo •• , "''' Ilmmall b, oU ponl.. ,., II ......                                            ....... :        '


                19             •«.,.01 obUI ..... 01 ill ,.,v.. I..., I\Idt in.ifn' brio, h..             ';.oI." ",.,," ..
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                40             ~minl '" ill .,..,;.., """ lit. pvfJ OUI '" ....... _lin, ",nal tho ",bwqo",~, er,,"" in,.. • .,i_td bftnl ...,....
                41             •• U ''l>urdelad ....,..'). .. ~:
                42                                                                                                                                                                  . t.
                                      I. U th. "rdc-! pony h "'Iuirod " ..... tIIb ",.....          &III  Ift, ••
                                                                                                              "Uoiq.w. •• "'I 0 ..... putr. or ,...;...
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                4'
                                         01111   _kin.  10,....... .!lor th, ~.ni .. lluibu"blo
                                         p,od.ri ... ,~ "".<1... 0I ..1d •• borojucnd"
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                                                                                             '.1 ..... ,n4 1M bIt..""",.,., .... UlfUl:<tnnU, ond u ..
                46                       or , .. u... humlco ,..;."    1ft,
                                                                          ond .U C   1IId d""an" lor PI,m.., ...... .,j b, ........ 01 thl .vbwqoa,"ly
                41                      .....
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                49                                               y bill '0 90', .. hm J••• i~ ah"..r , , _ ,hlllable hrilUlIdt<. &II                   ".,.Wono '" Am.
                10                                   , .,a.lruI u"   ~bttqutndt NUltd iftllrOI in ~. W11C nunnrr u tMy tI. mron:hb" 'IUu( dar                               WI

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               II                                                                                       ""RTleLE rv.
               ~                                                                                           TrrLD
               Il
               16              A. Titlo t ..... ID .. I...
               11
               1&                  r"" ..       "'""'Ii""WlJ be rou.!t on lit, driUsl.. 01           ~  III,            ...u
                                                                                                                      prior •• """..........;"" 04 4rllGn.
               19                                                                                                                .a
                              tho Orillint p.,..;,. .. nqurn.lltlt IwnlnallM WlJ 100 nudI on ............ dIor ond 1,,1nt..-lndudjd. "'.pt..
               !/l            N. in thl drilli", unit UOOIId Nell ..U. TN opinion ";lIincl,dt tit, .wntf1hi; oIlh, _lInlln, ..",. ",lalt .... ,
               bI             ,o,.h, lAd  p.odll<'ion     ,.,m... a.odor lit. 'pp60:.blr ""-. ..... th. Ii"" • _,0 iJ ~,1OdI ptl17 ""'tribulln, Ie
               62             'U  Ullft""   I. I'"  4rln.;". or sa bt inrlu6ri in ",ell drilJinlllllk. IIuIllurftbl\ to Opon"" oIIlku .... (Indudin; I
               61
               64
                              'tpONJ. titSt ~ili.'l'\l. &itlt ptpn1 and C\1rni". "UI....w in its poaasion ItM 01 dull'. AU 11Id\ WMt1\lUon ftOIin II                                    '   ..
                              mllll."a.bl. 10 Oponto. brill. puti... b~1 • ......,., for lilt fU/IIl...".. 01 tho till .. sluU l>o .bulntd ~r Opn ..
               61             tJ.Jt dtlt 'v I>f WIll;" .. b,      """"'1"'"   ill ",II or b, ... aide ....... ..". eop;e 01 011 ."10 op\niOn> aIulJ be '''''
               III            h""o. Th,     <0"  i""",od by 0p0n1Dt i. lit" till. prollUII .hIII be born, " '0li00'\:
               67
               61             o     Opi;." N •. I: Ctou       .",ItT"
                                                                    b, Opoo-..Ol In I"'o('",n, .bll11<t1 IIId lill. n""iruo;... r""I.,din1 p"'~m" .
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                              ,h\ll,j" I" tOl&hy opinJc:.,1 and a.UiDl't ordl" lillt V9."ionJl VIlli "". """" cllohr adrnWwld", D"rtCMtd .. ~                                       ;   ..
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                                 A.A.P.L roRM 610· M('.
                                                                (tIIr             _ FORM OI'ERIITlNG A.GREEMENT • 19R2
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                             in t>lc propouio" tJur           .tI.
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                   6
                   1               b. Plr1y IMn \t InpMsiNr lot 'IIn.in, Nllt.i., mann and poJin., .1'tIn'ldmlftu or ,.,"mtn" 'equirrd Ln
                   a         ..i,h ltun or OIl.nd IU il!ln.,lI t:Dft"ihlJttf by l\lch pUI,. (}prtUaf ,)uJI be .espolUiblt 'OI",h, p'tplflUon Ihd ttC'Otdift
                   '1        dni,ruuDI\I or dtctu.tionJ u .,.U u ttl. nndun 01 hnrinl' htlor'IO¥trnMtnlJl IIC'ftCib 'or I.h. lrauin,"oIlplCin& cr po                                            -.;
               10            This sholl 00' P'P"" an,                 pu',
                                                              ho.. 'PfnlI.1 M III o~o bch.U .. any .och h....lnl.
               II
               11                                .u
                                No • al\,U be d,m... bA lh. Canuld Alb Ufttil "u, tl) tAt Ihl' to th. d,l1!Jilt or d,iUan. "nil hu bttn 111mb
               I)           p,o.~td. "'" III JI!, .~. hu """ ifp. •• ", \, ~ ... tlni.i •• IIlom., .. II~r h.. bo<n I(CIpl'" ·br .U .1 /h. ,'/li.. wh
              14            00pa1l '" 1/1. d,lIIiA, .1 ,," ....U.
               I)
              II>           B. ltoo II Till••
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              19
                                  1; F.iI" .. ,,;;.1 Ill. JJ j 'I~J,.· ....                   ,.,s....... ;.. ,"'·" . . . . .
                                                                                                                     1•• h'..4lltt.. llllt.,.rh6 .) •• ~,
                           .od ....... "I...,n. 1_ 1M.IhoWUft &hibi ••• , .... \hi pan' ....uiboou"llh. alr.m.Iltuo 01 "'",." IhllI h... ·nl.
              20           !rom IiIuI i .."..i."i.,. 01 ddt laiJu.t 10 ..qull •• 0, ....... or ." ..,               f"""""",,
                                                                                                                  Nrinl 1111              "'Un',
                                                                                                                                      .I .• h, .hl. lallu ... .                            .:;-...   ..
              21           tlorI ..;a ... bt tubl'" 10 Anldc YlR.II...d Iii,"" •• do ... "'b .......""••• ....,"'d.... ilIaU """'.' io Ior« U II> all
              II           and IU !alii ...i i ....._: and.·
              U                  •• ). Th, ,ony ..!toM ." and 1,,·1_ 0'               In.,,,,.
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              2.          ",Jidid •• """" Ito .. 0,., ..., or th •• "", pVti .. lOy 4rod.pmm. OI"",~., """ -hkh I....., h•• , 1h«"01
              n           hI tha. lhaU be .. aldidonal \w;1~, on III "'" .. "" O<h,t par';" hdC10 by " . _ 01 tuclr· ddt tailun:
             16                  11» Th". ,h.U be ••• cuo"';" .ijua<m"" oI ... pcnaa in"'"..!.r ,.-.u" recti."" bam JII...                        . JIlt 10",
             11           ~1otI.bu. u.. in ........1 JII, pu1iaJll.U bt ... iHd COl 1/I1<I.... b........1" .. Ii"", illad ....... "..dl             'Uy'"'' ""••
             J!           Nrrtlf. IQ Ihll th. inll1"r.1' 01 lb. Pin, *hct.t lfW IIr tnlrrttl is diaatd by ~t tid.lbilun wiD u.crt It N ,tducl'll ira
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              11          v,tTt1.Jri4 ~'''ruan ollh. ddc bih:lft.lht pulr 'WhaM vII. ha 1..'lnI.,)u.1l Iteli". &hI ptOC        "Iui~\a"blf '0 aM inert.
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                        rhe Icrtt iIK.'"I. c.akYIJ,td _n      "rnl' \ui,.'Of' rhl dt71'topm4111 .~ Dp.nuB, cOlts .lhttnofDft pticl "" ICCO'V'" oC
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                        !.hId w rilftbu,ud lor unr ytff'd mOil CtI,1J lh11'1I:1011H', paid il "'leU PI01 ror Its shUI at ah. nil Gin.? dry hot. "
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    Case 8:11-ap-01290-TA                                Doc 1 Filed 06/30/11 Entered 06/30/11 16:48:19                                                                                                 Desc
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                                                                                                                                      1982



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                                            ANGUS PETROL tUM CORPORATION
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               '0           r,',nt Op.·ulcr 1l1~11 bt 'I'QUllrd 10 "U ~n'~ lh. (otftlllion 01 lattn1llonl 10 .hi,ch thu •• ,"""ml ""Y ,pop'"
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        Case 8:11-ap-01290-TA                         Doc 1 Filed 06/30/11 Entered 06/30/11 16:48:19                                                                                    Desc
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                                          . A.A.P.l.      F.··-...·"~OEL FORM OPERAl1NG AGR.EE~~~ [ . _
                                                                                                        AJmCl.EVl
        )                                                                                                 _lin,*,
                                                U. ira ()p.aoJ~.' }udptG'll, 1ht W1U ";1 ~Ol p~u.cc oil           CIf IU   ~ ~7i.tt1 qulfttltiq, &1\6 11   ";')'111   10 pI~ .
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                                   6.     B. Sub'"'!u.".. Cpo"lo ...

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                                9         I.. in "ni,.,  VI.A" or.o ......~. dr<p<o or plua b"k. <Irt ho~ drillrd " III ...... tJpaI" cI,D pu.n 0' , ... 1·
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                                         orh" por ..... rill.n .olict 01 lIN p<opoNd o""u;on. 'i"Cily"" w "OI~ •• bt ""I •• mod. tIN 1«, ..... p~,j..
                               II         tion .n4 all, I1Dmlttd CUI of \ht OflC1.UOIL. n. ,U'ua I"ciYinl ,,,eh .. noUe' sheD hi'" thirly 110. 'IY' alrer.                       .~ •
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                                 ........P.t. fORMe' DEl FORM OPERATING AGREEMENT.'

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                                oM do, ... U"'aD d"n Iw rumod .... 10 ()p<r.to, "'" WII be 'fr..~ b, 10 .. 111...,..... ",j '",111, attConl 01111,
                               Ii... Upon < 0 . . . . - - 1 0/     _.Iio..  101 on, driu;,.,,~:lt"".t/~in' '" plupin. ~"• ., .., "'dI ... U lry.r,
                               in "i:",.s.nc. willi "" _...,'" 01 III~ A,oi,Io... d> N... <-';ftl rut\' "'.0 be d"'-! 10 h... ,.tinq\JiolIlII.o CI
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                               III. lit, eon....,tin, Panid .ha.b 0""'1 and be tftLltJrd Ie nee;',. '" P'09CIniM 10 dim rerpcU'fl illlrrl1u. aD 01 iuch
                               Pan,·, LnIft'Q' In thl    'III" UHt ah.vl ot ,tad:uniOl'l th ... drDtl\ unDJ lhl ,rocnJs 'altha uk ellUth &hul_ nlNlm
                          6    muhl .,.1"" .mrnal it tum :Mil. n noc JQ"i. hklf dNuroUn, p,ocf~cdon tUG. iuiw IUd. IQJ.hr. o,.rtridin. ny:.
                          1 .. "'"" nol "'iF'od b, Anid. 1lI.0. ,,"y.bl. 001 .1., mruu,,.j by thl production trom lU,h w<ll """in.                    wi'"
                                                                                                                                                  '''1'''
                               D"nil jl 'IrWtrtS) lhaD tq\l,J the ,otaJ cI Lh, ~oUowirt.:                                                               .

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                      II
                      II
                                       l O o t .
                                    (., ~o, .~'h luch foJ~.(onMrll:inj PUll·' Jhu •. of !h, COil of .n11)f~1' .r:q~"rd lurlul ~~Ptnrft, bq
                      Il       hX'iDKdON (U\d~~I. ~I JlOI limlud tA. nock Wl.U, ,;qatalon. U'fIIfcr1. pulDp!I\' equlpm.." lAd ",pint). ,Iu, .tf
                      H        NOI'I<~a:nJ        'artJ·'&hut of,,", cau oJ optntion ollh. _.0 Rlmmmcini wh.h              r",1
                                                                                                                  prodlJrDoft ",4 rClluin\lU\1 un'

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                      16
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                               COftMl'UlrIi, ,,,,,. r.linquW,td In.... thlU 'IV." 10' k lu,dtf o\llct provULona 01 lhu "rocil. ,. btin. 'I''''
                               CavcnUn, rUll·' Ihat. oIauu,cma ud tquipfM'n1 -iU be .h.. in'.,.1 "'hkh would hi•• ~ mll'Jdblf til' ..,tl
                               I'1I1J hod II PUoioiPllod in .......DI........ lwaiMill' .1 1111 O9I'.oions: and
                      II
                      I?
                     lO
                     21             /bl~'. 01 ...., pootI"" cI "" ...u .,.. ",_.1 d,illillr....... ~in,. dr<pmilo.. ploUill. btCk. I"';.
                     21       "'... d..!ocM,     1ft, ash "."rib.dono ' .....od undot Anid. VID.Co..nd...iO.Q..!'. 01 til" ponIonol 01>. ""' 01_
                     21       1fIfIl' i,.\h, 'Ii'.d (10 a1d inciudinl UI. w.Uhtsd (onnK1~a). which would hht beM challah'" CD IlJCh NI!II't<.Mwn·
                     24       puticip.ud ·",,,No.                                                                                                                 .
                     1I
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                     1I
                     29
                     )0
                                   Aft .fl'C1ion GOI 10 p.ll"firip.ll" in 1M drlWII, 01 lb. ~inl of • weD Ih.U bt ",",""td an .f.c.ctbt ftOI·\cII pV
                             .... Un' 01 plu"i •• bod """,0"" p,opoord In IU<b. w.U. or portioo ..... ""'....hlch ",.iniliol N..-<AtuaI, d«
                             tenduat.! II any limt prior •• I.U't<VY1IJ by "" c.n.mlioi. P"';" oJ til. N..,.c-d•• p"",', , ...............
                     j\      'f"OIklnl at ,ILllli". &id I¥«.don mndUC1td durin, th.'rfC'tllJ'Pfllml".nod ah.U be dntntd pan of the COli of or
                     11                 "",U"
                             UI1' "" ....        »dNd let d\. IIJIIU III ~'l'CGupni lIt~, CoI'IINftUnrp..,ua Of)f )UHut,td ptfC"111OO~) al th1t pol
\
                     II      dI. 't"OII1"'1 Cli pluUin. Neil flph"laon whkh "'O\IW h.... e bwtI chuln'blf la such NOft.(:ol\)ff\tin, Pllt1 h&d It ~
J
                  }4
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                             ...do • ,...,110,., ,Iuuln, bid         _"i...    ~ P'OI>OM'I durin••• ,h IKCUpr1\<111 P<'iod, ,lot ,,0.;'lona .1 "'~ "<d,1
                              pGnbr. u bdw"" \aid CoNtn1fn~ PanJli it. wI WIU.
                  16
                 II
                 II
                 )9                 Dulin, aha ptriod cI Ii"" Cel'uGII"', '.mid .,~ "uid,'" 10 INri.,. Non<om.m~I". 'any·, 'shu. 01'
                 4(1          prtJI!:Hdllhl1tfrom, ~un. ,.".;. thlll,bt 'fi~Mibl, lar Itlt p."m.." ol.n p.odl,lttian. M'V""nci•• adM ••
                 41                        _II
                              ........ d lOJaIty .... wMin.        "".Ioy
                                                                   IIId odIot bOld"" ,pplinbl.,o N••-u.. ...,in. r.ny    01            '.,1",. p,od""""
                 41           ~,"   m.D.
                 4'
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                 4'
                 ~                    I. !h. cur ., '"7 ' ..... kln'. ''''Uin, ~"I or dnp<t d,mi •• _.lIon. oil. 1An""i•• P",1a ""~ Iw pc
                 U           ~ "-'I. a.D min •• N~inJ       all"
                                                               nh.., ~u~;"'I\llft ,hi .,R. butlhl o....n.nhlp etr ,II '"ch ..quipm.ftI.tull,rmaiII lSI
                 4~          .kndo.lmml 01. ~.u aI'ff wch .....ctl;.'. pluui •• biCk .r d"l"f d,iUi ••• ohr Con .... ,.,. P,n;" shaU ."....n
                 <9          l1'.II"AI la \hI o~ U1C'fm. with dCh Plll7 ftc.hi"l h, p,oponionllt p.n in 'lind 6' ift .,.Iul. lat fOIl of 'ul ..
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                 II
                 11
                 l)                 Within sill,. (6(), dJrs uu, th, ftlrnp,"ia1t. 01 .ny open.iorl undC'f ,his Aniel •• Ih. PI"Y rond'unm. th
                14            Ctwtntin •. Panla aJuU (umilh 11ei1 l'I/on-Conu1uin.         p.,., .. id, an In'l'l1Ilct'1 tllh .. cqlJipMnu in uvJ C'Of'IneIC1It
                II           ilnniud ""nnrnl 01 III. ""' 01 dr;UiIo •• d"l'l"in,. pluUin. btCl.lnlln •• C'IHIIpl"in •• I.d rqulppinl 011. WID to<
                1&           "Pilon. "', O"pI't'.ljn. panJ, Jl'\ liN of lJ\ ilftniu4 '~II1!I",1 oJ tur:h (oUS ()$ op,uuon. mlJ .\amil • ~"iW ,Ut:n
                )7           in,l. pm mClI'uh VlI1"'I.,. Jurj"" lhr Ii".. lhr CDftNf1Un. p,n;n Itt Ni"1 'tlmbUl:ttd U PfDV'iJ.,d .boyt.lM·
                18           DpttltionJ IOf ttl. CMlJt1lliftJ PlI1in sh.lI·hltniLh the Non-CON4InLinl 'lt1itt "'hh In hnnJud JI.ltrMnt 01 aU C"
                )9           Nt"d'i" &hI cperui.oft oIlh, ...n.1olnhtt "';lh I SIIIm'ttnl 01 th. qu.nlilJ or on ... d ,u p.odlJud fnn" r. w..d I""
                60           ,ntisl'd ko", Ihl UN Di.h, ..·.U·. _cr.'''. inJf1t1ll'rodlla.iOll durin, 111. prf'CfJin, m.ot'llk. t., dHmninirl, ...... tr
                ~I
                ~1
                             p1odu"" duri., In, monlh. C..          "".n,   p.nin >lilll Ult in6ll1117 .cnjll!d mnl>ocb       w," ". bu. nol romiltd '0.
                             YIU IHt,. Any .maunt ,.,Iiud I,om .h, ... tc D' D1htf dispolition al..,uiprnJ1lI " ....1, Icquj,t-d In cCJII1,ntalon wiL
                ~J           which "'0 .. 14 hn" bnn o"""td b!, l i'lon<OtlK'fllin, P,n7 had it p.&I'licip'.td Ih"rift sh,1l hi antilcd I,Iinn Ihl •
                ~            of Iht tra," donr .nd of ,h. tquipn\tnl purch,.", in dnttmin~f\1 vhn\ lh. in1"..,1 01 lutti N~.c~MTllinl Pin
                ~l           aWvf pfoyi4td: Inll if IhC'ff u • crtdil bll"tlet. i, Ih$1I bot plld 1.0 ,uch Non.(on .. nlin. P.ny.
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                             (21 Co ndlllo~ 0
                                  M.wrl.l. .. dudlnr junk••• I•• ~r .ullabl. lot ill o,l;i ••1 purpo ... bUI "soblir. r """' oil
                                  p,it.d on. baJi••• "''''' ••• rau willi Iu VIf. Operalllr m.y di'poN.r C.ndldo. D M.Llr.
                                  ";'rm.\ly uwd by.Openlor willlolll prio, appro ••1 01 Non·O~ntl)n.
                                  1.1 Cuinr.l"bln(.• r drill pipe .. ud u I;n. pip< .h.1I be prlcc<l u Grad. A .nd B ...",1.
                                      panbl, .ill .nd .... il/hl. U.. d cuin,. IUDin, or drill pipe ulmud .. lin. pi~ ,hal) '"
                                      piPf pri ....
                                  (bl C.. inr. lubin, or drill pip" U>td u hilh., p,tUurt Mr"o'lc. HntS lhln aundard lin. plpt
                                      .hall be p,iced under normal pri.inll procodurts I.r .ulnr. lubin,. or ·drlll pipe. UPUI
                                      bt p,iud on I non UPltI bull.                                         .
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                           (3)    CondlUDn ~

                                  J~nk lhal!
                                           bt p,i.I'd II pnvailb'l prie ... Optulor rnlY dlJpoM of Condition E Mltarl,1 UI
                                  mally ulmud by.Opar>lOr ,.itMul prior IPPro'&! of Non·Operatora.

                       D. Ob ..I.1I M.Ur;"1                                                                                              ", ",


                           )'laurlal "'hlcb I. M,..,I.ubl. a.d Iliabl. lor Ib .rhll.11 funeUon bUI eondillon .nd/or valu. 01
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                           Such prie~ .h.uld r ..ullin thl Joint ACOIlun! bol., cbrred wllll·th, val"" alth ... ,..,1.. nnd ..

                       E. Prlelnr Condillo..                                                                                                       .
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                          [11 L.wlinlr or unlOAd!nr ....11 mAY be churod 10· tho Joint Accounl ,t th. nil 01 lW.nt)/·n~. tc
                                 "'!irh! on ~II !ubull' ..,ad. mov.montJ. In liou 01. 1.lu.llo.adlnr or unlo.dlnr _IIIUSII
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                                 po••t. Th. abo.o flU ,h.1I bo adjulud ~ 01 Iho IInl dlY 01 April .. yur tanowinl JIIlUU
                                 pe..uUr. Inc'rUt or dlC'ou. u>cd lO.adllllt ovorh.&d ratat in Section trr. Po"mph I
                                 f&U •• Iculated .h.n be Nundod 10 lb ........ t Clnland ahall be tho rill In oUt« untllth. I
                                 y'ar. Suck fill .~,II be publl.hod nch y..... by tb. lAundl 01 hlral.l1m ActounW\u Soc
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                          12) ",.tt,I.llnvolvinl .rac.lon tootU ·.hall be chulled a'applicabl. po.nnllrt cit
                                 n.>M Maurial.
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              3.      Prnnlum Prien
,)                    WIIln ••• , MaU",1 .. not ... &<IlIy .buln.bl, ~I Pllbll.hod o,·II.ttd pri.ts bcuu .. • t ·..tlonal .rn.l'II
                     unUlu,1 nUll. ovor·whlth lb. Olitnlo, II .. no .anlraltho OptfllOr ma, charfl·!h. Jolnl Ace                          "
                     Mltari.I'llh. Opt .. lOr·. ,clual ... t·intu,~ II. pra.ldlnt,uch Mau,lal.ln makin, illuilabla I
                     ;110 lh. Joint P,oportY.·       .        •       ....                            .
                     Non·Opo,uo.. 10' .uch lurial •. E.eh Non·Opl ••III, .h.1I                                               0 I.'
                     1<. dlY. lIlt' roe.lvln                                .      In.n all or pa .. 01 hi. ,ha... 1 ,u<h "II


              4.     Warnnly .1 MalorW f'urnlabtd By O~raur

                     Operalor dooo nol warnn! Ihl M.urill lurnlahcd. In CUI 01 dtlffli •• Mlurl~l; .redit illlllll<ll·
                     ActOlln, unlil a.dJu.tm.nl b.. !>.on .... I.ed by Operato, hom· th. monufutu .... ar th.ir o,lnu.


                                                                        V. INVENTORIES
             1M Optnlor .hlll malnl&ln dll&ilod rffiI,d. 01 ConlN)lI,bl. Millrial.
              I.     P,rlodlc Invonlori ... Noll .. 1.It<I. !Up .... nlallon
                      AI rUlOn,bl. Inw ......II. In ••• torid ,hall be Ukr. by Openlor 01 tho Jolnl Account Coril><lll,bl. l
                     .1 i.Unllon to ts~. Ino.ntory .hlll be iiv.n by O","lOr It Ilut Ihlrty (30) days beloft an, In •• ,                   ?: .
                     Non·Opt'llOrs rna, bt "pr_nlH when Iny inventory I. uit,n. Failu" 01 Non·OpttllOrs III be ,
                     tory .h.1I bi.d N.n·OptnlO~ to .. c.pllh. i... nlorY lIk.n by Operator.

             L       /U(ondll'Llon and AdJullm.nl of Inv.nIDri..
                    Ad/uum,nu to tho J.lnl Accounl , .. ultln, lrorn Ih. ,..,.ncilla,lon 01 I pby.I ..1 Invonloty 'h
                    ... nlh. loll .... ,n' Ih. ukin, 01 Ih. In ••• tory. 1.... lory. adJUlun.AU 'hall be mad. by Optnlor I
                    oyorl," .nd .h.ru, ... but. Opo"lor .hon bt !laid aetounl&bl. only 10' ,horu,... duo to lack.1

             1.     SP<'Clallnnn\l)r1H

                     Spo<:i.1 in.tnlorlt1 ""y be ISk,. whrn", ..  th'" ;.  any .. I•. chan,. 01 IAUM!. or .hlll\p 01 Operal
                     II.h.1I be Ih, du.y 01 tho pony .. lIin, 10 notify .11 .lhor Part! ..... qul.kly u po .. lbl. IllIr Ih. I
                   . plo ••• In such ....... both Ih. "nor Ind lht pllrch..., ,han be IIOvorn.d by luch in .. ntory. In •
                     oropcnto,•• 11 P.ni ... h.1I Dc ro'"nod by luch Inv.ntory.                                                      '. ( ..

             •.     t1pon .. 01 C~nduclln. In.rntorl"
                    A. Ih. "ptn" 01 cDnduclinr PI,iodi. l"o"l.O,i" ,1,,1\ noll). tharrod 10 1111 Joint Account
                       Partiu.                      .
                    S. 'Th. "Ptn~ .1 con·du.tin, apeci.llnvonto,i .. ,h,n bt charQ"td         10    .h. 1'",1.. rtqulttln; .u.
                       vtnlJ)ri .. "Quirt<! due to chi'f •• 1 Opera",r 'hall be .11.,,.,!     IJ)   tho Joint Accounl.


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                                  ".A.P.L        Fe.               .-- \~
                                                                       '~ODEL fORM OPERATING AGR£EM£J~-r-· I e
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                                 c..-••• ,,,,, IIuII ..... th...... inll"" ....eh "til.....                      mt,nialw
                                                                                                              "I~iP'l'rII' III or ,au;ninl !her.,•••
                                 lhnrirotl'l u. IUch NGft~tiJSl '1I'tJ wCllJ16 ba", bm\ tMldhilo ~,d k ,lItidpalni in c)1" d.h1liAI. ""orkin,. 6n
                                 NO 01 w-M.-.n.. Th,,...iJI".I,,c:h NonoConxnPI ran, Ih.U 1Jc chua... .tm IINI shAll .., ltS ptopotkctiall pen D'
                                 thl 09(n~0f\ DI ...il ".11 in ,cc'O,danct Irfhh tht 'G'1N of lhl1lltnmrnl IoN lh. AI'~M1n1 Proe!:dutt atuthte




                        10            l'Iorwi...,urodlftl "" ~Wu 0/ tit;, Anidl VI.B.J.. ~ il '1t"t04 tha, ..i ........1" tnu •• a1 ......... 0/ .n po
                        II.     bo ....,pl.'r4 in CI p~uct4 ,,"'" • 10"," rOlIIPI'l, InIrn ..hidl • ".V ;.ell" .\lcwh...... \hi c...I11(t        b pn  A,"
                        Il      ...U c..lot""         to till "'.......... , ••U      'psrirI, ponor1l foe .um lOll... 01 ,.!'PI,. .
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                        16            10. ,",viliw 01 Ihb Mdt WII hI" no 'Wu..olon "h .......;. •• \hI-4riIlliI1 0/ "" inIW1               rIncri~   ...u               '.~
                        I'      m,,' 1'111 ,. "nide VU.O.I. (OpoOl! 1'10. l),'V ......04• .. (1)>) u 10 1M ",.. kill,. oittp,nu.I,nd pI.pina bod
                        II      .It.. i. luo boat driiltol '0 tI.. doplh -mod ;.. Anldt VI.A. UillhlllUrludl. ,...... 10 be , Ur hoi. ••• U inhlall
                        19      dlX'liDfl.   C'Ak:S   fD   pf~ in """.' Q\lu1liu".                                       .
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                       1J            l. 5und·Bl T1mr. WI"" • _U "Jrldr Iw _                         .trllIooI Of doopotrod .... .-hwd III "dror!W ¥      ...d
                       H       ....pIou.I, .... IIw ''''N ..... ooI·"""w...I ..              dr, pIIIia. run4~ ..... "'cornel ,.".u..• ...,..... 10 • ,.,.,'1
                       71      , .. or\lftl.I~., pluW., ~ocII '" <Om91c1in1 O!*.booI I...~d\l...u IluII !orr c/Lu,td ,lid t.on.c Ii 1'111'" "
                       16      inl optI.1ion jlPl <-pliIl'!. Sranol~ ma                "'bM<!_, ..
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                    11         &t" OttUn. and Drill, ,. 'I,.....,m, .. ,. rho pr.n!dp.tin,lm""" rr/ all '-""I ,anlct po"..,.' '0 !lit ,amo
                    28         ""dol    pu.".ph   01 Anicl. VI.B.l. ","U·k ,hu.hI' • ..               I'.,,,,,
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                    10         nth Coo..w-ndn, rallY" \A111K11 b sh~ On bhibic nA" 1>ttn to lh. tDLa] bnAtcll u Ibo,," lin t.h1WI uA" 0
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                               1ocJ~.. \brr.in aU"" "1t.\ntoc1llo,·'). u",....... '" ,,,blh,.. "'. halo_'" to-dtiU ""unll juM.in \hi hoi
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                   0\4              (., Ir rh, _"opouI .. lot 1i<I...,,\.ina III ailoi", d" hole. ,timlru""""" .... U k on ..., bub dlh ..
                   4;          do. ;".u.s i/lillir. rJ .......u .s.Wft '0 .... dtprll " .hidl rio. ticIav .. liIr,·opcr.tion to _liUrJ...d.
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                   +9             11>1 U .... prOf>OO'l it lor Ilolmoclrin. ' "d "hlch hu " .. Iou~, pIOd..od •• 0110 ............. ~ 100 ...
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                   ~          uf••blr mllrri1ll end "Iuipm"" do"n '0 ,'" d"", ""hi.h .....iillttICUnI opt1uion ir '.i';'I..I. d"mtrintd                                     .,
                   11         ~I>ioru 01 bhib~ "C". \do dr, -. .. m.." <0" 01 """Iin. ,.4 Ill' .,.",..1'1 ..., 0/ ,101I'n, and obolldo
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                                    III Ill. """ Ill .. nOlitt Jor • ;;.Intl,Iin, ."""jon ~ ,h......hiluhUtiI!ift...iJJQ.l!uur1ildLl~!.!onO!lJIog"""..._ _ _ _~~___________
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                  &1          C. TAXING PIIOOU[;fION 1/'1 KIND • .
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    Case 8:11-ap-01290-TA                              Doc 1 Filed 06/30/11 Entered 06/30/11 16:48:19                                                                              Desc
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                                 A.A.P:l. FOMe                             ''':lEl'FORM OPERATING AGREEMEN1';
                                                                                                   AJmCLEVl
                                                                                                                                       198.                                  \.



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                                      A.A.P.L. F D a                ':-;~~EL         FORM OPEJlATINGAGREEMEI'<                         I:'~   '.- .

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                   48          C. P.,m •• " ..o Aceau.dnl'                                                                                                            '....
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                                                                     'ODEL FORM OPERATING ..... GllfEM ..
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                                    dudin, "'"""1 tan.... IJIdJooo .u"", 11<ili .... FII1",••1 III, pon, ,Koi.io, ",ell nod .. '0                 ,opt,
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                         10         'CIU~Nn ~     cJKti" by WI f4ITJ ftol 1111 pln.icipall itt thr C'DIJ III th, COlPplcolion ,"rmpt. Ir 011, rtI )MIC. bulim ~
                         \I         ,IKI '0 1<1 pipe .. d t. lI.rmpt • """P!aUon, 01>, p... Wm •• I.An',1t VI.B.l. ~tI ...1loll, ph"....' ......\Inl. ""
                         11      boc\" u ... u;",.! in Anicl. Vl.B.l. ""U be d.......! '. i"cI.d. "",",plttiol"I.h.U 'PI'I,                \0   Ill,   "",,,c)o.s "••".1.
                         U       tluII tII,.,u..                                                                       .
                      14
                                       2. RowOlk Of flu, Bsd: Willi.., th. """"'J of.n poni.. , n. ",U sluU br •.-kt4 •• pluUod ~IC\ h,ro!
                      "
                      16         pl"U" &.ad ,.,It1U~ 10 !hI peo~itiom of Anidr VI.B.t cd this 'Irnmrnl. Cctua\11D IN trWDlkinl Of' pl"Uln.

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                     II
                     19
                                 lI>dodo Ill • ........". .. pondiNl>d '" """uainl.uch 0p<I ...... u.d ,omp!ounl uW "Iu;ninl oI"il w.U. intI.din
                                 .. &r ..n... bcIIl~....

                     lO               ,. 00 ... Opd .......: Wi!h"", !h. _ _ , .r .U ,.,d ... Open ... ","U _ uodcovil. "'T dnllr ,.ojrn •
                    11          toriquirrtnupatdilUl.in_oI 'I1!oDty-(lye !hgusa.nd                                                        . DoIlut.\I-15.
                     31          Dnpt in C'IICIlImioo willi. -.II. do, hillIn, • ...... ~inl. d_inl. compl,';n,. _loIIdl. to ,1>JW"1 ~,,'
                    2)          pttwic:u.ll, IWu.orlud ~J' 01 ~I &0 tl\b -r"""''''I: prG'f'i4.d. h.,~. tNl. lfI aM 01 •• ,\o&iott, lIt •• n.
                    14          1fII~11U'J. ';hrthet oJ llt, ........ Gl4'aHlt11'I, "uun. OptnIOf' rru, lu' web SI'PI u-.d lat\lf au.c.h •• ,..,..".. As 1ft Itt.
                    2)          '0 do.! 001011110 ....... I-r 10 taI'1'1""41i1. anhlOPMl ~U\ 0,..,1101. U P.....p~, II pouiblr. sinD "1"'\1'" ....                               .J
                    l~          ponies. UOptt....       "'I"'''III luthoril7 101 npct'odi,urt\AfElI.. iu own .... Opo", .. cIWI lu,ow. lOy ~....o,
                    17          '" tni.....,;""~J Ihcrtollol          an, .n,l.   p<ojrn<GI,inl i; ni:....r TWenty-Five Thousand
                                                                                                                                                                                   i       "
                    IS
                    19
                                o.;u.nu          25, 000.00                )~~·,.t     ' . .) .......   fIII.'..     I. ,,, ...   4'   II' f     *.     ~h.                        ,
                    }()
                   1I
                   12                  R",,.,,. ",.,·In w,U po_a IIId minimum ,.,~u "hleh ""I br  ..                      ..,.,i,"
                                                                                                                            ul\dct Ill. ,..",••1 an,,,.,,
                   H           pury Of ptt1i.a ..,hO lu~i«* JUdt ,. . tD thb ,..,""''''. 1.1", or Ihftt tJoptt\",_ '" thl ,,1'1\1 ,..,. DI f1'I«I putit
                    )4          u!'ou,rd iftJ....... In 011 ....... Iaot 10 oil;' 'I'''''''''••odI pOI';"      m.,
                                                                                                              dalln ....... ~ IUdI "",In II m.~. "II
\
j                   l)          blh.oII 01 aU .",h pania. Any      pu.,   m" '''Iua .... 4 JII,u br ""tI,l'" '0         "010,.
                                                                                                                        ,r<tp<I nldcnc. 01 tlllllCb               P""
                   J6          hitu •• 1~.maiI. proptf Pl7mcm 'Of an, fl1UaJ • .hut'" ... UPlY"'",' 01 miftjl1\um 'OY'h, weu,h minu.r Of IIfttl

                   ,.
                   17          rftC'tII It rC'q\llrtd-co ,.,nanut !.hI InN in lotet. InJ lou .hkh ,.,ulu Item .uch f\OI'I'paJ"loC",1h&J1 hi """Id acel _
                               .iIlOnJ tI Atdclo IV.B.I. .
                   '9              Opon.or oILoIJ IIOCiIJ N... 'O""'... "'Ill. Ifnidp"'" ....pl.".... tI • oII.,-In I " w.o, or ,h. ""'ninl;" or
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                   41          01, """.MII.. ·"""- II ' -           n.,
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                  4,0'         cVN/Nh~tttl pOor to a..a.llD. ~ JdiOft.lIul Allum... no Uabilily iOl hihilllO do tQ" In .h. "tnl ~ hlluff by I
                               ~..()p.n\Or."""c.r Plr ...... fMU'lbulrd h .... 'o b, NO!){}p.tUOIlor 1.i1ufllO nuk. ri'",.I)' plJmttni DI11'II,
          .1      ~            WlI '" bonw "",,dy II)' 1M """" ""no u~lIrt III. pr .. i.io", oJ N,klt IV.B.~.
                  i' .                                                                                                                                                            '.
                  ~            r.       TUftl
                  .7                                                                                                                                                         :.        }

                  41                Be",...", wi'" 1M' fin' a.Io1Idsr ,OIl J .., oil •• lIrni .. 0/1 .. ktttol. ~\I>I WJI .tn<Ie lor ad ••ior...
                  4'
                  70
                              I.b\o<t " INs 'I'''''''''' whJd> b, Lo ..       ""'.Id
                                                                                lot ''''Mod I., ••,h "'''. 1114 i. th.o po; III """ w .........
                              brc..... dalinq... L Pr!« ,.........diciert obll, "'h 1'1 ..0".." ... "'til l.tnUh 0,..,..., W ......""" u .. boulIe
                  )1"         bt 1ini'r4 '., IGrd~ ... ...m&n. "Jd~..... ~ p.,..,"a) 011 lu>tt ..d oil lAd ,IS in....... ~D
                              Opor_. U 1Io • .-w .ol.,,;on 01"" l.uchol4 ...... iI 'N"'''! bl ,...... oIla,1>oiI>j •• b)oct ... ouDWldlto.
                  "
                  ))           r\&'1 ,.,.leks Of pr<>dlKlloroptp'''.... III"nI.CIlo1I ... d • .Iet ........ , .... w.. ol.rrJ..... ....u "1'''''' "" ~
                              ....... 01 .. <hl.......ld ••tIL•• tM 0,...-"., ohIII "/oil lII. ch"I' .0 lU,k 0 _ OC 0...-0 .. U so ,r/Ita 011.
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                  ))          1ioxI. UIM.d      .aloe"" w"  II. bun! in .h.lo .. iII pllt up"" ICPII'" ,,1 ..ric<I. 01 no:h pony',                 _kln,In,,,....
                  16          an,oIIioI, \0 ,I" conuory h" .... dill"" •• 01>. loin. """"n' 011111 ba mo4l tnd pol4'~ tI>t ~ "'"'" Ia to
                  ''S1
                  '9
                              110.  m_
                              .11•• lin.",," b, toch p",,', ....~lnl in ....... Op.n1Ot aJun 1>11 oil. oar.. pon;. IOc d>tIt ~ ... oIwct
                                            p,....;d"!1n hhibis "C".

                 60                U Oprrll" <on.idon "" ... ....,.;,.,.. imp"'l'<".                   Opct".,
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                 61           prltCriW ~, I'w. uid .,00I<\I11 do, pnI'n••• I floW dcIrm\inuion •• nlra .U ponjn 'ft" .' ••buM\orIlh, plO<.
                 bl           min.cian. DY-rin.lht Jll"OI1'loC1 Dr idmltLi,,,.u,". OJ judicial pRJ(ttdil'lJ1. Opel'llOf' INJ .1«1 to            ,.7.
                                                                                                                                        un6tr "Olftl, '.                    ~,
                 61           inUit" and p.rftlh,. \Vh.m IftT wch pro,",..! .ba.l.tn.nIl ,h,U 1\1 .... bt-fft finally .tntt1l\iMd. Oprrtlor IJuU PlY I
                 64           caUl'll: lO.«.hlt wlt,h any In'~t Lnd pC'1"h~ Kcrurd.1.nod the IGlll C'Oll wU thrn be ~ 'I'Vi .. lb. Vt.rIMl ••
                 6)           CI'O.~     in Ultibi, ··C·.
                 66
                 67                £.Icl!. piny thllJ ply 01 UUN.O be p.id: .U p1oduCli4n. " .. ",Ince. ",lse .• uhrtif', uuI ou,tt IUft impow'
                 68           .ht produCljOl\ ot haMlin a of ,uch pUll', ,lufe 01 oil .ndlO:' JU prcdurcd undrf th. Irf1"IU b( \his Ilr1'CTJ'ltft'
                 69
                 70




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                                   ~.A.P.L. F O _ IO~El FORM OPERATING ACREEMEN/.~_
                                                                                                         AR11CLEVII
                                                                                                          _tlnlMd



                                         Al .U Ulftd .hil, OJ'(tIUOIII Irr tOl'd"nrd hf't'tUncJd. OptuiOf ~'IIn campI) "'~dr d1. wor\mtft"                               ('01

                                  lbt   pt,. "~'" lJo., opcrl1icN II't' bel", I:oDd"c"d: Pfollwkd. ho"'f"I'lt. \till DPctUOI "'11 k. "II-in,u", 10' U,'Dil
                                  pCnulion b .... '" wMch ~t'I1l dI, onl, "'".'It th ... h.U w m.d. IG ));, )oint 'CCflUnt .h.aU bt u pco.,~rd iJ\ [Qi'Dil , •
                                  •Iso  (I".,
                                           01 p'6... id. itt,,,uann for me hmcfi' of the toint K'C'GUft~ 01 \.h, p"lid as.ev.rltlcd i",U)I"bil "0·' .ltt.,Jw.J
                                  htrtol. Or><rn", ,h,II 't1I••• ,U ...        1t"••"enl"'O In w.,\ on or lor lb. (onlt'" /1111 '0 comply wi,h tk. work.
                         I        b .. el the lUll' .. hut t,h, opn"UOI\I ." bcis1IIDnduatd &nd 10 ,..,un'.In lUt'h IOthtt In,u,,,,,,                     IJ   Opl'lucr nil)
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                       10             1n thl tVml JUIOf'rW)b\1. public UlbttilJ Inlur~ft,(. is lprcilird ill ~l.d E.Uibil "0". or IlIbMqurnll,. r.cri"a
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                    !b        ,..Ioi.';t ...... iul. ,'" ;',... J. 11'1,·.......... •• ".1 ... ...1~ ....... ; . J J"I'" h t.. ....
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                    IB        obli, ......."',,"',..       1(. . .   "',."1 not lIrtr..ol... ~""• ..\011 "'pt<I,. rI.. In,.,.., ...""" or 1....0 aM till •
                    !9        ,u'rlbu"blt "'" .... ",d the wlI""" 'urf aluII bay, .. funll .. In""",'. th, .wand., •....., pi ....... ..,.1"

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                              ~J' wi'rnOl D' 1rucr lh.,tsJas"'''' MJ" ••• ~aJu.'01 the lin.,', in"":ll '" lIty·•• Us "'cI .... uipclLC'll.nrt1:.u~ \0
                              td '''''.,. 1M valv, 01 allIN''';'' oluU ... dn..mlntd In ICCOIdWt "'tlt oil, p~bIoftJ 0( Eohlbl. "e" ..... ~

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                   "J)
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                              "'.'Iin·, &IId.th, tirimll..rnol 0( ,luU"" and ,b&lldanlll." U th. wi",""", or                      1nM"
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                              sluU be ,Iwod by,"", pull .. Ito oil, p<cpanI .... oil" tho I., .... , 01 ndr ...... I. tlo, IOU' I....... , 01 aU IUCIr I
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                              oItJU h.... do, r1.h,lor. porIod 01 !hi", 1)0) 011)'11011 •• ;.,    .hll,h ,,,,tip,
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                   4'                                                                                                    b,
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                   46        portion". slurn 01 til. 1C~.;';tion C61I,llo"tn 101/111 pili oI,uch InM within til. Conlt,n AI... ..tIic~ rhal/ to
                   47        u.!'J"a Mid II WI U'"' \y rh, ,....;.. in til, COIIII'" ... , ...
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                   49                                                                               to
                                  u ""'. bUI I... O}O'" all. '" tho portia tim ,artJcip'" '" th, po,ch ... 01 •                             ,,,,,..01
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                   ~         who tltn_to "'1~riPllt dun;,.. in I ,.\il;l burd upoI\ U,I ntnionst.ip 0' 1hC"it rtsp«1i'" pt1'C1'ft1I•• 01 P'-"Lripadon
                  H          IG \ht fUfill'" Dr th.         P"'f'"".'"
                                                                01 ptn.lriP1'ioft in \h, Conwact A, .. or &II pinJ ... pu,~,                     ...".
                                                                                                                                     in th. purdw,,'1
                  H          An., ,,,, •••1 lux ill .,hi<:h ku Uun aU p.,un ,1t<1 10 p.anJdpllt wn nOi be' J,u~)tn 10 tbi.l .,rH't'fl"'l.
                  Il
                  l4              Ea.clt pin} .ho p."icipala lD \h,                  p~l(haM .,1 • ,"" ....11 J~ ,"'aU    be ,i'fal   1ft   wirnrnml 01 iu prlD9O"ir:
                             bl ,h. "quirin, p,ny.
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                  17              Thf prowi.lon. ollhi.. Article Ih.U Ipply II) r~""lllwa ..hrth" IJI..., .,,-Iot th, Iftur, hllrml CO"rft'"
                  I.         Of                            II1't or 1111"1.,81 .hlt"n, Any r." ..... \tUlII"n bd'Ott "', IJpilldon oj 111 ~
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                  19                                      .i,
                             (onlr,n.o lor ..","' !61 rnonrlo,               ai,,,
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                  '"bI       C. Aun,. or Cllh                   Con~b\nioftll
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                  (,1               \\'hilf ~hi, I,Himrru h il'l rOret, if an:-- p;m::r conlnen lor. conuiln.llion 01 nih IO .. .,da .h. dril\inl (II
                  <JI        oprruton ~ Ih, COI'II,,(I A, ....uch ,onlllbUlio,. ,hall \If p,id 10 ,he piny ..        no (Cndu(U'd lh. Ibiniftl CI olliff'                           . ~
                  M          Irphtd b, II If    ,!.ft,.Iht COIII"i' weh drillin. nr alhfl Opc1l1iM. II \h. I[onlribulion 'b'f 1ft Ih' ~ONn 01 Krn't. ,tit p                     "
                  ~O         II.hullOf\ II m.ldt ,1....U pfomplly ""drl ,n uli.nmtnl ~llh' .a.crU,C' .... i,haul .... "anI1 ~ ,.1I'C. 10 Iht O;il\~1 Par




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                                      A-"_PJ.. fOrtMy . O Q FOI!M OPERATING AGIlUMENT - 196
                                                                                                      AR'I1CLEvm
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                                       klI onm., _JhU..I oIl. _, 0/ oItillln,lII ....11. ~'", ..,. shoII~. ~ .. c.",tn<I ~...d ... III ... .
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                                      iI  tN,obuiD 1ft APP"" a any weD Dr anJ Dahct cpduicn an thr'eonulC'I Aln. Th' .bo .. t,,.,,.iJiOt"l Jh&H W6"",
                                      aorul rtJ1lta 10 t:aI'n ~ ouDih Ihl' CC'ftt:rWa Iva _hWl I/t '" JUPP'O'I                         a' , ••
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                                            U III, ,...., ..,.,U><II   I«   any   '.cuide,,';... !!J0n". cfiuoooju"" 01 ..           d- purt-. a1w. ollUbtwlCCI plaI"",d!
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                       II              .rot \he putpoM J 1IUln.....1n, oWIo""i., ol ."I>mhlp in III. 011 and IU l.uchold            co",td b, 1111      1n,,,,,U
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                      ]4          ....pp.... W p.a, ""h p..." oblti 0I1hI join. aporun, III;' •• dcsJ                                    .."b ,.._ II~.";' C
                      n           "",'. i,ft...... wimin dll k"OS't (I' 'hi oPrtttl                      'l'ftI11rnl: hotrrn'tf'. all JI.ICh 1'O'OWIWn~ hi...
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                      n           in", 1M IIf(lIIt .~                       ··       .. u   'Of Ill. dbposillon or IIIc1t ~ !hu.. oJ oJ,. oil &nO , .. "aI,!,," I,
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                                  E. W.I .....      o' 1tl,IIu •• p."""""                                                                                                               I. :
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                  44           . ""- or I -                  "",,..•• "", ••iu.i .... 'onsdi6sllon. Of ..11 oJ .u 0' ",bol ..";'", III 0Ik> . . - •• lIuWi;,

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          A.AP1... FORM 610 - MODEL FORM OPERATING AGREEMENT - 1982

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           1                                                               CLAlMSAN1> LAWSUITS

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                         A.A.P.L FORM 61~
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                                                            .ODEL fORM OPERATING AGREEMENT· 19S]
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                                                                                 ARTICLE XIV.
                                                                     COMPLIANCE WITH UWS ...!'Io P.EGULATlOI'IS



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              l8                                                          OTHER PI\OVJ~IONS ..
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              11                                                                                                                                                      ;.".;
              4J       A. SUbsequently Created Imerem. Notwithstanding Ihe provisions oC tlth llBJ'
              44       the eOntrl!)" if .any party hereto shall SUbsequent 10 Ihe eCC~Clive dale of this I  ,.
              4~       creale an overriding royalty, production payment, nel proceeds interest, or otl . I.
              46       illterest or Ie such an inler!?t was created prior 10. the effective- date of this I
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                       but was nell her recorded in the counry/parish in which' tbe Contract Arca iJ II
              49       disclosed in writing to aU parties hereto at the time DC exeeutlon hereof (any su
              '0       shaD herearter be referred to a! a "Subsequently Created UttercS!"). such Su
              11       Created Interest shall be specifically subject 10 al! of Ihe lemu and provlJit
              )l       Agreement, III follows:
              H
              '4
                                . (1)         If non-coment operations are conducted pursuant to any provls
              "
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                                 agreement, and Ihe party conducting such operBtioru becomes entitled
                                 Ihe production allributable to Ihe interest oul of which the SUbsequent
                                                                                                                                                             i
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                                 lnlerest is derived, such panyshall receive same" tree and clcal
                                 Subsequently Created .Inlerest. The pany creating ssme shall bear a
                                                                                                                                                             !.
             ~I
                                 ~uch Subsequently Created Interesu and shall indemnify and hold the 01:
             &2                  hereto free' and harmless (rOID any and all liabiliry resulting there!rom.
             'bJ
             C>4                 (2)     \{ the owner of the uuerest for which a Subsequently Created
             &l
             !>6
                                 derived fails to pay, when due, il$ share o( expenses ch!Tgeable· hereund,
             &J                  granted 'he olher parties herelo under the provisions of Article VItB. 01
             68                  appropriate mte !lnlUltS shall cover and affect Ihe Subsequently Creab
             &?                  ~nd 'he rights of Ihe panics shall be Ihe same a1 if Ihe Subsequenl
             70                  Interes! had not licen ·created.
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                                 (3)     If the owner of Ihe interest from width a Subsequenlly Cre:lled
                                 d~rived   (i) elects 10 abandon a well under Ihe provisions of Artiele VI.
                                 (iI) elect! 10 surrender II. lease (or ponion Ihereof) under Ihe provbions
                                 VIII.A. hereor. (Iii) elecu nol 10 pay rentals amlbulable 10 ils inleresl In
                                 and thereby Is required 10 assign tbe lease or Ihat portion or inlereSI I
                                 which il elects not 10 pay renlals to those parties paying such rental. or
                                 nOI 10 participale in an Obligalory Opera lion '8.\ defined in Article :
                                 anignmenl resulling from such eleclion shall be Cree and clear of the Su
                                 Created Interest.
                                                                                                                       ....   ....
                                 (4)   The owner creatmg suc" inlcresl shall Indemnify and hold the 011
                                 hereto hamden from any claim or cause of action by Ihe own.
                                 Subsequently crealed ·lntere~t.

                          B.     Mylljolc Proposals. 11 is specifically provided Ih;it· no no~ice shall he s:
                         Article VI hcreof which proposes Ihe dnlling oC more than one well. FL
                         provisions of Article Vl, insofar as same penains 10 notification by a Pliny 01
                         10 drill a well. shall be s"spend~d (or so long 8.\ (1) a prior nOllee bas been g
                         is SItU in force and effect and the periDd of time during wblch thc well re,al
                         may be 'commeneed has not expired, or (2) a well is then being drilled bereul
                         paragraph sha~ nol apply under Ihose circumstances where the well to whit:
                         directed Is a well whicb Is required under the terms o( a lelUe or conlract or on
                         10 maintain a lease or portion thereof in (orce.                    .

                           C.      Qblilla!orY QpeTlllion~.      Notwllhstandlnll ·the olher prOvisions h'
                           particularlr Arlicle VI, If.lhe proposed operation is an Obllgalory Operation, I
                           participating in such operllotion shall assign to Ihe parties p1IrtlclpaUnllln the 01
                          of its interest iit the lelles. Dr portion Ihereot, and 10 the formations and dept
                           Ihereby which. 'would be ·1011 or not earned If such operallon Is not concluc
     )                    assignment shall be due upon the commencement of operations (or such well B
                          Cree and clear oC any (i) mortgases, liens or olher similar encumbrances plao
                          by I·he non-consenting pal1)' or resulting [rom Iho nonoCOnsenting pal1y', own
                        . operations subsequent 10 Ihe. date 'of this Agreement and (II) Subsequent
                          Inleresls, but otherwise without warranty of titli:, either express or Implied.
                          other operation commenced within six (6) months prior to the dale the leas,
                          (or ponions thereof) would expire In Ihe absence o(such operation and a WI
                          operation which must be drilled or condu~ted 10 "earn" or malmsln a lease
                          riShU, shall constitute an ·Obllsalory Operation~. The proviSions of Article'
                          however, conlinue to apply 10 any remaining portion or the Cimtnel )
                          contnoules to production [rom the non-consc:nllng operations (I.e.. wilhln
                          drilling, production or proration unit). The leasehold inlc;restJ I1Sslgned to the
                          parties. by the non-consenljng parties shall no longer be subject to this
                          Agreement but shan be subject to an operating agreement Identleal 10 this
                          changed only to renee\ the names and Inlerests oC Ihe to~enting parties.

                        D.     CpnOklinll EJec!jQDt, . Notwilhslanding any1hing herein 10 Ihe co                   .
                                                                                                                   I ..
                                                                                                                         '.


                        (ol!owln" provisiom o( Ihis paragraph shall lalce precedence over any ollic,
                        which may be in cannicl therewilh. It is agreed that· when a well drilled unde
                        of Ibis Agreement by all panies, or by one or more, but less than 1I1~ pa
                        Article VI shall have been drilled to the conlract depth and thc parties part
                        Ihe well cannot mutually agree upon Ihe sequence and timing oC (unher
                        regarding said well, Ihe (allowing eleclion shall control In Ihe order c
                        hcrclnalter.

                                (I)     An election 10 aLlempl to complete the well 31 ehher the objeclf           !'I
                                        objc:cllon formation;
                                                                                                                   i
)                               (2)     An elwion     10   plug back and "Ilempl 10 complele said well;
-'
                                (J)    An elcctio!lto deepen said well; and

                                (4)    An eleclion to sidetrack Ihe well.
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                                                                                   !e
                     Notwithstanding anythlng provided in this Article, any party desirillg to perform
    )                lOgging, coring or other tesling (other than logging, coring and testing that
                     pcrfonned 'r1y a pT\ldent -operator beCore Bttemptinil a completion) may do so
                     COSI, risk and expense: In such event, the party or· parties undertaldng such
                     tesllng shall be responsible (or any damage to the hole or. resclYolr resulting          .;.;,.. ::
                    -testing. The·panies not panicipating in ruch additionllltcsUng shall not be enlil
                    lOllS and other data resulting !rom such lests.

                      D.     .AdYRncc Payment, If a proposal ~ made pursuant hereto ror tll
                      sidetracking, deepeninio completing or recompleting or any well where the estirT
                      exceed S25,OOO, ~ny"Pa.ny electing to participate In the: proposed operation 'hal.
                      days after request by Operator (or 72 hours, exclusive of Sliturday. Sunday
                      hOlidays after such requesl If a rig capable or performing such opctationsiJ c
                      at Ihe lime DC such request) either (1) advance iu portion ollhe·cstlmated co
                      operation, or (2) furnish Operator a leiter ol credit [rom a Bank acceplable te
                     containing terms reasonably acceplable 10· Operator obllgadna the Bank to
                     Pllrty'S portion oC -the estimated costs of such operation, or (3) make ot                . ,..
                   - arrangements ,atlsfaclory 10 Operator lor the payment oC its portion ol the
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           . 'Corpor:lllon,   D1   Seller, and Chc~on US.A.. 1m:. IS Buyer. dated January 5, 19&'\.

             Unrecorded Oil Soles Contne! by Bnd betINecn Sol Kopel. an IndiYiduD~ DS Seller.
             Chevron U.S.A., Inc., is Buyer; dated ...... ui\lJI I, 1969.




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                              Exhibit B
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                                             · .... -MODIFICATION AGREEMENT



        RECITALS

        A.        On or about May 1,2007, Don White identified as the CEO of Angus Petroleum

                  Company ("Angus") and Bob Grayson identified as Owner of BG Operations (nBG")

                  executed a document entitled Independent Contractor Agreement ("the Agreement").

                  A true copy thereof is attached hereto as Exhibit "1" and incorporated herein

                  by reference.

        B.        The Agreement-provides in part, that once the order of abandonment obtained by the

                  State of California Division of Oil, Gas and Geothermal Resources ("DOGGER")

                  respecting the Springfield Unit Facility is lifted or Angus becomes a debtor-in-possession

                  in a Chapter II case, BG will advance all monies required to return the Springfield Unit

                  Facility ("the Facility") to production to the extent Angus is unable to do so.

        c.        In consideration ofthe undertakings set forth in Recital B above, BG is to be reimbursed

                  its advances from what remains after Angus pays its iiabiiities and nonnal operating

                  expenses and BG is to receive 25% of the net profit received from the sale of

                  hydrocarbons by Angus or from the sale of Angus' assets or its stock to a third party.·

        D.        Angus is currently engaged in various matters concerning XTO Offshore, Inc. which had

                  owned an interest in the Facility and with Elysium West, LLC and E&B Natural

                  Resources Management Corporation as purchaser and indemnitor ofXTO Offshore

                  respecting the Facility ("the Matters"}.



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    ""--E-.-Thus far; BO has claimed fo have advanced nofless than $625,000.00 under paragraph

                   3A of the Agreement, an amount far in excess of that contemplated when the Agreement

                   was executed, but is unwilling to vohmtarily make additional advances without certain

                   modifications and clarifications to the Agreement and l'atification by the sole shareholder

                   of Angus, James J. Joseph, in his capacity as Trustee of the estate of South Coast Oil

                   Corporation in Case No. 08:07-12994-TApending in the United States Bankruptcy

                   Court, Central District of California ("SCOC case").

         F.        Angus is at a critical juncture in the Matters and with operation of the Facility and

                 " requires additional funds to pay ongoing professional fees and other expenses to ensure
                         ..
                   that pel'sonne1 are available to work toward the successful outcome of the Matters for

                   Angus; and to pay expenses to preserve the Facility, including unpaid real property taxes.
)
                   Without additional funding, the prospects for successful outcomes dim considerably.

         E:xE~UTQRY mQYISIONS

         1.        BG has advanced additional funds to Angus, or at its direction, in accordance with the

                   Agreement, to pay proper and legitimate expenses, including professional fees, to assist

                   Angus in attempting to obtain a favorable outcome of the Matters and to protect and

                   preserve the Facility, including funding a paymentplari. for unpaid teal property taxes.

         2.        Upon approval by the Trustee, Angus agrees that the advances mentioned in Recital E

                   above and advances made prior to the Facility returning to production on June _ , 2009

                   (the 'IProduction Date") shall bear interest at the rate of 10% per annmn simple interest,

                   without compounding, from the date made and that the same shall not be deemed not

                   owing even though made at a time when a DOGGER order of abandonment was in effeot
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)                and at a time when Angus was not a.debtor in .possession in a Chapter 11 case.

                 Reimbursement of advances made prior to the Production Date shall be repaid in

                 aCcordance· with paragraph 6 of the Agreement, unless otherwise set forth herein.

       3.        Should Angus obtain money or other tangible assets from XTO, its successors or from

                 DOGGER (other than regulatory pennits or approvals) then BG shall be entitled to

                 repayment of the advances referenced in paragraph 2 above upon Angus' receipt of such

                 monies or liquidation by Angus of non-monetary assets so obtained, subject to payment

                 of prior changes or liens created by agreement or state law in favor of Angus' attorneys

                 and further subject to ~he condition that there shall be no payment or liquidation of any

                 non-monetary assets recovered if the same would have a material adverse effect upon

                 Angus' operations or business affairs.
)
       4.        From and after the Production Date, DO shall continue to advance all expenses required

                 for the operations of the Facility, including but not limited to payment of employee

                 expenses, p~per expenses, mechanic expenses, parts and materials, regulatory

                 compliance expenses, legal fees and other necessary expenses to the extent that Angus

                 Petroleum Corporation does not have available working capital.

       5.        Should BG acquire an interest in the Facility from a third party (the "Acquisition

                 Interest") then notwithstanding anything to the contrary in the Agreement, or herein,

                 Angus and BG shall take such actions and execute such agreements so that Angus shall

                 own no less than a 50% interest in the Facility and the petroleum producing assets of the

                 Facility, including extant and future mineral leases, and the provisions of Recital C above.

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)               .granting BG 25% ofthe net profit received from the sale of hydrocarbons by Angus or

                from the sale of Angus' assets or its stock to a third party shall be inoperable.

      6.        If paragl'aph 5 becomes operable, DO agrees it will convey the Acquisition Interest to a

                purchaser and at a price of Angus' choosing or to Angus, if the Purchaser desires only to

                purchase the stock of Angus, in which event, BG shall be entitled to that percentage the

                proceeds of such sale that corresponds with the Acquisition Interest, with any monies

                owing under paragraph 2 hereof to be repaid from proceeds of sate.

      7.        Any repayment by Angus of funds advanced under this agreement shall only be for those

                expenses and services~ including professional fees, that are reasonable, necessary and

                legitimate considering the nature, extent and value of such services and expenses to

                Angus.
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      8.        Iran action or actions (which may include a cross-complaint) are initiated in the future by

                Angus against XTO, its successors, and/or DOGGER with respect to matters relating to

                the Facility. then Angus shaH use its best efforts to agree with the Law Officers of

                Douglas Mahaffey that said Firm represent Angus on a mutually acceptable contingency

                fee basis in such future actions.

      9.        If and only ifthe provisions of paragraph 5 and 6 herein do not become operati ve, the

                25% interest in proceeds of sale which BG is entitled to obtain under RECITAL C of the

                Agreement upon sale of the stock of Angus or its asset~ shall not be applied to such

                portion of the proceeds received which is equal to the Fair Market Value of the real estate

                interests included in the sale, said value to be determined as of Mny ], 2007, as though

)               the Facility were not to be used to produce hydrocarbons and therefore subject to the



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0)            __ISi!lS.onf!.ble cost of l,'(}medi~Jion with credit toward_ such costs of the value of equipment

                 and fixtures (the "Real Estate Interest"). As an illustration, if the total value were $14

                 million and the reasonable cost of remediation was $3 million and the salvage value of

                 the equipment and fixtures was $500,000.00, then the value of the Real Estate Interest

                 -would be $10.5 million.

       10._Calculation of Fair Market Value. For purposes of this Agreement, the "Fair Market

                 Value" of the Real Estate Interest will be determined as follows: the parties (or their

                 successors, heirs, or representatives) will negotiate in good faith for five (5) business days

                 (the "Negotiation Period") to reach consensus on the fair market value of the Real Estate

                 Interest, subject to approval by the Bankruptcy Court, If the parties are unable to agree on

                 Ii price within this five (5) business day period, then each party to this agreement will
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                 appoint one appraiser within twenty (20) days following the end of the Negotiation

                 Period. The two appraisers will then each determine the fair market value of the Real

                 Estate Interest. The appraisers must submit their written appraisals to both parties within

                 Thirty (30) days after their appointment. Each party must pay for the services of the

                 appraiser selected by it, plus one half of the fee charged by the third appraiser, if

                  applicable, as described below, The "Fair Market Value" will be determined as follows

                 (viswawvis the appraisers), and will be binding on all ofthe parties and not subject to

                 appeal:

                             A.         If one party fails to timely appoint an appraiser 01' one party's appraiser

                             fails to timely submit his or her valuation in writing, then the valuation of the

                             single appraiser timely appointed Wld timely submitting a valuation in writing will

                             be deemed the "Fair Market Value" of the Real Estate Interest.
       J7239?v1 • RBDLlNB OF 37()247 & 372287 711109 I (210~-OOI6)   5
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)                           B.         If both parties timely appoint an. appraiser and the appraisers timely submit

                            their valuations in writing; and the difference between the valuations of the

                       . appraisers is ten percent (10%) 01' less, then the average of the two valuations will

                            be deemed the "Fair Market Value."

                            C.         If both parties timely appoint an appraiser and the appraisers timely submit

                            their valuations in writing, and the difference between the valuations of the

                            appraisers is more than ten percent (10%), then the two appraisers must, wi thin a

                            period often (10) business days after submitting their written valuations, agree on

                            and appoint a third appraiser. The third appraiser must, within thirty (30) days

                            after his or her appointment, determine the fair market value of the Real Estate

                            Interest and submit his or her valuation report in writing to all the parties. The
)
                            parties will use 111e average of the two appraisals that have the least difference in

                            value (discarding the third) as the "Fair Market Value."

       11.      The stock of Angus is wholly owned by the South Coast Oil Corporation bankruptcy

                estate and Angus and BG therefore agree that the Bankruptcy Court in the SCOC case

                shall have sole and exclusive jurisdiction to determine any dispute under the Agreement

                01' this   modification.

       J2 .     The effectiveness of this modification is conditional upon its approval by the Bankruptcy

                COUlt in the SCOC case.




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)
    IJ.       Except as mocUfied hereby, tlJe tenT1S ofilie Agreement [em
    DATBD: --..--"'1>:.--4-IofC,____          q_ _
                                  --.:::O:.....t-                  By:
                                                                      ~D~co~n~~hl~·~~,~~~~~----

                                                                         President of Angus Petroleum Corporation




    DATED:          1-- .61 - (2.9                                 so OPBRAT[ONS, LLC

                                                                   Br.~1
                                                                           ~~   .. :':.' ... :, ...... .
                                                                     . d.' .. ~'-?>&J~
                                                                      .. BOB OJtAYSON,      .
                                                                         Owner   .




)
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                              Exhibit C
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                                                          JOI:'\T I~TEREST AGRU:'HC'IT

                This Joil11 lntefcst Agretel11ent (")IA "). dated D~'cember 22, 20 l {) ~e(" ii}!"th and
       ~:onfinm    (he ag.n::ement among the signatories hereto regarqing exchange of inf;.-.rmatinll
       and do.:umetlls and j()inl ~:omm!lnkaliom and discussions 111 Jefense of the Order f~)r
       Removal, lVlitigation or Prevention of aSubstamial Threat                      or
                                                                           Oil Discharge No. OPA
       311·09·2010.iXtOl ('"the Order for Removal" or "the cPA C1aim"\. This )IA 15 by and
       between Angus Petroleum Coqx)ration !,".,2,.ngus") and HG Operation~. I J.C: GraSO!1
       S~r\'i;:es_ Inc. andBoh Graysoll (coUectiveW'BG") (Angus and RG are: ~ndh·jdunlly (ho:
       "Pany" 'and collectively the ·'Parties").

                \\~HER'E·.-\S. t)11 r"Iay ~, 20()7 . BG entered· into              ~n agr¢l.~nh~~[)l \vith J"\.ngus        t(l

       npCl'<lK' the facility In Ihmtingtol1 Beac-h.

                 \-VHEIU-::AS, Oil Janumy lOin, the CSEPA issued the Order for Removal l\nd~r
       [ht: Federal Cbm W.ilCr Act and under that order Angus is alleged to he liable as ,he
       O',Vl1t'r the on-short\ nlcility localed at 1809 .Dde\vare Street. Iluntington Beach.
       CaHfornia Cthe Facility"')' where the spin occuned and that Angu!> may be li.abk as a
       rcspnT1.sjblc p~ltty t()'r the Tcsllitjng rcn1o\"BJ cos-t~ 2nd ·dft.tn~lg.es.

                \VHEREAS, in the EPA Claim, /\)1g.lIS Petroleum is rc[Cn'cd                                   10    as (he
       "Respondent," but the document makes clear that it "applies and is                                    bindit~g Oil
       Re:spolldent.· Respondent's directors, officers. employees, (HlcntS. tnlS!<'::CS.                      Slll~(:es:;;0r~.,
       par·enl company, "ul)sidiarles and 'Issi~ns.":

               WIiREAS. \l\lLUFEY &. ASSOCIATES, A Prote;;sinnal C'lrporatinl'l. 4 Siln
       Joaquin Plaza, Suite 320, Newport Beach, C:ali1ixnia 92660 and Douglas f\.-Iahan;.::y
       1\;O!k(:1ivdy "\lahaffcy") h~d ilnd has been ;-cprcs.el)ting both 8G and i\ngns, ill~'ludjn~
       dd(;nding ~lj(~ EPi\ ·;;-\;!im.

                 ",VHERFAS, on March 2.20 l O. t~K' EPA Claim                   \Y:1S tet)d(~r'cd ti) Th(~   Travtkrs<SL
       PalO I ('"T ravele!'s") on hehal f nf Angus and: BU.

              WHEREAS. Hun"IKkcI G,)odstcin & N'~IS(Jn PC' ("11G:\'"') waF. hired hy i\ngu~                                 TO
       be indcp(:ndcnt ('ollTlsd .and c(l\'t'ragt ~:ounsel on or abO<H July 22. 20: D.

                  \\'HFRr;.. '\s. on AUgHs, 2), 2(j 10, Tn:\'clers re~ponded 10 the demand ·,.\'il11 ~i                           .

       ,·o\'twg.e POSiliOrr. agreeing t[) -:lcicnd Angus under a re,;ervation ofrighi'<.
                   \VHEREAS. Travd(:rs has no! ae:tc(:d to Novidc C(JVCt'auc II) ;\twu~ fDr cl-::atllln
       DUne oil spill and "ira\'ck:r~ takes Ih.., po~ilioTl in its rcs::rvutioTl (~'righh l~net 1h3t .'-\ngll~
       i:-:. not t'~1tiHed tu co-;:erage [()[ .~~n?.. '~PllHulil)n C·k~\!;n~up (\)$~S.~· -                -




          ~,,:;_: rp.A. rb'.J1~;J i11 :·l~ -4   L::~)d   1 !.
        ~ E?;\ C~~i!n> 41"; ;~; : ~~:.
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            WHEREAS, BG and Angus agree that the lntention \vhen the policy '.vas·
     purchased ',vas that Angus have coverage for "Polllltion Ck:an-up Costs_"

              WHEREAS, on November 10,2010, the United Slales OXiS( G(lard sent Angus a
     letier ("the CoastCiuard Letter") whkh cc\uims that as Angtis is liable under the Federal
     Clean '.Vater Act as part oftllc EPA Claim.'

               WHEREAS, the Coast Guard Letter lists amounts incurred to respond                                 (0   the spill
      in the aillount of$1,567.481.74.

            \VHEREAS. Angus tendered the Coast Ciu;ud Lette, to Travelers on l\ovember
      22,2010.

             'NHEREAS, Angus and BG believe that Angm; c'md BG should continue to be
      defended by Mahaffey in the maleTS in which Mahuffey currently represents Angus
      and/or BG, including but not limited to dettmse of the EPA Claim and rdated matters and
      procecdings_

                WHEREAS, The Parties have exchanged, and plan in the future to exchange, oral
      and written infonnation !l)f purposes of the detense of the EPA Claim eJIA
      Information," ilS defined oekw.,).

                THEREfORE, the Panics agree as set forth below:

              I.     Angus and BG agree that they have il joint interest in, illfer alir;, working
      together 10 minimi7.cor eliminate exposure from the EPA Claim. Angus and BG also
      agree that they have a jo]nt interest in ensuring thai Travelers does its duty under the
      policy and defends and indemnifies both Angus and BG from the EPA Claim_

              2.     As used in rhis JIA, "JJA. Information" means the past and continued
      sharing of ('ertain documents, information. factuai materials, mental impressions,
      memoranda, communications with dients and other infonnation, whether oral or \'iritten.
      thaI \vould otherwiscbc sul~iect to the attomey-c!ient, attomey ...... ork product, or the joinl
      defense privilege doctrines. for purposes of this JIA, JIA Infonnatioll :;;hnll expressly
      indude all histOlical, operational or ttchnic.11 documents, infOlTIlation, fi.t~tuttl material, 01
      other information gen~raled by each Party that is not other-vise plivikgd.

              3.       When JIA lnfiJrmation is shared among the Parties, the Parllcs shall treat
      as privileged and confidential the faci that any such infom1ation ',vas sharc,d under this
      JIA. Dis·cJosure of JIA Il1fol1nation shall be limited to the Parties, their coul1$el
      employc.:;s <IT)d ag,ents of counsel, and (:Ol1sultams and experts subject 10 ,he flmher
      provi~ion& of this J1A.




        F?N ;Jum::er E 10903 is :h;;: ;;;;m~ !(;dcral cJ"irn nL'j:lb~r t,y the Ef',\ Claill: lind ID;; L.:SCG kt1t;r. Sc:,;' FP,\
       !.
       Cb:m_ ~. 13 ,,: 5~ USCG k!tCT dated A~ril ). 201 i) ai I; alid, USCG ;c:t·~r d"lcd :\·;y'/(:mb('r 15> 2(11 t; ,II 1.


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               4.     tdl discl(}~ures or.llA InflJrnultion among the I'anies shan no\ ,-~(m5tit~Il-'-' a
      \('aiver of any privilege fi'om disciosure. including. but not limited to. the attorn..:y-cliem
      privilege and the attoniey 'Nork product privilege.

                     Execution of this JIA constitutes th~ Parti{:~' mulllal agn;~~mcnt lhat ~my
                       5.
      ~xmsuhatjons. among Ille Pi~rtit's or their al1{)nK~ys, and any sharing of JIA Information.
      including. but not limited to, pooling {)f \vork produd or other confidential infommtion.
      are reasonably necessar:''' for the accomplishment of the purp(\$e fiJI which .. nomeys for
      the Parties have been consulted and retained. Any consultati0ns among the Parties and
      their cmm"d, and any sharing or ty,Joling ofv,,'ork product or other JIA information. are in
      reliance on the joinl interest pri . . ilege.~

                       6.           The cx..:culion of ihi$ JLA is the Panies' agreement thai tht" c\)t11enH of an
      JTA Infor·mation that is attorney-client privileged inf,1!1nation and:or attorney \york
      product shall be maintained ill strictest confidence and used only f(H pUll)oses of
       defending again~t the EPA Claim and related matters.

                '.       The Panies agree that ihis JIA ·,villnOl be used as cddence in any hearing.
       adion and proceeding ag.ainst any and ali of the Panies. excepl fi)[ imerpretaiiO[~ of the
       .IIA itself or '.vhcn necessary to prevent disclosure of.llA lnt\)fmatiml.

              S.      :\othing; in this JIA shall be constmed to affect the sepamte and
       independent rC~)I'esentatit)n (If the P.a11iesby respective counsel. 1:3ch attorney and/or law
       firm signing this J1A only represems clients as noted and does not. h~ virtue henXJf.
       represent all. pr any. other signa£(1rie:; Of their clients. Nothing herein alters Part!cs"
       independent respomihility fi.)f l~g3lfees and expenses in the ErA Claim.

                        9.           :\othing herein shaH limit                     Of   rcsir!ct any Pany's rights, irany-, to agse11 any
       claims against any other PaIlY.

                        10.          Angus and BG               <igr~~e    1hal j\,-!ahaffcy may continue to represent Ang.us and
       He; in all mallers in whicb \hhaiTey cllIT(:ntly represents Angus andior B(i, including bul.
       not limitc\.i to defense of the EPA Claim and each agree to w<live any conJlict of inlercs(
       lllat exist Of may 'Iris..' rdated to ivlahaO'ey's ~:nntinued representation of Angus and 'Of
       13(; in COlllltX~lion wilb any (If lilt m;H\cr:,> ji)r which \-fahaffey represents An¥u~ and or
       BG. induding but nOl1jlniltG 10 tt).;; D\-\ Claim.

                         11.        Eac·h Party to thi~ .H . A wai'\'e~ any claim it might have fi)r disquali ficf:tioll
       (1f counsel             for the other Pur1ies bas~d on access to Hlly JIA Inf<)J"!11a!!On.


           :':~~l~t_        .... , FI1H1n!:~L'i! r (1). of .··\r~l~:!Cl.J. s:S     r ,2-t!'   5"":="':;1   L   ~~.~, E. -: is!t!"1 (-'.1". 19f·~: ~   .: .. ;b:- V!irn c.cc~:~.:~
       ~·!r·;".   dcg..::", \";;h:.:-l1 ~s <~~l ::xt~nsi-:_":1 of t:-I~' ~HGr1~Y   ~·I~·~:7n. Frl~.. i~(~g~. kl:; b~2er . . iOt';g rcc~).g.n!l.cd          h:-,   :h~:::;   e::rc:..:.iC):
       !{.ii·~:I~~_~~~_~~:.. __~.uP!~I~ip.cJ·::..~~!J1~ :208 C'IL~·\p?:··<i 6~3. (,~'7-;SR 1.19~9:1 ("'TAl d~sck~l~urc 1n ':·~·l1rdcn..:'(' (~,~' ~~
       pr::nlcp:....t .::n~l):rKII:ic3ti~~1 is not a "~'-'ili~~"CT ofth-:; pri\-·ik:g.\.~ ··\'.+(:il ~Itdl dl~;d,:)sur..:: is r('as,C'(l1ably iY':'('cs~ry I~.':l
       !.hlo.' a';.:(""(~n!f'kshn1r.:::~ll ,:)f the: rU!-pCS~ fc-r ··;\"I~jdl the h\'~\'y::r .. V'I'i}S, ~07'J$Jjte{J ... _~. ~.~~!~~~-Ig :-7\ id';:'~h-:'::- ( ....~:;.~.::­
       scctj~n 912ld)): J.l\':J_JI~rn.~:(:_.J~(:. ..X!~ )\.('1.1';). ~:\I;n..cri~2. \.~ Sl.~':,.'r:I:·r (\:'UTL ~ (:f Ci:t: ..~,?p.}d '75~" T7' .~ i '~~;;"I):
       C~hfo:;n;';'i ['.'idc;ln:· C()c. . . . S('Ct11)llS 91 ~~(,n. 9~'·~_




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              12.       Any Party may withdraw rrom this agreement on \vrincn notice to all of
      the undersigned counsel. Any such withdra\val \viH he solely on a prosp~.::cti\'c ba:;;is, and
      any JlA Information ex ...:hanged prior to such withdra'"val shall continue to be governed
      by the ienn;; of tbis JIA.

              130       °li'!'.! Parties agree (hat this JIA may be executed in counterparts and that
      ra~~gimjk     or electronic. versions and signatun:s have Ole same fort:e and c1Te\.~t as an
      original.

                               (SI(;N"ATl'RES FOLLOW- OJ\" Tin: r\'EXTJ>AGE)
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              By:,_ _~~~~~_ _ _ _ __
                   Douglas '~.""""'''''''
                   Counsel for Grayson Services. Jnc.,
                   BG Opemtions, LLC and Bob Grayson




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            Titlc;,_ _ _ _ _ _ _ _          ~~    _ _ _ _ _ _ _ _ _ _ __



            MAHAFFEY & ASSOCIATES, APe

            By:. _ _   ~   ______________                               ~   __
                  Douglas L. Maba:f'fey
                  General Counsel and Cumj~ Counsel
                  for Angus Petrolcmm Corporation



            HUNStlClCE'R. GOODSTEIN & NELSON PC


             By: _ _ _ _ _ _ _ _            ~   ____           ~   __   ~   __
                  Philip C. HUllSUCker
                  lndcpcttdcnt COlln$cl and Coverage Counsel
                  fOr Angus Petroleum Corporatioo'




                         (SIGATURES CONTINUE ON NEXT PAGE)



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          MAIU.FFEY & ASSOCIATES, APe


          By: _______________~_
                     Douglas L. ?v{allaffey
                     General Counsel and CwnisCounsel
                     for Angus PetroleunJ Corporation



           HUNSUCKER GOO1)S'r:EIN &                  KELSO~   PC
                 !                   ,   1     ,Ii   r.jl
                 i()c/~-~
           By:l      V'
                     Philip C. Hunsucker
                     Independent Counsel ~nd Cc.,.verage Counsel
                     for /\ngus Petroleum COI]}Oratioll



     Gravson   Ser.·ic~s,     Inc.



           Title·: _ _ _ __




           B'"
           ___'r. _ _.. _~_




           Title:    ---~.




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             By:,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _               ~   __




             ~~~~TES,_AP                      __C______    ~ ~~~ ~
                                                               __     ____
                   -D~
                   Get",eral Counsel and Cumis Counsel
                   for Angus Petroleum Corporatjon



             lIUNS1JCKER GOODSTEIN & NELSOl\ PC



             By:~~~__=:'~-~----'-----~~--------
               PhHip C. Hunsucker
                   Independent Counsel and C;)verage Counsel
                   for Angus Petroleum Corporation



       GravsonServices.   1I1£~




              Tjtle: _ _ _ _ _ _ _ _ _~_~-~. ________




       EO OuemtioTIs, LT ,C

              By;~~__~_ _ _ _ _ _ _ _ _ _ _ _ _ _~-------




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                         MAHAFFEY & ASSOCIA1'.£S, APe


                         ~~;--~------~------------------------
                            Douglas L. MahaffeY .
                             Comiscl for Grayson Services, Inc.,
                             BG OperatiQIlS. LLC and Bob GtaYSOll




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                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
                 COUNTY OF ORANGE - CENTRAL JUSTICE CENTER
                                 DEPARTMENT CX-104

    BG OPERATIONS, LLC,                )
                                       )
                    PLAINTIFF,         )
                                       )
             VS.                       )                   CASE NO.
                                       )              30-2009-00122075
    XTO OFFSHORE, INC., (FORMERLY      )
    KNOWN AS HUNT PETROLEUM (AEC) ,    )
    INC, A DELAWARE CORPORATION);      )
    ELYSIUM WEST, LLC, A NEW YORK      )
    LIMITED LIABILITY COMPANY; E&B     )
    NATURAL RESOURCES MANAGEMENT       )
    CORPORATION, A CALIFORNIA          )
    CORPORATION, BLACKSTONE OIL & GAS, )
    INC., A PURPORTED CALIFORNIA       )
    CORPORATION, DOE JOINT VENTURE,    )
                                       )
                    DEFENDANT.         )
    ----------------------------~)




                 HONORABLE KIM G. DUNNING, JUDGE PRESIDING
                               REPORTER'S TRANSCRIPT
                                     MAY 31, 2011




    APPEARANCES OF COUNSEL:
       (CONTINUED ON NEXT PAGE.)




                   LISA S. ROULY, CRR, RPR, CSR NO. 9524
                          OFFICIAL COURT REPORTER
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    APPEARANCES OF COUNSEL:
       FOR PLAINTIFF:                MAHAFFEY AND ASSOCIATES
                                     BY: DOUGLAS MAHAFFEY, ESQ.
       FOR XTO, ELYSIUM:             BROWN, WHITE & NEWHOUSE
                                     BY: GEORGE B. NEWHOUSE, ESQ.
       FOR ANGUS:                    GIBSON, DUNN & CRUTCHER
                                     BY: ROBERT E. PALMER, ESQ.
                                     CLINTON BAILEY, ATTORNEYS
                                     BY: MARK BAILEY, ESQ.
                                      (SPECIALLY APPEARING)
       FOR JAMES JOSEPH:             RUS, MILIBAND & SMITH
                                     BY: RONALD RUS, ESQ.
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1             SANTA ANA, CALIFORNIA - TUESDAY, MAY 31, 2011
 2                               AFTERNOON SESSION
3                                *   *   *   *   *   *   *   *   *

4        (THE FOLLOWING PROCEEDINGS WERE HELD IN OPEN COURT:)
 5               MR. MAHAFFEY:       DOUGLAS MAHAFFEY ON BEARING OF ANGUS
 6   PETROLEUM AND B&G.
 7               MR. NEWHOUSE:       GEORGE NEWHOUSE CITY AMERICA ON
 8   BEHALF OF XTO OFFSHORE, INC., AND ELYSIUM AND E&B AND
 9   VARIOUS OTHER ENTITIES.
10               MR. BAILEY:     GOOD AFTERNOON, YOUR HONOR.
11                       MARK BAILEY SPECIALLY APPEARING FOR BG
12   OPERATIONS AND BOB GRAYSON.
13               MR. MAHAFFEY:       AND I GUESS I SHOULD CLARIFY.         MY
14   REPRESENTATION ALSO IS OF THE BG OPERATIONS, ANGUS JOINT
15   VENTURE.     SO I'VE BEEN REPRESENTING ALL THREE ENTITIES.
16               THE COURT:     BG OPERATIONS IS NO LONGER A PARTY,
17   RIGHT?     BG IS DONE.     BG IS NOT CURRENTLY A PARTY, SO WE'LL
18   GET THAT SQUARED AWAY.
19               MR. RUS:     GOOD AFTERNOON, YOUR HONOR.
20                       RONALD RUS, RUS, MILIBAND & SMITH.          I
21   REPRESENT JAMES JOSEPH, THE TRUSTEE OF SOUTH COAST OIL
22   CORPORATION, WHICH IS THE DEBTOR ENTITY THAT OWNS THE STOCK
23   OF ANGUS.     MR. JOSEPH IS ALSO PRESENT IN THE COURTROOM.                 SO
24   WE ARE HERE IN THE EVENT THE COURT HAS ANY QUESTIONS.
25               THE COURT:     GREAT, THANK YOU.
26               MR. RUS:     OTHERWISE, I WON'T BE AT COUNSEL TABLE.


                     LISA S. ROULY, CRR, RPR, CSR NO. 9524
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1              MR. PALMER:       GOOD AFTERNOON, YOUR HONOR.
2                        ROBERT PALMER OF GIBSON, DUNN & CRUTCHER,
3    CURRENTLY REPRESENTING NO ONE, BUT AT THE REQUEST OF ANGUS
4    PETROLEUM VIA THEIR DULY ELECTED BOARD OF DIRECTORS AND
 5   OFFICERS, SEEKING TO BE -- PROBABLY AGAINST MY BETTER
 6   JUDGMENT AT THIS POINT -- COUNSEL FOR ANGUS PETROLEUM.
 7             THE COURT:      OKAY.    I TAKE IT THAT NO AGREEMENTS
8    WERE REACHED AFTER YOU WERE HERE ON THURSDAY.
 9             MR. PALMER:       YOU ARE CORRECT.
10             MR. MAHAFFEY:       THERE WAS NOT ANY MEANINGFUL
11   DISCUSSION.    MY REQUEST HAS BEEN, I THINK, THE TRUSTEE HAS A
12   UNIQUE
13             THE COURT:       THERE IS NO AGREEMENT CURRENTLY, RIGHT?
14             MR. MAHAFFEY:       CORRECT.
15             THE COURT:       ALL RIGHT.    LET ME ASK A FEW QUESTIONS
16   OR START OFF WITH, WE'RE ALL ON THE SAME PAGE:              BG
17   OPERATIONS IS NO LONGER A HE PARTY, CORRECT, MR. BAILEY?
18              MR. BAILEY:      PARTY TO THIS LITIGATION?
19             THE COURT:       YES.
20              MR. BAILEY:      THAT'S MY UNDERSTANDING.
21             THE COURT:       OKAY.   SO WHAT WE'RE TALKING ABOUT IS
22   MR. MAHAFEY'S REPRESENTATION OF ANGUS PETROLEUM IN THIS
23   LITIGATION, THAT'S WHAT WE'RE TALKING ABOUT.
24              MR. MAHAFFEY:       I DON'T MEAN TO QUIBBLE, AND I
25   ABSOLUTELY UNDERSTAND WHAT THE COURT JUST SAID.              I THINK
26   IT'S IMPERATIVE THAT, AT LEAST FOR THE SAKE OF THIS RECORD,


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 1   BG OPERATIONS AND ANGUS FORMED A PARTNERSHIP --
 2              THE COURT:      OKAY, MR. MAHAFFEY, IS IT YOUR POSITION
.3   THAT BG OPERATIONS IS A PARTY TO THIS CURRENT LITIGATION IN
 4   THIS COURT, YES OR NO?
 5              MR. MAHAFFEY:      NO.
 6              THE COURT:      ALL RIGHT.     NOW, I RECEIVED -- I'VE
 7   LOOKED AT THE PAPERWORK THAT WAS FILED FOR THURSDAY'S
 8   HEARING.    I KEEP RECEIVING THINGS SOMEWHAT HOURLY,
 9   INCLUDING, WHAT'S THIS?        THERE'S AN EMERGENCY HEARING IN THE
10   BANKRUPTCY COURT.
11              MR. BAILEY:      YES, YOUR HONOR.
12              THE COURT:      WHEN'S THAT?
13              MR. BAILEY:      THE WAY THE BANKRUPTCY COURT DOES IT
14   IS IT'S FILED AND THEY WILL DETERMINE IT EITHER IT ON THE
15   PAPERS OR IF THERE'S A HEARING TO BE HAD, THEY'LL NOTIFY THE
16   PARTIES.
17              MR. PALMER:      WE HAVE NOT BEEN SERVED WITH AND KNOW
18   NOTHING ABOUT THAT.
19              MR. NEWHOUSE:      AND LIKEWISE, YOUR HONOR, WE
20   REPRESENT THE RESPONDENTS IN THE BANKRUPTCY COURT.              WE'VE
21   HEARD NOTHING ABOUT THAT NOR RECEIVED TELEPHONIC NOTICE.
22              THE COURT:     WERE THE PARTIES IN THE COURTROOM
23   SERVED WITH THIS, MR. BAILEY?
24              MR. BAILEY:      MR. RUS WAS SERVED WITH IT.        AS OF
25   RIGHT NOW I'M ONLY REQUIRED TO SERVE HIM AS THE CHAPTER 11
26   TRUSTEE.    EVERYBODY ELSE WILL BE GETTING THEIR PAPERS LATER


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 1   THIS AFTERNOON.
 2              THE COURT:       OKAY.
 3              MR. BAILEY:       AND I'M NOT REQUIRED UNDER THE FEDERAL
 4   RULES OF
 5              THE COURT:       I DIDN'T ASK IF YOU WERE REQUIRED, I
 6   JUST ASKED IF ANYBODY ELSE WAS SERVED:
 7              MR. BAILEY:       I'M SORRY.
 8              THE COURT:       NO, THAT'S OKAY.     I'M JUST TRYING TO
 9   GET -- THIS IS A MOST UNUSUAL SITUATION.            SO I'M -- BEAR
10   WITH ME AS I ASK SOME QUESTIONS, I'M JUST LOOKING FOR SOME
11   ANSWERS TO QUESTIONS, I DO NOT HAVE A HIDDEN AGENDA, I JUST
12   NEED AN ANSWER.
13                       SOME OF THE MORE RECENT PAPERWORK, AND LET ME
14   DIRECT THIS TO YOU, MR. MAHAFFEY, YOU SUGGEST IN THE
15   PAPERWORK THAT YOU FILED ON THURSDAY THAT MR. GRAYSON -- IS
16   MR. GRAYSON IN THE COURTROOM TODAY?
17              MR. MAHAFFEY:       YES, MA'AM.
18              THE COURT:       WHO IS MR. GRAYSON?
19                       OKAY.   GOOD AFTERNOON, SIR.
20                       THAT MR. GRAYSON IS THE ONLY ONE WHO CAN MAKE
21   A DECISION ABOUT REPRESENTATION FOR ANGUS PETROLEUM, THAT'S
22   YOUR POSITION?
23              MR. MAHAFFEY:       THAT SUMMARIZES IT SOMEWHAT
24   DIFFERENTLY THAN I'VE ARTICULATED IT.            I DON'T WANT TO
25   QUIBBLE WITH THE COURT, AND I FRANKLY AM NOT COMFORTABLE
26   SPEAKING UNLESS YOU ASK ME TO RESPOND IN MORE DETAIL.


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 1             THE COURT:       I BELIEVE IT'S MR. GRAYSON'S
 2   DECLARATION, HE SUGGESTS THAT HE'S THE ONLY ONE WHO HAS
 3   AUTHORITY TO SETTLE ON BEHALF OF ANGUS.            YET WHEN WE HAD A
 4   MANDATORY SETTLEMENT CONFERENCE A COUPLE WEEKS AGO
 5   MR. GRAYSON WASN'T HERE, MR. ZYLSTRA WAS.            SO CAN YOU
 6   EXPLAIN THAT DISCREPANCY?
 7              MR. MAHAFFEY:       I CAN.   I PUT THAT ON THE RECORD
 8   THAT THAT MORNING WHEN THE M.S.C. APPEARED ON THE COURT'S
 9   TENTATIVE RULING, BOTH MYSELF, AND, I BELIEVE
10             THE COURT:       I'M SORRY, I DON'T THINK I HAD A
11   TENTATIVE RULING FOR AN M.S.C.
12              MR. MAHAFFEY:       IT REFERENCED THE M.S.C.       AND I WAS
13   NOT AWARE OF IT THAT MORNING, NEITHER DO I BELIEVE MY
14   OPPOSING COUNSEL WAS.        WE BOTH -- AT LEAST I CONTACTED MY
15   CLIENT TO FIND OUT WHERE MR. GRAYSON WAS, AND THEN PLACED ON
16   THE RECORD THAT I EFFECTED -- THAT I THOUGHT THE EFFECTIVE
17   REAL PARTY IN INTEREST WAS THE TRUSTEE, MR. GRAYSON AND I
18   DISCUSSED IN COURT'S CHAMBERS THE FACT THAT MR. GRAYSON WAS
19   THE REAL PARTY IN INTEREST, IT WAS HIS MONEY AT STAKE.
20             THE COURT:       THERE WAS A DIFFERENCE BETWEEN SOMEONE
21   WHO MAY HAVE WRITTEN CHECKS AND WHO HAS CONTROL OF A
22   BUSINESS ENTITY IN TERMS OF THIS LITIGATION.
23                       NOW, AS I INDICATED MR. JOSEPH'S
24              MR. RUS:     MR. JOSEPH, YOUR HONOR.
25             THE COURT:       GOOD AFTERNOON.
26                       -- MR. JOSEPH'S DECLARATION THAT AT SOME


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 1   POINT IN 2009, AS TRUSTEE FOR ANGUS, HE INSTALLED MR. SCOTT
 2   AND MR. ZYLSTRA IN CONTROL OF ANGUS.
 3                       IS THAT YOUR UNDERSTANDING, MR. BAILEY?
 4               MR. BAILEY:     YES, YOUR HONOR.
 5               THE COURT:     OKAY.   WHERE IS MR. RUS?      WHAT HAPPENED
 6   TO MR. RUS?
 7               MR. RUS:     I'M HERE, YOUR HONOR.
 8               THE COURT:     IS THAT YOUR UNDERSTANDING AS WELL,
 9   MR. RUS?
10               MR. RUS:     YES, IT IS, YOUR HONOR.
11               MR. MAHAFFEY:     THAT'S DIFFERENT THAN MINE.
12               THE COURT:     OKAY.   SO.
13               MR. MAHAFFEY:     I THINK THE FACTS DON'T SUPPORT
14   THAT, YOUR HONOR.        AND I THINK THAT THERE'S A -- LOOK,
15   THERE'S A BIG --
16               THE COURT:     EXCUSE ME, MR. MAHAFFEY.
17                       SO YOUR POSITION IS MR. GRAYSON IS IN CHARGE
18   OF ANGUS.
19               MR. MAHAFFEY:     MY POSITION, AS ARTICULATED, YOUR
20   HONOR, WITH ALL RESPECT TO THESE WARRING FACTIONS, IN 2007,
21   WHICH OIL COMPANIES DO ALL THE TIME, YOUR HONOR, THIS IS NOT
22   UNUSUAL.    ANGUS HAD AN OPERATION STATUS --
23               THE COURT:     IN 2007.
24               MR. MAHAFFEY:     -- AND TODAY UNDER VARIOUS
25   INSTRUMENTS THAT IT IS RESPONSIBLE TO FULFILL.             THOSE ARE
26   EITHER THE OIL AND GAS LEASES THAT DEFINED IT AS THE


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1    OPERATOR, THAT'S THE LEASEHOLD ESTATE OR THE JOINT OPERATING
 2   AGREEMENT.
3                        THE MAIN POINT OF THIS ENTIRE ISSUE               IT'S A
 4   FACT QUESTION         IS WHETHER OR NOT ANGUS DELEGATED IN ITS
 5   ENTIRETY THROUGH ITS 2007 CONTRACT, WHICH SAYS THE WORDS,
 6   "ALL RESPONSIBILITIES ARE DELEGATED," CONTINUE TO HONOR THAT
 7   DELEGATION IN INDUCING MR. GRAYSON TO FUND MONIES, RATIFIED
 8   THAT DELEGATION AND NOW CAN COME TO A SUPERIOR COURT AND DO
 9   A--

10             THE COURT:      WHO'S COMING TO THE SUPERIOR COURT?
11             MR. MAHAFFEY:       THEY ARE COMING
12             THE COURT:       WHO IS "THEY"?
13             MR. MAHAFFEY:       GIBSON, DUNN, THROUGH ANGUS
14   PETROLEUM, IS COMING TO THIS SUPERIOR COURT ON AN EX-PARTE
15   APPLICATION SUGGESTING THAT EITHER ONE OR TWO LEGAL
16   CONCLUSIONS EXIST.
17             THE COURT:       MR. MAHAFFEY, LET ME STOP YOU RIGHT
18   THERE, OKAY?
19                       SO IN 2007, A NUMBER OF AGREEMENTS WERE IN
20   PLACE THAT PUT MR. GRAYSON IN CHARGE OF THIS LITIGATION ON
21   BEHALF OF ANGUS.
22              MR. MAHAFFEY:      JUST ONE.
23             THE COURT:       ALL RIGHT.     ONE AGREEMENT WAS IN PLACE
24   THAT PUT MR. GRAYSON IN CHARGE OF ANGUS PETROLEUM FOR THE
25   PURPOSE OF THIS LITIGATION, THAT'S YOUR POSITION, YES?
26              MR. MAHAFFEY:       INCLUDING THIS LITIGATION.        IT'S ALL


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1    OPERATIONAL MATTERS DEFINED.          YOU EITHER HAVE A ONE --
2              THE COURT:       MR. MAHAFFEY.
3              MR. MAHAFFEY:        THAT'S THE POSITION.
4              THE COURT:       MR. MAHAFFEY, PLEASE.       THERE'S NO
5    REASON TO KIND OF RAISE YOUR VOICE.             I'M TRYING TO
6    UNDERSTAND -- THIS IS A MOST UNUSUAL SITUATION.
 7              MR. MAHAFFEY:        I UNDERSTAND.
8              THE COURT:       SO WE'RE GOING TO TAKE IT A QUESTION AT
 9   A TIME, IF YOU DON'T MIND.
10              MR. MAHAFFEY:        VERY GOOD.
11              THE COURT:        OKAY?   I'M CONCERNED ABOUT WHO HAS THE
12   ABILITY TO CHOOSE THE ATTORNEY FOR ANGUS PETROLEUM TODAY,
13   ALL RIGHT?
14                       NOW, IT'S YOUR POSITION THAT IN 2007
15   MR. GRAYSON HAD THE ABILITY TO DETERMINE WHO WOULD REPRESENT
16   ANGUS PETROLEUM IN THE LITIGATION BEFORE THIS COURT BECAUSE
17   THERE'S LITIGATION OTHER PLACES, AND I'M NOT CONCERNED ABOUT
18   THAT.
19                       SO THAT'S YOUR POSITION, YES?
20              MR. MAHAFFEY:        PARTIALLY, YOUR HONOR.      I APOLOGIZE
21   FOR NOT BEING ABLE TO SAY YES OR NO.             '07 THIS LITIGATION
22   DIDN'T EXIST.       IN '09
23              THE COURT:        I'M SORRY, YOU TOLD ME THE AGREEMENT
24   WAS IN 2007.
25              MR. MAHAFFEY:        IT WAS IN 2007.     IT WAS A BLANKET
26   DELEGATION IN ITS ENTIRETY INCLUDING ALL LITIGATION IN THE


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1    FUTURE AND PRESENT.
 2               THE COURT:    MR. MAHAFFEY, WE'RE GOING TO TAKE IT
3    ONE QUESTION AT A TIME, OKAY?
4                MR. MAHAFFEY:     OKAY.
 5               THE COURT:     IN 2007 THERE WAS AN AGREEMENT.
 6               MR. MAHAFFEY:     CORRECT.
 7               THE COURT:    AND IT GAVE MR. GRAYSON CONTROL OVER --
 8   I DON'T CARE WHAT ELSE IT GAVE HIM CONTROL OVER.              I'M ONLY
 9   CONCERNED WITH THE ABILITY TO DESIGNATE AN ATTORNEY FOR
10   ANGUS PETROLEUM FOR ANY LITIGATION THAT CURRENTLY EXISTED OR
11   LITIGATION THAT MAY BE FILED IN THE FUTURE; IS THAT YOUR
12   POSITION?
13               MR. MAHAFFEY:     YES.
14               THE COURT:     OKAY.     NOW, MR. JOSEPH, AS THE TRUSTEE
15   IN THE BANKRUPTCY COURT, HAS INDICATED THAT THERE WAS A
16   CHANGE IN 2009.       HE'S FILED A DECLARATION TO THAT EFFECT.
17   AND I THINK -- WHO FILED THE DECLARATION -- WHO SUBMITTED
18   MR. DERAVAN'S (PHONETIC) DECLARATION?
19                       WAS THAT YOU, MR. RUS?
20               MR. PALMER:     WE DID, YOUR HONOR.
21               THE COURT:     OH, MR. PALMER, OKAY.
22                       SO DO YOU AGREE THERE WAS A CHANGE IN THE
23   CIRCUMSTANCES IN 2009?        YOU'RE SHAKING YOUR HEAD; IS THAT A
24   NO?
25               MR. MAHAFFEY:      I DO NOT.    I CAN EXPLAIN.
26               THE COURT:     IS THAT A NO?


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1               MR. MAHAFFEY:      THAT'S A NO.
2              THE COURT:       OKAY.   TELL ME WHY YOU DISAGREE.
3               MR. MAHAFFEY:      IN THE 2007 AGREEMENT, I POINTED
4    THIS OUT IN PARAGRAPH 3 AND 8.
 5             THE COURT:       YOU POINTED OUT TO WHOM?
 6              MR. MAHAFFEY:      TO YOU.    SO -- THESE ARE A LOT OF
 7   COMPLICATED FACTS, BUT THESE ARE THE FACTS.
 8                       IN THE '07 AGREEMENT ANGUS DELEGATED IN ITS
 9   ENTIRETY ITS RIGHTS TO RESPONSIBLE OPERATIONS TO BOB
10   GRAYSON, BG, BG OPERATIONS, IN ITS ENTIRETY.
11                       AND THEN OBLIGATED HIM TO FULFILL ALL THOSE
12   DUTIES THAT ANGUS WOULD HAVE OTHERWISE FULFILLED HAD IT NOT
13   DELEGATED THEM.
14                       IN 2009, THE TRUSTEE THROUGH NEGOTIATIONS
15   WITH MR. GRAYSON ULTIMATELY APPROVED BY AN ANGUS C.E.O.,
16   ENHANCED THE DEFINITION OF WHAT THE MATTERS WERE THAT
17   MR. GRAYSON WAS INDUCED TO FUND AND HANDLE, DEFINED THEM IN
18   PARAGRAPH 7 AS INCLUDING THIS LITIGATION.             AND THEN
19   SPECIFICALLY INCLUDED THAT THERE WOULD LIKELY BE A
20   CROSS-COMPLAINT ANGUS WOULD FILE.
21                       MR. GRAYSON EXCHANGED FURTHER CONSIDERATIONS.
22   IT WAS CALLED A MODIFICATION, BECAUSE IT RATIFIED THE '07
23   AGREEMENT, IT THEN ENHANCED IT WITH DEFINING IN THIS
24   DOCUMENT, THE '09 AGREEMENT, THIS LAWSUIT.
25                       MR. GRAYSON COMMENCED THIS LAWSUIT AND
26   CONTINUED UNINTERRUPTED --


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1              THE COURT:      EXCUSE ME, PLEASE.       WE NEED TO BE
 2   REALLY ACCURATE HERE WITH OUR TERMINOLOGY.            MR. GRAYSON IS
3    NOT A PARTY.     ANGUS IS A PARTY.
 4             MR. MAHAFFEY:        YOUR HONOR, I APOLOGIZE, I SAID HE
 5   COMMENCED IT.       THIS WAS
 6             THE COURT:      NO, HE DID NOT BECAUSE HE'S NOT A
 7   PARTY.
 8             MR. MAHAFFEY:        HE COMMENCED IT.     LET ME SEE IF I
 9   CAN REPHRASE IT.       HE INITIATED THE LAWSUIT AS THE ONLY
10   PLAINTIFF, IT WAS CALLED BG OPERATIONS VERSUS XTO.
11             THE COURT:       MR. MAHAFFEY, MR. GRAYSON DID NOT
12   INITIATE ANYTHING ON HIS OWN BEHALF AS AN INDIVIDUAL, DID
13   HE?
14             MR. MAHAFFEY:        WELL, YES, HE DID.
15             THE COURT:       IS IT BG OPERATIONS, OR IS IT
16   MR. GRAYSON?     WHO'S THE PARTY?
17             MR. MAHAFFEY:        BG OPERATIONS LLC THROUGH ITS
18   MANAGER, BOB GRAYSON.
19             THE COURT:      ALL RIGHT.     BG OPERATIONS WAS THE PARTY
20   INITIALLY.     BG OPERATIONS IS NO LONGER A PARTY IN THIS
21   ACTION, RIGHT?
22              MR. MAHAFFEY:       THEY WERE DISMISSED IN FEBRUARY OF
23   THIS YEAR AS A DEFENDANT.
24             THE COURT:       ANGUS PETROLEUM IS A PARTY.
25              MR. MAHAFFEY:       THAT'S TRUE.
26             THE COURT:       NOW, IS IT YOUR POSITION THAT


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1    MR. JOSEPH IS IN ERROR WHEN HE STATES IN HIS DECLARATION
2    UNDER PENALTY OF PERJURY THAT MR. ZYLSTRA HAS CONTROL OF
3    ANGUS TODAY?
4              MR. MAHAFFEY:       HOW DO YOU ANSWER A YES OR NO
 5   QUESTION REGARDING AN ERROR?          I DON'T THINK MR. JOSEPH WOULD
 6   STAND UP HERE THROUGH HIS COUNSEL AND SUGGEST THAT BOB
 7   GRAYSON THROUGH BG OPERATIONS 2007 AND 2009 MODIFIED
 8   AGREEMENT ARE TERMINATED.
 9                       I ASKED MR. PALMER TO SOLVE TODAY'S HEARING
10   BY PUTTING ON GIBSON DUNN'S LETTERHEAD TO MR. BAILEY THAT
11   THAT CONTRACT IS TERMINATED.          I INVITED MR. JOSEPH, IF THAT
12   WAS HIS POSITION.
13                       I WAS TOLD JUST THE OPPOSITE BY MR. ZYLSTRA
14   AND MR. PALMER.       THOSE CONTRACTS --
15             THE COURT:       YOU WERE TOLD WHAT?
16              MR. MAHAFFEY:      THOSE CONTRACTS HAVE NOT BEEN
17   TERMINATED.
18             THE COURT:       ALL RIGHT.    THANK YOU.     LET ME STOP YOU
19   RIGHT THERE.
20                       MR. BAILEY, DO YOU HAVE A POSITION ON THESE
21   CONTRACTS?
22              MR. BAILEY:      I BELIEVE THAT THEY'RE ENFORCE AND
23   EFFECT.
24              THE COURT:      SO YOU AGREE MR. MAHAFFEY?
25              MR. BAILEY:      I DO.
26              THE COURT:      MR. NEWHOUSE, ARE YOU JUST SORT OF


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 1   HOPING I DON'T ASK YOU ANY QUESTIONS AT THIS POINT?
 2               MR. NEWHOUSE:       I'M HOPING YOU DON'T ASK ME ANY
 3   QUESTIONS, YOUR HONOR, BECAUSE I DON'T HAVE AN ANSWER TO
 4   THAT ONE.
 5               THE COURT:      THAT'S FINE.
 6                       MR. RUS, DO YOU HAVE A POSITION ON THIS?
 7               MR. RUS:       NO, YOUR HONOR.
 8               THE COURT:       MR. PALMER?
 9               MR. PALMER:       I WELCOME YOUR HONOR'S QUESTIONS.
10                       YES.    THE AGREEMENTS WERE APPROVED BY THE
11   BANKRUPTCY TRUSTEE.         THE BANKRUPTCY COURT AND IT PROVIDES
12   THAT THEY SHALL BE IN PLACE UNTIL THEY WERE MUTUALLY
13   TERMINATED.     THERE HAS BEEN NO SUCH MUTUAL TERMINATION.
14   THAT DOESN'T MEAN, HOWEVER, THAT THE AGREEMENT GIVES THEM
15   THE POWERS THEY SPEAK OF.
16                       BUT TO DIRECTLY ANSWER YOUR QUESTION, THEY
17   ARE STILL IN PLACE.
18               THE COURT:      ALL RIGHT.     SO WHO SUBMITTED
19   MR. JOSEPH'S DECLARATION?
20               MR. PALMER:       I DID, YOUR HONOR.    AND HIS COUNSEL,
21   MR. RUS, IS HERE AS WELL.
22               THE COURT:      WELL, IT APPEARS TO THE COURT THAT THE
23   CONTROL OF ANGUS PETROLEUM IS WITH MR. SCOTT AND
24   MR. ZYLSTRA.     AND NOT MR. GRAYSON.
25                       AND I AM NOT INCLINED TO TAKE YOU UP ON YOUR
26   SUGGESTION, MR. MAHAFFEY, THAT WE HAVE A TRIAL ON THIS


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1    ISSUE.   THE POSITION THAT YOU HAD -- THAT YOU TOOK COMING
2    INTO THE HEARING ON THURSDAY SEEMS A LITTLE BIT DIFFERENT
3    THAN THE POSITION YOU'RE TAKING NOW, WHICH IS FINE, YOU
4    PROBABLY HAVE MORE INFORMATION NOW ABOUT WHERE WE'RE GOING
 5   WITH THIS.
 6             MR. MAHAFFEY:       NOT AT ALL.
 7             THE COURT:       BUT YOU'RE BASED -- YOUR POSITION IS
 8   BASED ON THE 2007 AGREEMENTS.
 9             MR. MAHAFFEY:       THE POSITION I HAVE FOR BOB GRAYSON,
10   THE INDIVIDUAL, AND BG OPERATIONS LLC IS THAT THOSE
11   AGREEMENTS SAY WHAT THEY SAY.
12                       NOW, THOSE AGREEMENTS, FIRST OF ALL, DECLARE
13   IN THEM AT THE REQUEST OF THE TRUSTEE THAT IF THERE'S A
14   DISPUTE IN THEIR INTERPRETATION, BOTH PARTIES DIVESTED
15   JURISDICTION TO THE BANKRUPTCY COURT.            I THINK THAT'S WHY
16   MR. GRAYSON'S COUNSEL'S FILED THAT.
17                       THIS IS CLEARLY AN INTERPRETATION DISPUTE.
18   ON THE ONE HAND, THE COURT AND NOW HAVE COUNSEL, HAVE
19   CONFIRMED THAT THERE'S A RATIFICATION OF THESE CONTRACTS.
20   THAT THEY SAY WHAT THEY SAY AND THEY'RE ENFORCE AND EFFECT.
21                       THERE'S NO DISPUTE ABOUT THE HISTORY OF BG
22   OPERATIONS BEING IN CONTROL.          THE LEGAL QUESTION IS, IS WHEN
23   YOU APPOINT A BOARD OF DIRECTORS, DOES THE STATE OF
24   CALIFORNIA EITHER CORPORATION CODE OR CASES SAY THAT IF YOU
25   HAVE A PRE-EXISTING DELEGATED FULL RESPONSIBILITY DELEGATION
26   UNDER A JOINT OPERATING AGREEMENT BETWEEN AN OIL COMPANY AND


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1    ITS INDEPENDENT DELEGATED OPERATOR IN CHARGE OF ALL
2    OPERATIONS, INCLUDING A SPECIFIC TERM THAT SAYS THEY CONTROL
3    AND SETTLE ALL LITIGATION, WHEN YOU APPOINT A BOARD OF
4    DIRECTORS, DOES THAT SOMEHOW DISPLACE AS A MATTER OF LAW
5    THAT PREVIOUS DELEGATION?         OBVIOUSLY IT DOES NOT.
6                        IN FACT, MR. GRAYSON HIRED JIM SCOTT AND
7    LOUIS ZYLSTRA FIRST TO BE HIS STAFF.           UNDER PARAGRAPH 8, HE
8    HAD TO STAFF ANGUS.       THEY CAN BE DELEGATED AND WERE, YOUR
 9   HONOR, DAILY TASKS OF ANGUS OPERATIONS.
10                       THE RUB HERE IS NOT THAT MR. ZYLSTRA WASN'T
11   DELEGATED AND WAS FUNCTIONING AS A C.F.O.            IT'S NOT THE RUB
12   THAT MR. ZYLSTRA WASN'T A DIRECTOR.           THOSE WERE UNDISPUTED
13   FACTS.
14                       THE BIG ISSUE THAT'S A QUESTION OF FACTUAL
15   INTERPRETATION, WHICH BOTH PARTIES HAVE A RIGHT TO PUT ON
16   TESTIMONY AND EVIDENCE, IS WHETHER OR NOT WHEN THE DELEGATED
17   AUTHORITY TO BOB GRAYSON WAS A RATIFIED EVENT IN 2009,
18   WHETHER OR NOT MR. ZYLSTRA'S SIMPLY ACTING UNDER THAT
19   AUTHORITY.
20                       TO SAY THAT THERE'S BEEN A DISPLACEMENT MEANS
21   YOU HAVE TO SAY THE CONTRACT HAS A WATERED DOWN WORD "ALL."
22   IT'S NOT ALL.
23              THE COURT:      OKAY, MR. MAHAFFEY.
24              MR. MAHAFFEY:       IT'S SHARED.
25              THE COURT:      THANK YOU.
26                       MR. PALMER, MR. MAHAFFEY SAID HE OFFERED YOU


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 1   AN OPPORTUNITY TO -- WHAT WAS IT?
 2              MR. MAHAFFEY:      TO DECLARE THE CONTRACT TERMINATED,
 3   WHICH CLEARLY ELIMINATES THIS INTERPRETATION FACT ISSUE.
 4             THE COURT:      THANK YOU, IS THAT A NECESSARY STEP?
 5             MR. PALMER:       NO, NOT AT ALL, YOUR HONOR.
 6             THE COURT:      WHY NOT?
 7              MR. PALMER:      THE AGREEMENT CLEARLY PROVIDES THAT
 8   CERTAIN RIGHTS AND REMEDIES WERE PROVIDED TO MR. GRAYSON IN
 9   TURN FOR BECOMING ESSENTIALLY THE CREDITOR.             IN TURN FOR
10   THOSE, HE WAS TO HELP OUT WHEN ANGUS IS DOWN.
11                       THE AGREEMENT FURTHER SAYS, UNTIL SUCH TIME
12   AS ANGUS IS ABLE TO OBTAIN MONEY TO PAY ITS OWN OBLIGATIONS.
13   ANGUS HAS BEEN DOING THAT AND THE ONLY EVIDENCE BEFORE YOUR
14   HONOR IS 2010.       WE SUBMITTED TO YOU THE EVIDENCE OF THE
15   ACCOUNTANT, THE OPERATIONS OFFICER AND MY CLIENT.              WE'VE
16   EVEN SUBMITTED TO YOU CHECKS FROM MY CLIENT TO MR. MAHAFFEY.
17   THUSLY, NOT SURPRISINGLY, WHEN THESE GENTLEMEN CAME IN AND
18   TOOK OVER AND STARTED MAKING MONEY, THEY HAVE NOT HAD ANY
19   FURTHER INVOLVEMENT WITH, MONEY FROM, LOANS FROM OR EVEN
20   SEEN MR. GRAYSON ON SITE.         HE HAS NO CREWS THERE, HE PUMPS
21   NO OIL, HE DOES NO WORK, HE SUBMITS NO INVOICES.              INDEED,
22   UNTIL HE SHOWED UP A FEW DAYS AGO AND WAS REMOVED BY THE
23   POLICE, HE'S NEVER EVEN BEEN ON SITE.
24                       SO UNDER THE AGREEMENT'S OWN TERMS, YOUR
25   HONOR, HE WAS HIRED AS AN INDEPENDENT CONTRACTOR TO HELP AS
26   LONG AS ANGUS COULD NOT HELP.          IT HAS NOW DEMONSTRATED AS


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1    HELPING ITSELF AND AT PRESENT HIS SERVICES ARE NOT NEEDED.
 2                       THE AGREEMENT DOES NOT NEED TO BE TERMINATED,
3    AND INDEED PROBABLY SHOULD BE DONE PROPERLY THROUGH THE
4    BANKRUPTCY COURTS, BUT AT PRESENT HE HAS NO AUTHORITY AND
 5   WAS DELEGATED NO SUCH POWER.
 6             THE COURT:      YES, MR. BAILEY?
 7             MR. BAILEY:       YOUR HONOR, MR. PALMER MADE ONE POINT
 8   THAT I AGREE WITH:       IT NEEDS TO BE DONE THROUGH THE
 9   BANKRUPTCY HE COURT.        RESPECTFULLY, I DON'T THINK THIS COURT
10   HAS JURISDICTION, AS MR. PALMER JUST ADMITTED.             THE
11   CONTRACTS ARISE OUT OF THE POWERS OF THE TRUSTEE DEVOLVED TO
12   HIM BY THE BANKRUPTCY COURT.
13                       IS THAT WE HAVE A MOTION PENDING, THE
14   BANKRUPTCY COURT IS EITHER GOING TO AGREE THAT THEY HAVE
15   JURISDICTION AND AGREE WITH OUR PAPERS THAT IT'S A COURT
16   PROCEEDING, OR THEY'RE NOT.
17                       I DON'T THINK THERE'S ANY PREJUDICE TO
18   ANYBODY TO LET JUDGE ALBERT IN THE BANKRUPTCY COURT WEIGH IN
19   ON THIS BEFORE THIS COURT MAKES A DECISION.             I WOULD EXPECT
20   THAT JUDGE ALBERT WILL DO THAT SOMETIME WITHIN THE NEXT DAY
21   OR SO.
22             THE COURT:       MR. PALMER?
23              MR. PALMER:      ANGUS IS NOT IN BANKRUPTCY.          ANGUS HAS
24   A BOARD OF DIRECTORS THAT'S MADE ITS DECISION, WE'VE BEEN
25   ASKING FOR PERMISSION TO DO SO.
26             THE COURT:       THE TRUSTEE IN BANKRUPTCY IS THE ONE


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1    WHO PUT MR. SCOTT AND MR. ZYLSTRA IN AS THE BOARD OF
 2   DIRECTORS, CORRECT?
3              MR. PALMER:      YES, HE IS HERE AND VERY PLEASED WITH
4    OUR RUNNING OF THE COMPANY AND SUPPORTS OUR DECISION.
 5             THE COURT:      THERE'S A BIT OF A DISCONNECT HERE,
 6   MR. BAILEY.    AND I UNDERSTAND MR. GRAYSON'S POSITION AS A
 7   CREDITOR FOR ANGUS.
 8                       WHAT I DON'T UNDERSTAND IS AN INDIVIDUAL WHO
 9   APPARENTLY HAS AN ONGOING RELATIONSHIP WITH BG OPERATIONS,
10   WHICH IS NO LONGER A PARTY.         BG OPERATIONS IS NOT BEFORE
11   THIS COURT.    ANGUS PETROLEUM IS.
12                       ANGUS PETROLEUM HAS A DIFFERENT BOARD OF
13   DIRECTORS.    SO I'VE GOT A BIG DISCONNECT HERE.
14             MR. BAILEY:       CAN I WEIGH IN ON THAT, YOUR HONOR?
15             THE COURT:       PLEASE, I WOULD APPRECIATE IT.
16             MR. BAILEY:       A CORPORATION IS NOT CONTROLLED AND
17   OWNED BY ITS SHAREHOLDERS.         IN THIS PARTICULAR INSTANCE,
18   MR. JOSEPH IS THE SOLE SHAREHOLDER OF ANGUS.             WITH THE
19   BANKRUPTCY COURT'S APPROVAL, HE HAS APPOINTED MR. SCOTT AND
20   MR. ZYLSTRA AS DIRECTORS OF ANGUS.
21                       ANGUS, AS I UNDERSTAND IT, IS IN A JOINT
22   VENTURE PARTNERSHIP WITH BG OPERATIONS.            AND WITH BANKRUPTCY
23   COURT APPROVAL, MR. JOSEPH RATIFIED THE ASSIGNMENT OF ALL OF
24   THE OPERATIONS AND THE CONTROL OF ALL THE OPERATIONS TO BG
25   OPERATIONS.
26                       THEREFORE, HE HAS DELEGATED ALL THAT


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1    AUTHORITY TO BG OPERATIONS THROUGH HIS POWERS VESTED IN HIM
2    BY THE BANKRUPTCY COURT.
3              THE COURT:      MR. JOSEPH, COULD YOU COME UP HERE,
4    COULD YOU KIND OF STEP UP, SIR?
 5                       ARE YOU AN ATTORNEY, MR. JOSEPH?
 6             MR. JOSEPH:       I AM.
 7             THE COURT:      DO YOU AGREE WITH MR. BAILEY THAT JUDGE
 8   ALBERT NEEDS TO MAKE A DECISION BEFORE THIS COURT COULD GO
 9   AHEAD AND ACT ON THE EX-PARTE APPLICATION?
10             MR. JOSEPH:       I DO NOT.
11             THE COURT:      WHY NOT?
12             MR. JOSEPH:       THIS COURT HAS THE UNDISPUTED RIGHT
13   AND POWER TO CONTROL WHAT GOES ON BEFORE IT.             THERE'S
14   LITIGATION PENDING BEFORE IT.           IT IS WITHIN THIS COURT'S
15   PROVINCE AND NO OTHER COURT'S PROVINCE TO DETERMINE WHAT
16   ATTORNEYS ARE REPRESENTING A PARTY BEFORE THIS COURT.
17             THE COURT:       WERE YOU ABLE TO FOLLOW THE ARGUMENT
18   ABOUT THE 2007 AGREEMENT THAT WOULD GIVE BG OPERATIONS AND
19   BY EXTENSION MR. GRAYSON CONTROL OVER ANGUS PETROLEUM'S ROLE
20   IN THE LITIGATION IN FRONT OF THIS COURT?
21              MR. JOSEPH:      I FOLLOW, BUT DISAGREE.
22              THE COURT:      OKAY.     CAN YOU GIVE ME A SUMMARY OF WHY
23   YOU DISAGREE?
24              MR. JOSEPH:      IF I MAY.
25              THE COURT:      PLEASE.
26              MR. JOSEPH:      THE MODIFICATION AGREEMENT, WHICH I


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 1   RATIFIED AND WHICH THE BANKRUPTCY COURT APPROVED, SAYS THE
 2   FOLLOWING:    AND I PARAPHRASE:
 3                       ANGUS, NOT MR. GRAYSON, NOT BG OPERATIONS,
 4   BUT ANGUS SHALL USE ITS BEST EFFORTS -- ENDEAVOR TO USE ITS
 5   BEST EFFORTS TO RETAIN MR. MAHAFFEY ON AN CONTINGENT FEE
 6   BASIS TO PURSUE CERTAIN MATTERS.
 7                       TO MY KNOWLEDGE -- I DON'T WANT TO SPEAK TO
 8   THE ISSUE OF WHETHER SUCH AN ACCEPTABLE CONTINGENCY FEE
 9   ARRANGEMENT WAS EVER REACHED BETWEEN ANGUS THROUGH ITS
10   OFFICERS AND MR. MAHAFFEY.
11                       WHAT I CANNOT CONTEMPLATE IS THAT A PROVISION
12   WHICH SAYS THAT ANGUS SHALL USE EFFORTS TO EMPLOY
13   MR. MAHAFFEY, AND IF IT WERE TO DO SO, THAT IT FOLLOWS FROM
14   THAT IF MR. MAHAFFEY AND ANGUS HAVE DIFFERENCES, AS CLIENTS
15   AND ATTORNEYS DO HAVE DIFFERENCES SOMETIMES, THAT SOMEHOW
16   THAT PROVISION SHOULD BE READ AS ANGUS SHALL ENDEAVOR TO
17   HIRE MR. MAHAFFEY, BUT IF DIFFERENCES DEVELOP BETWEEN THE
18   BOARD AND THE MANAGEMENT OF ANGUS AND MR. MAHAFFEY,
19   NEVERTHELESS, IT MAY NEVER DISCHARGE HIM.            I THINK THAT
20   CANNOT BE THE LAW.
21             THE COURT:      ALL RIGHT.     THANK YOU VERY MUCH,
22   MR. JOSEPH.
23                       MR. PALMER, IT'S YOUR EX-PARTE MOTION, DO YOU
24   HAVE ANY CONCLUDING REMARKS?
25             MR. PALMER:       I THINK YOUR HONOR HAS THE ISSUES WELL
26   IN MIND AND THE RATHER BASIC AND DIRECT COMMENTS BY


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1    MR. JOSEPH HAVE BEEN VERY HELPFUL.           NO, UNLESS YOUR HONOR
2    HAS FURTHER QUESTIONS, I DO NOT.
3               THE COURT:     OKAY, THANK YOU.
4               MR. MAHAFFEY:      I WOULD LIKE TO MAKE ONE MORE
 5   COMMENT JUST QUICKLY, BECAUSE MR. JOSEPH SPOKE TO THIS
 6   PARAGRAPH.    I THINK IT'S INCUMBENT THAT THIS COURT RECOGNIZE
 7   THAT THIS DOCUMENT HE WAS REFERRING TO HAS SPECIFIC DETAILED
 8   PARAGRAPHS BETWEEN THE PARTIES WHO NEGOTIATED IT.              THERE HAS
 9   BEEN NOTHING BUT A DIFFERENCE IN INTERPRETATION OF THIS
10   DOCUMENT PRESENTED TO THIS COURT.           NO DUE PROCESS' HAS BEEN
11   PROVIDED TO ANGUS TO INTERPRET IT ACCORDING TO THEIR
12   TESTIMONY WITH CROSS-EXAMINATION, NO DUE PROCESS HAS BEEN
13   PROVIDED TO BG OPERATIONS.         THIS CLAUSE IS, AT BEST,
14   AMBIGUOUS.
15                       PRICE FIRST *NET WOULD AUTOMATICALLY REQUIRE
16   THAT A QUESTION OF FACT BE PRESENTED TO SEE WHETHER OR NOT
17   IT WAS REASONABLY SUSCEPTIBLE TO ALTERNATIVE MEANINGS.
18                       THIS IS AN EX-PARTE APPLICATION.         YOU HAVE
19   OFFERS OF PROOF, I GUESS.         COUNSEL'S NOT BEEN SWORN IN TO
20   TESTIFY.     NO ONE HAS PRESENTED ANY EXPERTS OR WITNESSES.
21   AND THE ESSENCE OF THIS IS MR. GRAYSON CONTENDS, AND SINCE I
22   REPRESENT THE PARTNERSHIP, WHICH IS MY DUTY OF LOYALTY --
23              THE COURT:      WHICH PARTNERSHIP DO YOU REPRESENT?
24              MR. MAHAFFEY:      THE BG XTO PARTNERSHIP -- THE BG
25   OPERATIONS ANGUS PARTNERSHIP, I MISSPOKE.             THAT 2007
26   25 PERCENT, 75 PERCENT PROFIT SPLITTING, EXPENSE SPLITTING,


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1    CAPITAL VENTURE PARTNERSHIP THAT HAS BEEN CARRIED ON FOR
2    FOUR YEARS IS A SEPARATE LEGAL ENTITY.
3                        MR. GRAYSON AND ANGUS ARE REAL PARTIES IN
4    INTEREST IN THE OUTCOME OF WHETHER OR NOT THIS COURT
 5   DECLARES OR DOESN'T DECLARE THE OWNERSHIP INTEREST IN THE
 6   ELYSIUM, ANGUS LEASES TO BE 100 PERCENT ANGUS OR 50/50.
 7   MR. GRAYSON IS A DIRECT BENEFICIARY, IN FACT, HE GETS THE
 8   MAJORITY OF THE UPSIDE.
 9             THE COURT:       MR. MAHAFFEY, YOU UNDERSTAND THIS
10   EX-PARTE HAS NOTHING TO DO WITH THE MERITS OF THE LITIGATION
11   CURRENTLY BEFORE THE COURT.         IT IS AN EX-PARTE APPLICATION
12   BY ONE PARTY -- ONE PARTY -- TO DISCHARGE ITS CURRENT
13   ATTORNEY AND BRING ON SOMEBODY ELSE.           THAT'S WHAT WE'RE
14   TALKING ABOUT HERE.
15              MR. MAHAFFEY:      I APOLOGIZE IF I DIDN'T SAY THAT
16   CLEARLY, BUT WHEN MR. JOSEPH AND DON WHITE ACTUALLY SIGNED
17   IT FOR ANGUS SAID, THE STOCK OF ANGUS -- THIS IS
18   PARAGRAPH 11         IS A WHOLLY-OWNED -- IS WHOLLY-OWNED BY
19   SOUTH COAST OIL CORPORATION BANKRUPTCY ESTATE.              AND ANGUS
20   AND BG, THEREFORE, AGREE THAT THE BANKRUPTCY COURT IN THE
21   SCLC CASE SHALL HAVE THE SOLE AND EXCLUSIVE JURISDICTION TO
22   DETERMINE ANY DISPUTE UNDER THE AGREEMENT OR THIS
23   MODIFICATION.
24                       AND YOU'VE GOT ATTORNEYS ON BOTH SIDES OF
25   THIS GIVING YOU IN AN EX-PARTE APPLICATION THEIR
26   INTERPRETATION OF THIS DISPUTE.           IF YOU AGREED WITH


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1    MR. GRAYSON'S COUNSEL'S INTERPRETATION, THEN UNDER THE
 2   DELEGATION OF AUTHORITY IN '07, FULLY RATIFIED IN '09, UNDER
3    PARAGRAPH 13.4 OF THE ATTACHMENT, IT SAYS POINT BLANK, THE
4    OPERATOR CONTROLS ALL LITIGATION AND THE SETTLEMENT THEREOF.
 5   HE SAYS YOU DELEGATE IT TO ME.
 6                       IF YOU ACCEPT MR. PALMER'S NON-SWORN
 7   TESTIMONY THAT MR. GRAYSON AND THIS CONTRACT DO NOT CREATE A
 8   PARTNERSHIP, HE'S ONLY A CREDITOR, THE INTERPRETATION IS
 9   COMPLETELY REPUGNANT TO THAT, ACCORDING TO MR. GRAYSON'S
10   COUNSEL, THEN YOU WOULD BE ABLE TO FOLLOW THE PATHWAY THAT
11   THIS DID NOT DIVEST THAT ASPECT OF CONTROL OF THIS
12   LITIGATION, WHICH MR. GRAYSON AND BG OPERATIONS ARE REAL
13   PARTIES IN INTEREST.
14                       MY POINT IS NOT WHETHER OR NOT THE COURT MAY
15   BE GETTING IT RIGHT TODAY, OR WHETHER THE COURT'S GETTING IT
16   WRONG; MY POINT IS HOW DID THEY RUSH A SUPERIOR COURT INTO
17   WHAT IS A LEGITIMATE FACTUAL INTERPRETATION WITH ALL THE
18   PARTIES AVAILABLE FOR DUE PROCESS RIGHTS BECAUSE THERE'S
19   SOME IMPACT ON LITIGATION?         THERE'S NO IMPACT.       BOTH OF
20   THESE PARTIES COULD EASILY ASSOCIATE IN THEIR OWN CHOICE OF
21   COUNSEL.    IT DOESN'T HAVE TO BE DOUG MAHAFFEY.            I'VE GOT NO
22   AFFECTION FOR RUNNING IN THIS LITIGATION OR BEING INVOLVED
23   FOR EITHER SIDE.
24              THE COURT:      WELL, MR. MAHAFFEY, WERE YOU ASKED TO
25   SIGN A SUBSTITUTION OF ATTORNEY FORM, YES OR NO?
26              MR. MAHAFFEY:      I WAS ASKED THAT.


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1              THE COURT:      AND YOU REFUSED.
2              MR. MAHAFFEY:       MR. GRAYSON REFUSED TO LET ME SIGN
3    THAT.
4              THE COURT:      THAT'S FINE.     ALL RIGHT.     THANK YOU.
5                        YOU GET TO CONCLUDE, MR. PALMER, ANYTHING
6    ELSE?
 7             MR. PALMER:       NO.   JUST VERY SIMPLY, I'VE HEARD OF A
 8   MYTHICAL PARTNERSHIP AGREEMENT THAT WAS ENTERED INTO, THERE
 9   WAS NO SUCH AGREEMENT.        MR. MAHAFFEY JUST QUOTED FROM THE
10   AGREEMENT WE PRESENTED TO YOUR HONOR, WHICH COULDN'T MORE
11   CLEARLY BE ENTITLED "INDEPENDENT CONTRACTOR AGREEMENT."                 ITS
12   LANGUAGE SAYS IT'S BEING DONE FOR THE PURPOSE OF THEM TO
13   HIRE THEM AS AN INDEPENDENT CONTRACTOR ON BEHALF OF ANGUS,
14   IT DOESN'T CREATE A PARTNERSHIP OR FIDUCIARY DUTY.               I
15   BELIEVE YOUR HONOR HAS THE FACTS WELL IN HAND.
16             THE COURT:      ALL RIGHT.     THANK YOU VERY MUCH.
17                       WELL, THEN, THE COURT WILL GRANT THE EX-PARTE
18   APPLICATION TO THE EXTENT THAT IT ASKS              BASED ON THE
19   REQUEST BY ANGUS PETROLEUM THROUGH MR. ZYLSTRA.
20              MR. PALMER:      YES, YOUR HONOR.
21             THE COURT:       WHO WAS PLACED ON THE BOARD OF
22   DIRECTORS.
23              MR. PALMER:      AND HE IS HERE.
24              THE COURT:      MR. ZYLSTRA'S IN THE COURTROOM.            HE WAS
25   PLACED ON THE BOARD OF DIRECTORS BY MR. JOSEPH -- AND THIS
26   WAS APPROVED THEN BY JUDGE ALBERT --


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1              MR. PALMER:      YES.
2              THE COURT:      -- IN THE BANKRUPTCY COURT.
3                        THE DUE PROCESS ISSUE AT STAKE HERE IS A
4    PARTY'S RIGHT TO SELECT ITS COUNSEL OF CHOICE.             THAT'S
 5   REALLY WHAT WE'RE TALKING ABOUT.
 6             MR. PALMER:      YES, YOUR HONOR.
 7             THE COURT:      ANGUS PETROLEUM IS THE PARTY IN THIS
8    CASE.   AND ANGUS HAS INDICATED THAT IT WOULD LIKE TO MAKE A
 9   CHANGE IN ITS REPRESENTATION.         SO I DON'T APPOINT YOU,
10   MR. PALMER.     THE ONLY THING THIS COURT WOULD DO WOULD BE
11   THEN TO ADVISE YOU, MR. MAHAFFEY, THAT BASED ON THE REQUEST
12   BY ANGUS PETROLEUM THROUGH MR. ZYLSTRA, YOU ARE NO LONGER
13   THE COUNSEL OF RECORD.
14                       NOW, HOW LONG WILL IT TAKE FOR YOU -- I
15   ASSUME YOU'RE GOING TO SUBSTITUTE IN, MR. PALMER?
16              MR. PALMER:      IMMEDIATELY.
17             THE COURT:       HOW LONG WILL IT TAKE YOU,
18   MR. MAHAFFEY, TO DELIVER YOUR FILES TO MR. PALMER'S OFFICE?
19              MR. MAHAFFEY:      I RAISED THAT, YOUR HONOR.        THAT'S
20   AN EXTREMELY COMPLICATED PROBLEM.          AND I CANNOT HANDLE
21   PROBABLY I'M GOING TO NEED TO SEEK THE STATE BAR.              I'M SURE
22   WHAT WE'RE GOING TO BE DOING IS FILING A REQUEST FOR
23   INTERVENTION.       I'VE GOT A DILEMMA.
24              THE COURT:      WHAT'S YOUR DILEMMA?
25              MR. MAHAFFEY:      MY DILEMMA IS WHAT I DECLARED TO
26   YOU.    THOSE FILES ARE OWNED BY OTHER CLIENTS.           THIS COURT


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 1   NOT THIS COURT, BUT YOUR PREDECESSOR COURT, STAYED DISCOVERY
 2   IN OCTOBER OF '09 BECAUSE THERE WAS A VERY COMPLICATED
 3   O.S.C. RE:     CONTEMPT THAT INVOLVED TENS OF THOUSANDS OF
 4   RECORDS.
 5              THE COURT:     OKAY.    MR. MAHAFFEY, IN THE COURT'S
 6   VIEW THE ISSUE CAN BE MADE A LITTLE LESS COMPLICATED.                 I
 7   ASSUME, AS COUNSEL OF RECORD FOR ANGUS PETROLEUM, YOU KEPT
 8   RECORDS FOR ANGUS PETROLEUM.         ANGUS IS YOUR CLIENT IN THIS
 9   LITIGATION.
10                       NOW, AT ONE POINT YOU ALSO REPRESENTED BG
11   OPERATIONS, CORRECT?
12              MR. MAHAFFEY:      I REPRESENTED THE RELATIONSHIP WITH
13   BG AS A PARTY AND ANGUS AS A PARTY.           THERE'S NO OTHER WAY TO
14   DESCRIBE IT.     THEY ARE --
15              THE COURT:     AND THAT WAS CALLED?       WHAT WAS THAT
16   OPERATION CALLED?
17              MR. MAHAFFEY:      BG OPERATIONS AND ANGUS'S JOINT
18   VENTURE, THE ONE THAT THEY HAVE BEEN SHARING PROFITS ON FOR
19   FOUR YEARS.
20              THE COURT:      EXCUSE ME.    IN THIS LITIGATION, BG
21   OPERATIONS ITSELF AS AN ENTITY, A LIMITED LIABILITY COMPANY,
22   WAS INITIALLY THE PLAINTIFF AND THEN A CROSS-DEFENDANT, IS
23   THAT--
24              MR. MAHAFFEY:      CORRECT.
25              THE COURT:      I'LL ASK YOU, MR. NEWHOUSE; IS THAT
26   CORRECT?


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1              MR. NEWHOUSE:       THAT'S CORRECT, YOUR HONOR.
2              THE COURT:      AND MR. MAHAFFEY REPRESENTED BG
3    OPERATIONS.
4              MR. NEWHOUSE:       HE DID.
 5             THE COURT:      BUT YOU ALSO THEN REPRESENTED -- AT ONE
 6   POINT YOU REPRESENTED BOTH ANGUS AND BG AT THE SAME TIME.
 7             MR. NEWHOUSE:       AT THE VERY INSTANT THAT
 8   MR. MAHAFFEY FILED THIS LAWSUIT WITH BG AS HIS CLIENT, HE
 9   ALSO REPRESENTED ANGUS IN OTHER LITIGATION, AND WE POINTED
10   OUT THE EXISTENCE OF THE CONFLICT AT THAT TIME.
11             THE COURT:       I'M CONCERNED ABOUT THE FILES FOR ANGUS
12   PETROLEUM IN THIS CASE.
13             MR. MAHAFFEY:       THOSE ARE NOT A PROBLEM.
14             THE COURT:      OKAY.
15             MR. MAHAFFEY:       WHAT I'VE --
16             THE COURT:      THAT'S WHAT WE'RE TALKING ABOUT.
17             MR. MAHAFFEY:       WELL, I WANT TO BE SURE THAT WE'RE
18   NOT--
19             THE COURT:       WHAT ELSE -- MR. MAHAFFEY, EXCUSE ME.
20   WHAT ELSE WOULD WE BE TALKING ABOUT?           YOU ARE -- UP UNTIL A
21   FEW MINUTES AGO -- HAVE BEEN ANGUS PETROLEUM'S ATTORNEY.
22   YOUR OTHER CLIENTS ARE NOT A CONCERN TO THIS COURT.               I'M
23   CONCERNED ABOUT YOUR FILES FOR ANGUS PETROLEUM.              THAT'S NOT
24   A PROBLEM.
25                       SO HOW QUICKLY CAN THEY GET OVER TO
26   MR. PALMER?


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1               MR. MAHAFFEY:      I THINK BY THE CLOSE OF BUSINESS
2    NEXT WEEK.    I'LL NEED FIVE TO SEVEN DAYS TO COpy THE ANGUS
3    ONLY FILES OR THE JOINTLY OWNED ANGUS FILES.             THOSE AREN'T
4    ALL THE FILES.      THE ENTIRE OPPOSITION TO THE SUMMARY
 5   JUDGMENT MOTION THAT'S UNDER SUBMISSION WITH THIS COURT IN
 6   ITS ENTIRETY WAS OPPOSED WITH ATTACHMENTS AND FILES FROM THE
 7   BANKRUPTCY COURT CASE.        ANGUS IS DEPENDENT AND THERE'S NO
 8   STANDARD OF CARE THAT WOULD EVER ALLOW AN EXCEPTION TO HAVE
 9   NOW TAKE OVER --
10              THE COURT:      MR. MAHAFFEY, LET'S JUST MAKE IT VERY
11   SIMPLE.    IF YOU HAVE FILES AND RECORDS THAT YOU THINK MAYBE
12   WOULD NEED TO GO TO MR. PALMER, BUT YOU'RE NOT SURE, WHY
13   DON'T YOU CREATE A LOG, CALL IT A PRIVILEGE LOG OR WHATEVER,
14   SO THAT IF IT COMES UP, WE CAN THEN FIGURE OUT AND YOU CAN
15   EITHER SUBMIT THE LOG TO MR. PALMER ALONG WITH THE FILES,
16   AND IF THERE IS ANY ISSUE, WE CAN DEAL WITH THAT LATER,
17   OKAY?
18              MR. MAHAFFEY:      THOSE ARE 50 TO A HUNDRED BOXES, IT
19   WILL TAKE ME NO LESS THAN 30 DAYS TO LOG THOSE, AS I WILL
20   GLADLY DO, BUT IT'S AN ENORMOUS UNDERTAKING.
21              THE COURT:      YOU CAN GET THE FILES TO WILL
22   ANYTHING THAT WAS FILED WITH THIS COURT SHOULDN'T BE A
23   PROBLEM.
24              MR. MAHAFFEY:      THAT'S NOT A PROBLEM.
25              THE COURT:      YOUR OTHER FILES THAT PERTAIN TO YOUR
26   REPRESENTATION IN THIS MATTER OF ANGUS PETROLEUM, YOU CAN


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1    HAVE BY THIS TIME NEXT WEEK, SO THAT WHAT DAY IS THAT?
2    CLOSE OF BUSINESS ON JUNE 7TH?
3                        ACCEPTABLE, MR. PALMER?
4              MR. PALMER:       YES.    TO MAKE IT EASIER, IF --
 5   MR. MAHAFFEY HAS REPRESENTED IN HIS LAST DECLARATION THAT
 6   THERE WERE ONLY TWO BOXES OF DOCUMENTS.             IF HE IS BUSY, I
 7   COULD SEND A COpy SERVICE OVER AT MY EXPENSE TOMORROW, AND I
8    WOULD HAVE THE ENTIRE FILE BY CLOSE OF BUSINESS TOMORROW.
 9             THE COURT:       OKAY.    LET'S DO THAT.
10              MR. MAHAFFEY:       THE TWO BOXES -- WE'RE PLAYING GAMES
11   HERE WITH THIS COURT.
12             THE COURT:       THERE ARE NO GAMES.       WE'RE NOT PLAYING
13   GAMES, MR. MAHAFFEY.         DID YOU HAVE TWO BOXES, OR NOT?
14              MR. MAHAFFEY:       NO, NOT JUST TWO.       I HAVE PLEADINGS
15   IN THIS FILE THAT BEAR THEIR CASE NUMBER, YOUR HONOR, THAT
16   PROBABLY TAKE UP TWO BOXES IN TERMS OF THE DISCOVERY, WHAT'S
17   BEEN FILED, THE SUMMARY JUDGMENT MOTION.
18                       I HAVE 50 TO A HUNDRED BOXES OF RELEVANT
19   FILES THAT ANGUS HAS BEEN RELYING ON THAT IF I'M GOING TO
20   HAVE TO LOG, I WILL TAKE THE TIME TO LOG IT.              THOSE FILES
21   DON'T BELONG TO ANGUS, THEY WERE BANKRUPTCY COURT FILES FROM
22   OTHER CLIENTS INCLUDING BOB GRAYSON,THE INDIVIDUAL, WHO IS
23   A PETITIONING CREDITOR AND OTHER CREDITORS IN THAT CASE.
24              THE COURT:       EXCUSE ME.    WE'RE TALKING ABOUT THE
25   FILES, OKAY?        SO MR. PALMER IS GOING TO SEND OVER A COPY
26   SERVICE AT HIS EXPENSE TOMORROW.            HE WILL COPY THE TWO


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1    BOXES, OR WHATEVER.        YOU'RE GOING TO START WORKING ON A
2    PRIVILEGE LOG, OKAY?
3              MR. MAHAFFEY:       I UNDERSTAND.
4              THE COURT:       YOU CAN HAVE THE PRIVILEGE LOG TO
 5   MR. PALMER BY MONDAY, JUNE 27TH?
 6             MR. MAHAFFEY:        I CAN MAKE BEST EfFORTS.       IF I NEED
 7   ADDITIONAL TIME I'LL FILE WITH THE COURT A REQUEST FOR THAT.
 8   IT'S A TREMENDOUS UNDERTAKING.
 9             THE COURT:       WELL, MAYBE WHEN YOU START GOING
10   THROUGH IT, YOU MIGHT REALIZE IT'S NOT SO MUCH.
11                       THEN IF YOU CAN WORK OUT AMONGST -- BETWEEN
12   YOURSELVES, IF YOU COME ACROSS DOCUMENTS THAT YOU DON'T NEED
13   TO DOCUMENT IN THE PRIVILEGE LOG, BUT YOU CAN IN FACT THEN
14   TURN OVER TO MR. PALMER FOR HIS REPRESENTATION OF ANGUS
15   PETROLEUM, YOU CAN LET MR. PALMER KNOW AND YOU CAN SEND
16   OVER -- IF YOU SO CHOOSE, YOU CAN SEND OVER A COpy SERVICE
17   TO COPY THOSE.
18             MR. PALMER:       WE'D BE MORE THAN HAPPY TO.
19             MR. MAHAFFEY:        JUST A LITTLE CLARIFICATION, AND
20   THEN I WILL LEAVE.        THIS CONTRACT INTERPRETATION, WHICH NOW
21   HAS BEEN ESSENTIALLY RULES THAT REQUIRES BOTH THE
22   DIVESTITURE OF THE FILES AND THE PRIVILEGE LOG, IS IT A
23   STIPULATED FACT FROM ALL COUNSEL REPRESENTING THE WARRING
24   PARTIES THAT THIS IS THE HEARING ON THE CONTRACT
25   INTERPRETATION ON THIS ISSUE, BUT THEY ARE NOT RESERVING
26   THEIR RIGHTS TO RELITIGATE IT


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 1             THE COURT:       MR. MAHAFFEY, I'M SORRY, YOU DIDN'T
 2   BRING THE EX-PARTE MOTION, YOU DIDN'T RULE ON THE EX-PARTE
 3   MOTION.   AND THE COURT IS REALLY NOT GOING TO PERMIT YOU TO
4    GO AHEAD AND COUCH IT IN TERMS -- THERE REALLY ARE NO
 5   WARRING PARTIES HERE.        A PARTY TO THIS LITIGATION HAS ASKED
 6   TO REPLACE ITS COUNSEL OF RECORD.           THAT WAS WHAT THE
 7   EX-PARTE APPLICATION -- AND ALSO FOR A CONTINUANCE, AND
 8   WE'LL GET TO THE CONTINUANCE IN A MOMENT.
 9                       THAT'S WHAT THIS COURT HAS RULED ON.         SO I AM
10   NOT GOING TO PERMIT YOU TO MAKE THIS HEARING SOMETHING OTHER
11   THAN WHAT IT IS, OKAY?
12                       THERE ARE NO WARRING PARTIES HERE.         WE'RE
13   ONLY TALKING ABOUT ONE PARTY IN THIS LITIGATION.
14             MR. MAHAFFEY:        THERE'S A DISPUTE OVER CONTRACT
15   INTERPRETATION--
16             THE COURT:       MR. MAHAFFEY, DID YOU NOT HEAR THE
17   COURT?    I AM RULING ON THE EX-PARTE APPLICATION BY -- FILED
18   BY MR. PALMER ON BEHALF OF ANGUS AND MR. ZYLSTRA, OKAY?
19                       NOW, I THINK WE CONTINUED EVERYTHING FOR AT
20   LEAST 90 DAYS.
21              MR. PALMER:      YES, WE THANK YOU FOR THAT AS WELL,
22   YOUR HONOR.
23             THE COURT:       SEPTEMBER 16TH, I'M NOT HERE
24   SEPTEMBER 16TH.       SOMEBODY NEEDED TO CHECK WITH THEIR CLIENT
25   IN ANY EVENT, I CAN FIND SOMEBODY TO BE HERE, BUT IF YOU'D
26   LIKE ANOTHER DAY, WE CAN DO THAT AS WELL.


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1              MR. NEWHOUSE:       WE CHECKED, YOUR HONOR, THE 16TH IS
2    AVAILABLE TO US, BUT OBVIOUSLY WE WILL ACCOMMODATE THE
3    COURT'S CALENDAR.
4              MR. PALMER:       WHAT WORKS FOR YOUR HONOR?
5              MR. NEWHOUSE:       YES, PLEASE.
 6             THE COURT:       WOULD YOU LIKE THE 23RD OR THE 30TH?
                                       ~




 7   ALTHOUGH THE 30'S IS PART OF -- ROSH HASHANA.
 8             MR. NEWHOUSE:        23RD WORKS FOR XTO, ELYSIUM AND E&B.
 9             MR. PALMER:       AS WELL AS ANGUS.
10             THE COURT:       YOU'RE THE TWO I'M CONCERNED WITH.
11   SEPTEMBER 23RD, WHAT TIME WOULD YOU LIKE?
12              MR. PALMER:      YOUR PREFERENCE, YOUR HONOR.
13              MR. NEWHOUSE:       WE WOULD PREFER ANYTIME AFTER
14   10 O'CLOCK IN THE MORNING?
15             THE COURT:       10:30 ON SEPTEMBER 23RD.
16              MR. NEWHOUSE:       PERFECT.
17             THE COURT:       WE WILL CONTINUE THE PENDING MOTIONS,
18   THE MOTION FOR SUMMARY JUDGMENT, SUMMARY ADJUDICATION, WHAT
19   ELSE ARE WE CONTINUING?
20              [!EZ SPEAKER 03]:          THE STEVE SEW GUARD MOTION TO
21   QUASH.
22              THE COURT:      AND THE M.S.C.
23              MR. PALMER:      OUR UNDERSTANDING FROM YOUR RESEARCH
24   ATTORNEY AND TEMPORARY JUDGE, WHO WAS VERY HELPFUL, BY THE
25   WAY, INDICATED THAT IT WOULD BE THIS COURT'S PREFERENCE TO
26   HAVE THE M.S.C. ON THAT DATE, DEPENDING ITS OUTCOME, THEN


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1     PICK SPECIFIC DATES THAT THE PARTIES DIDN'T PREPARE FOR A
 2    MOTION THAT PROBABLY WON'T GO FORWARD ON THAT DATE.
 3                MR. NEWHOUSE:    MORE IMPORTANTLY, SO THE COURT DOES
 4    HAVEN'T TO BEAR A RULING IF WE ARE ABLE TO RESOLVE THE
 5    MATTER.
 6                THE COURT:    WHEN WE COME ON THE 23RD, IF WE NEED
 7    TO -- IF WE GIVE YOU A DATE TODAY, IT WOULD BE THINK
 8    WEDNESDAY.     SO REALISTICALLY, IT COULD BE ANY WEDNESDAY FROM
 9    OCTOBER 5TH ON, JUST PICK ONE.
10                MR. NEWHOUSE:     I AGREE.    MY SUGGESTION, YOUR HONOR,
11    IS LET'S DO THE M.S.C.        I'M CAUTIOUSLY OPTIMISTIC, GIVEN THE
12    PROSECUTING THAT THE PARTIES HAVE MADE TALKING TO EACH
13    OTHER, WHICH IS ONE REASON WHY WE ASKED FOR THE LENGTH OF
14    TIME, THAT ALL THE MOTIONS AND EVERYTHING ELSE WILL BECOME
15    MOOT.     AND WE WON'T HAVE TO DECIDE IT.        SO LET'S JUST PLAY
16    IT BY HEAR.
17                THE COURT:    YES, MR. BAILEY.
18                MR. BAILEY:     IN LIGHT OF THE FACT THAT SOME OF
19    THESE FILES MAY INDEED BE IN THE PROPERTY OF ELYSIUM, WE'LL
20    HAVE A CLAIM OR MAY HAVE A CLAIM THAT SOME OF THESE PROPERTY
21    OF B&G OPERATIONS ANDIOR MR. GRAYSON, MAY I REQUEST THAT I
22"   BE COPIED ON ANYTHING BETWEEN MR. PALMER AND MR. MAHAFFEY ON
23    THAT REGARD SO IF THERE IS SOMETHING THAT MR. GRAYSON --
24                MR. RUS:     HE'S FREE TO DO WHATEVER HE LIKES ON
25    BEHALF OF MR. GRAYSON AT HIS EXPENSE, WE HAVE NO OBJECTION.
26                THE COURT:     MR. MAHAFFEY, DO YOU?


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 1              MR. MAHAFFEY:      NO, I AGREE.     I THINK HE'S ASKING
 2   FOR COMMUNICATION FROM MR. PALMER.           WE OBVIOUSLY WILL BE --
 3             THE COURT:       HE'S ASKING FOR COMMUNICATION FROM YOU
 4   IN TERMS OF, HE WOULD LIKE TO RECEIVE THE PRIVILEGE LOG THAT
 5   YOU'RE GOING TO SEND TO MR. PALMER.
 6              MR. BAILEY:      I ALSO WOULD LIKE TO RECEIVE'ANYTHING
 7   FROM MR. PALMER THAT IS COMMENTING ON THE PRIVILEGE LOG OR
 8   MAKING ANY REQUEST FOR DOCUMENTS.
 9              THE COURT:      YOU SEEM TO HAVE A MUTUAL CLIENT.           SO I
10   THINK SERVICE ON MR. MAHAFFEY WILL CONSTITUTE SERVICE ON
11   MR. BAILEY.
12                       YOUR POSITION, MR. MAHAFFEY, IS THAT YOU
13   REPRESENT GRAYSON AND BG AND THE PARTNERSHIP AS WELL.
14              MR. MAHAFFEY:       I THINK HE WAS JUST REQUESTING, AND
15   I WOULD AGREE, I'LL PROVIDE HIM COPIES, I THINK WOULDN'T BE
16   THAT BIG OF A BURDEN ON GIBSON DUNN TO INCLUDE THE BAILEY
17   FIRM.
18              THE COURT:      MR. MAHAFFEY, I'M REALLY TRYING TO KEEP
19   THIS FOCUSED ON THE CAUSES OF ACTION, AND I THINK THEY'RE
20   ALL CROSS-COMPLAINTS THAT ARE BEFORE THIS COURT.              IT MAY
21   WIND UP THAT WE CAN'T DO IT, BUT WE'RE GOING TO GIVE IT A
22   TRY.    SO IF YOU WILL BE SO KIND AS TO SERVE THE PRIVILEGE
23   LOG ONTO MR. BAILEY, THEN WE'LL KIND OF PLAY IT BY EAR,
24   OKAY?
25              MR. BAILEY:      THANK YOU, YOUR HONOR.
26              THE COURT:      ACCEPTABLE?


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 1             MR. NEWHOUSE:        THANK YOU FOR YOUR TIME.
 2             THE COURT:       THANK YOU.
 3              MR. PALMER:      SEE YOU IN SEPTEMBER.
 4             THE COURT:       I THINK MR. BAILEY IS OR ISN'T GOING TO
 5   GIVE YOU A COPY.
 6              MR. BAILEY:      THEY'RE ALL GOING TO GET SERVED WITH
 7   IT, THAT WAS THE COURT'S COURTESY COPY.
 8                                 (ADJOURNMENT. )
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                                 REPORTER'S CERTIFICATE


   STATE OF CALIFORNIA )
                       )                  SS.
   COUNTY OF ORANGE    )
                        I, LISA S. ROULY, CRR, RPR, CSR NO. 9524,
   OFFICIAL COURT REPORTER IN AND FOR THE SUPERIOR COURT OF THE
   STATE OF CALIFORNIA, COUNTY OF ORANGE, DO HEREBY CERTIFY;
                        THAT THE FOREGOING REPORTER'S TRANSCRIPT IS A
   FULL, TRUE AND CORRECT TRANSCRIPT OF MY SHORTHAND NOTES
   THEREOF, AND IS A FULL, TRUE AND CORRECT STATEMENT OF THE
   PROCEEDINGS HAD IN SAID CAUSE.


                        DATED:            JUNE 03, 2011




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